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                    EXHIBIT A
Case 3:20-cv-08267-ZNQ-TJB Document 33-1 Filed 01/25/21 Page 2 of 67 PageID: 403




                    ATLANTIC
                     COUNTY
                                                     Column                                                Column                                            Column                                           Column                                           Column                                         Column
                                                                                                                                                                                                                                                                                                                                                               DEMOCRATIC MAIL-IN BALLOT / OFFICIAL PRIMARY ELECTION
      OFFICE TITLE                                       A                                                      B                                                   C                                            D                                                    E                                          F               PERSONAL CHOICE
                                                Democratic                                            Democratic                                        Democratic                                           Democratic                                  Democratic                                          Democratic                                                   Absecon Ward 1
                                                                                                                                                                                                                                                                                                                                                                        Atlantic County, New Jersey
                                  Atlantic County                                    Bernie 2020. Not Me. Us.
          Choice for President    Democratic Committee
                                                                Joseph R.                                                     Bernie                                                                                                                                                                                                                               2nd Congressional District - July 7, 2020
              VOTE FOR ONE                                          BIDEN                                            SANDERS                                                                                                     X
                                   A VOTE ABOVE IS A VOTE FOR ALL DELEGATES             A VOTE ABOVE IS A VOTE FOR ALL DELEGATES                                                              A VOTE ABOVE IS A VOTE FOR ALL DELEGATES
                                                                                                                                                                                                                                                                                                                                   NO PERSONAL CHOICE
                                                  JOSEPH R. BIDEN                                        BERNIE SANDERS                                                                                        Uncommitted                                                                                                           FOR DELEGATES
                                        Atlantic County Democratic Committee                           Bernie 2020. Not Me. Us.                                                                                                                                                                                                                              EDWARD P. McGETTIGAN
                                                                                                                                                                                            Joyce MOLLINEAUX
     2nd District Delegates to    Brenda BRATHWAITE                                   Laury-Ann DIAZ                                                                                                                                                                                                                                                                    Atlantic County Clerk
                                  Michael SULEIMAN                                    Sean LOFTUS
       Democratic National        Philip NUFRIO                                       Cristian MORENO-RODRIGUEZ
           Convention




                                                                                     Bernie 2020. Not Me. Us.                          Atlantic County Regular Democrats, Org.
                                                                                                                                                                                                                                                                                                                                                                  To Protect Your Vote:
             U.S. Senator                                                                                               Lawrence                                                    Cory                                                                                                                                                                          IT IS AGAINST THE LAW FOR ANYONE EXCEPT YOU
              VOTE FOR ONE                                                                                                 HAMM                                                  BOOKER                                                                                                                                                                           THE VOTER TO MARK OR INSPECT THIS BALLOT.
                                  Atlantic County                                                                                      Atlantic County Regular Democrats, Org.              True Democrats                               Atlantic County's Moderate Democrat               Walking For You                                                        However, a family member may assist you in doing so.
     House of Representatives     Democratic Committee
                                                                         Amy                                                                                                       Brigid                                      Will                                            Robert D.                                  John
              VOTE FOR ONE                                    KENNEDY                                                                           CALLAHAN HARRISON                                               CUNNINGHAM                                             TURKAVAGE                                     FRANCIS
                                  Atlantic County                        Eric
                Sheriff           Democratic Committee
              VOTE FOR ONE
                                                           SCHEFFLER
                                  Atlantic County                                                                                      Atlantic County Regular Democrats, Org.
               Surrogate          Democratic Committee
                                                                  Stephen                                                                                                           Levi
              VOTE FOR ONE                                          DICHT                                                                                                           FOX

          Freeholder-at-Large
              VOTE FOR TWO
                                  Atlantic County
                                  Democratic Committee

                                  Atlantic County
                                                         FITZPATRICK
                                                                     Caren

                                                                    Celeste
                                                                                                                                                                                                                                                                                       le                                                                            IMPORTANT INSTRUCTIONS TO VOTERS
                                                                                                                                                                                                                                                                                                                                                             Please read the following before marking your ballot:
                                                                                                                                                                                                                                                                                                                                                        1. To vote for any person whose name is printed on this ballot use only a pencil
                                  Democratic Committee                                                                                                                                                                                                                                                                                                  or ink pen (black or blue) and fill in the oval     to the right of the candidate’s

                Mayor
              VOTE FOR ONE
                                  Atlantic County
                                  Democratic Committee
                                                          FERNANDEZ
                                                              Kimberly A.
                                                                HORTON
                                                                                                                                                                                                                                                                               p                                                                        name, not in excess of the number to be elected to the office.
                                                                                                                                                                                                                                                                                                                                                        2. To vote for any person whose name is not printed on this ballot, write the
                                                                                                                                                                                                                                                                                                                                                        name in the PERSONAL CHOICE COLUMN, and fill in that oval to the right of
                                                                                                                                                                                                                                                                                                                                                        name. Do not vote for more candidates than are to be elected.
                                  Atlantic County        Elizabeth (Betty)
                Council           Democratic Committee
              VOTE FOR ONE                                                                                                                                                                                                                                                                                                                              3. If you tear, deface or incorrectly mark this ballot, return it to the Atlantic
                                                                HOWELL                                                                                                                                                                                                                                                                                  County Clerk’s Election Office and obtain a new ballot.


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Form 1 - Absecon




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                                                         Column                                                     Column                                  Column                                Column                                   Column
                                                                                                                                                                                                                                                                                               REPUBLICAN MAIL-IN BALLOT / OFFICIAL PRIMARY ELECTION
       OFFICE TITLE                                             A                                                     B                                      C                                      D                                           E                PERSONAL CHOICE
                                                     Republican                                                    Republican                          Republican                                Republican                           Republican                                                          Absecon Ward 1
                                                                                                                                                                                                                                                                                                        Atlantic County, New Jersey
                                   Atlantic County Regular Republican
        Choice for President                                                  Donald J.                                                                                                                                                                                                            2nd Congressional District - July 7, 2020
             VOTE FOR ONE                                                     TRUMP
                                         A VOTE HERE IS A VOTE FOR ALL
                                           DELEGATES & ALTERNATES                                                                                                                                                                                                  NO PERSONAL CHOICE
                                                                                                                                                                                                                                                                     FOR DELEGATES
                                                    DONALD J. TRUMP                                                                                                                                                                                                                          EDWARD P. McGETTIGAN
                                           Atlantic County Regular Republican
                                   Christopher J. CHRISTIE Henry Y. KUHL                                                                                                                                                                                                                                Atlantic County Clerk
Delegates-at-Large to Republican   Michael L. TESTA            Edward S. WALSH
      National Convention          Joseph PENNACCHIO           Afzal BARLAS
          VOTE FOR ONE SLATE       Kristin CORRADO             Joanne GILMORE
                                   Edward Bruce DiDONATO Munr KAZMIR




                                                                                                                                                                                                                                                                                                  To Protect Your Vote:
                                   John V. AZZARITI                     Alexander C. MARKOWITS
                                   Stavros G. CHRISTOUDIAS              Darlene SHOTMEYER                                                                                                                                                                                                         IT IS AGAINST THE LAW FOR ANYONE EXCEPT YOU
                                   Susan L. ENDERLY                     Thomas P. RAGUKONIS                                                                                                                                                                                                       THE VOTER TO MARK OR INSPECT THIS BALLOT.
              Alternate            Janice M. FIELDS                     Dorothy BURGER
         Delegates-at-Large                                                                                                                                                                                                                                                                       However, a family member may assist you in doing so.
                                   Michael LAVERY                       Theresa A. WINEGAR



                                   Linda DUBOIS
                                   Lynda PAGLIUGHI
     2nd Congressional District    Tom ROTONDI
            Delegates


                                   Cynthia BALLES
                                                                                                                                                                                                                                                      l e                                            IMPORTANT INSTRUCTIONS TO VOTERS
     2nd Congressional Alternate   Keith DAVIS                                                                                                                                                                                                                                               Please read the following before marking your ballot:
                                   Robert PENZA                                                                                                                                                                                                                                         1. To vote for any person whose name is printed on this ballot use only a pencil
          District Delegates
                                                                                                                                                                                                                                                                                        or ink pen (black or blue) and fill in the oval     to the right of the candidate’s

            U.S. Senator
             VOTE FOR ONE
                                   Atlantic County Regular Republican

                                                                               SINGH
                                                                                      Hirsh        We The People
                                                                                                                          Natalie Lynn
                                                                                                                            RIVERA
                                                                                                                                         MAGA Republicans
                                                                                                                                                                 Rikin "Rik"
                                                                                                                                                                  MEHTA
                                                                                                                                                                               Prevent CA East
                                                                                                                                                                                                        Eugene T.
                                                                                                                                                                                                       ANAGNOS
                                                                                                                                                                                                                    America First Republicans
                                                                                                                                                                                                                                                    p Patricia
                                                                                                                                                                                                                                                FLANAGAN
                                                                                                                                                                                                                                                                                        name, not in excess of the number to be elected to the office.
                                                                                                                                                                                                                                                                                        2. To vote for any person whose name is not printed on this ballot, write the
                                                                                                                                                                                                                                                                                        name in the PERSONAL CHOICE COLUMN, and fill in that oval to the right of
                                                                                                                                                                                                                                                                                        name. Do not vote for more candidates than are to be elected.
                                   Atlantic County Regular Republican                                                                                                                                               America First Republicans
      House of Representatives                                                         Jeff                                                                                                                                                         Robert W.
             VOTE FOR ONE                                                                                                                                                                                                                                                               3. If you tear, deface or incorrectly mark this ballot, return it to the Atlantic
                                                                        VAN DREW                                                                                                                                                                PATTERSON                               County Clerk’s Election Office and obtain a new ballot.
                                   Atlantic County Regular Republican
                                                                             Joseph A.
               Sheriff
             VOTE FOR ONE

             Surrogate
             VOTE FOR ONE
                                                                O'DONOGHUE
                                   Atlantic County Regular Republican
                                                                                 James
                                                                                                                                                                                                                m
                                                                             CURCIO
                                   Atlantic County Regular Republican

        Freeholder-at-Large
            VOTE FOR TWO           Atlantic County Regular Republican
                                                                               John W.
                                                                        RISLEY, Jr.
                                                                                 James
                                                                                                                                                                                                              a
                                                                                 TOTO
                                   Atlantic County Regular Republican
               Mayor
             VOTE FOR ONE

               Council
                                   Atlantic County Regular Republican
                                                                                Gregory
                                                                               SEHER
                                                                               Nicholas
                                                                                                                                                                                                   S
             VOTE FOR ONE                                         LaROTONDA




 Form 1 - Absecon




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                       BERGEN
                       COUNTY
                                THIS BALLOT CANNOT BE VOTED. IT IS A SAMPLE OF THE PROVISIONAL PRIMARY ELECTION BALLOT USED AT THE POLLING LOCATION ON ELECTION DAY.                                                                                                                                                                                                      OFFICIAL PRIMARY ELECTION
                          NO SE PUEDE VOTAR EN ESTA BALOTA. ESTA ES SÓLO UNA MUESTRA DE LA BALOTA PROVISIONAL DE LA ELECCIÓN PRIMARIA QUE SE USA EN LAS MÁQUINAS DE VOTACIÓN EL DÍA DE LAS ELECCIONES.
                                             이 투표용지로 투표하실 수 없습니다. 이 용지는 선거일 투표기기에 사용될 공식 예비선거 견본 잠정 투표용지입니다.
                                                                                                                                                                                                                                                                                                                                                                                        SAMPLE BALLOT
                                                                                                                                                                                                                                                                                                                                                                           BALOTA OFICIAL DE MUESTRA                                                                                                                                   JOHN S. HOGAN
                                                                                                                                             DEMOCRATIC – DEMÓCRATA – 민주당                                                                                                                                                                                                     DE LA ELECCIÓN PRIMARIA                                                                                                                               Bergen County Clerk
                                          PRIMARY ELECTION                                                   Democratic                    Democratic                       Democratic                                   Democratic                     Democratic                      Democratic                     PERSONAL CHOICE                                                                                                                                                                              Secretario del Condado de Bergen / 버겐 카운티 클럭
                                          ELECCIÓN PRIMARIA                                                Demócrata /  당                Demócrata /  당                   Demócrata /  당                               Demócrata /  당                 Demócrata /  당                  Demócrata /  당                   SELECCIÓN PERSONAL                       OFFICIAL PROVISIONAL BALLOT PRIMARY ELECTION                                                                                                             One Bergen County Plaza, Hackensack, NJ 07601
                                              예비선거                                                        COLUMN 1 / COLUMNA 1 / 칼럼 1   COLUMN 2 / COLUMNA 2 / 칼럼 2     COLUMN 3 / COLUMNA 3 / 칼럼 3                  COLUMN 4 / COLUMNA 4 / 칼럼 4     COLUMN 5 / COLUMNA 5 / 칼럼 5     COLUMN 6 / COLUMNA 6 / 칼럼 6                 개인 선택                          BALOTA OFICIAL PROVISIONAL
                                                                                                                                                                                                                                                                                                                                                                                공식 예비선거    DE LA ELECCIÓN PRIMARIA
                                                                                                                                                                                                                                                                                                                                                                                                          견본 투표용지
                                                                                                                                                                                                                                                                                                                                                                                                      예비선거                          투표용지
                                                                                                                                                                                                                                                                                     A VOTE HERE IS A VOTE FOR ALL
                                                Choice for President                                          DEMOCRATIC COMMITTEE                                                                                                                                                        DISTRICT DELEGATES
                                                                                                                OF BERGEN COUNTY                                                                                          BERNIE 2020. NOT ME. US.                                                                                                                           Bergen County, New Jersey - Tuesday, July 7, 2020
                                               Selección para Presidente                                                                                                                                                                                                             UN VOTO AQUÍ ES UN VOTO POR
                                                                                                                JOSEPH R.                                                                                                     BERNIE                                               TODOS LOS DELEGADOS DEL DISTRITO                                                       Condado de Bergen, Nueva Jersey - Martes, 7 de julio de 2020                        Borough of Allendale
                                    (VOTE FOR ONE / VOTE POR UNO /             명 선출)                                                                                                                                                                                                 기     투표
                                                                                                                  BIDEN                                                                                                   SANDERS                                                                 선출X                  (Write In / escriba el nombre / 기명 투표)
                                A VOTE ABOVE IS A VOTE FOR ALL DISTRICT DELEGATES                              BIDEN FOR PRESIDENT                                                                                       BERNIE 2020. NOT ME. US.                                               UNCOMMITTED                                                                                                               Bergen County, New Jersey - Tuesday, July 7, 2020
                           UN VOTO ARRIBA ES UN VOTO POR TODOS LOS DELEGADOS DEL DISTRITO
                                                                 의원                                      Iris DEIXLER                                                                                                Dianne DOUTHAT                                                 Kenneth HORWITZ                                                                             Borough of Allendale
                              For 20th District Delegates to the Democratic                              Keith KAZMARK                                                                                               Lauren HERMAN                                                                                                                                                                                   Condado de Bergen, Nueva Jersey - Martes, 7 de julio de 2020
                                           National Convention                                           Molly SOKOTA                                                                                                Danny MARKHAM                                                                                                                                5th Congressional District / 5˚ Distrito del Congreso /       5선
                              Para Delegados del Distrito 20° a la Convención                            Adam SILVERSTEIN                                                                                            Richard McFARLANE                                                                                                                                                                                            뉴저지, 버겐카운티 2020년 7월 7일 화요일
                                           Nacional Demócrata                                            Isaac GRAVES                                                                                                Theodore SANZO
                                                            회                     의원
                               For 20th Alternate District Delegates to the
                                    Democratic National Convention                                             BIDEN FOR PRESIDENT                                                                                       BERNIE 2020. NOT ME. US.
                               Para Delegados Suplentes del Distrito 20° a la                            Susan SAHAI                                                                                                 Andrea GORING                                                                                                                                               The Primary Election on July 7, 2020 is being conducted primarily by mail as per Executive Order #144 signed
                                     Convención Nacional Demócrata                                                                                                                                                                                                                                                                                                                       JOHN S.
                                                        회                            의원                                                                                                                                                                                                                                                                                          by Governor  Murphy
                                                                                                                                                                                                                                                                                                                                                                                                 HOGAN on May 15, 2020.
                                                                                                                                                                                                                                                                                                                                                                        Bergen County Clerk/Secretario del Condado de Bergen/
                                          For United States Senator                                           DEMOCRATIC COMMITTEE
                                                                                                                OF BERGEN COUNTY                NOT ME. US.
                                       Para Senador de los Estados Unidos                                                                                                                                                                                                                                                                                                        This is your Sample Ballot. This is NOT your Vote-by-Mail Ballot used to cast your vote. If you need to request a
                                                         원 의원                                                          CORY                  LAWRENCE                                                                                                                                                                                                           INSTRUCTIONS TO VOTER To vote for any person whose name is printed on this ballot use only
                                    (VOTE FOR ONE / VOTE POR UNO /             명 선출)                            BOOKER                        HAMM                                                                                                                                                                                                              black pen and fill in the oval     to the right of the candidate’s name, not in excess of the number to
                                                                                                                                                                                                                                                                                                                                                                                 duplicate Vote-by-Mail Ballot, please call (201) 336-7020.
                                                                                                                                                                                                                                                                                                                       (Write In / escriba el nombre / 기명 투표)   be elected to the office.
                                                                                                              DEMOCRATIC COMMITTEE                                                REAL DEMOCRAT,
                                                                                                                                                                                                                                                                                                                                                                To vote for any person whose name is not printed on this ballot, write the name in the personal
                              For Member of the House of Representatives                                                                                                                                                                                                                                                                                        choice column, and fill in that oval to the right of name. Do not vote for more candidates than are to
                                                                                                                OF BERGEN COUNTY                                                   REAL CHANGE                                                                                                                                                                                    Voters who received a Vote-by-Mail ballot are encouraged to mail their ballot to the Bergen County Board of
                               Para Miembro de la Cámara de Representantes                                                                                                                                                                                                                                                                                      be elected.
                                                         원 의원                                                         JOSH                                                        ARATI S.                                                                                                                                                                      If you tear, deface or incorrectly mark this ballot, return it to a district board worker and obtain a
                                                                                                                                                                                                                                                                                                                                                                                  Elections in the postage paid envelope as soon as possible. Ballots returned by mail must be postmarked no
                                    (VOTE FOR ONE / VOTE POR UNO /             명 선출)                        GOTTHEIMER                                                        KREIBICH                                                                                                                                                                          new ballot.
                                                                                                                                                                                                                                                                                                                       (Write In / escriba el nombre / 기명 투표)                     later than 8:00 p.m. on July 7, 2020. Ballots may also be placed in one of six secure Election Ballot Drop Boxes
                                                                                                                                                                                                                                                                                                                                                                Insert completed ballot in affirmation envelope, then return to district board worker.
                                                                                                              DEMOCRATIC COMMITTEE                                                REAL DEMOCRAT,                                                                                                                                                                                                   throughout                                                  The        locations of Bergen County’s Election Ballot Drop Boxes can be found at
                                                                                                                OF BERGEN COUNTY                NOT ME. US.                        REAL CHANGE                                                                                                                                                                  INSTRUCCIONESlocatedPARA EL VOTANTE   Para votar por alguna persona
                                                                                                                                                                                                                                                                                                                                                                                                                                thecuyoCounty.
                                                                                                                                                                                                                                                                                                                                                                                                                                             nombre esté impreso    en esta
                                         For Members of the Board of                                              JOAN M.                     DANIEL T.                          LAURA K.                                                                                                                                                                       tarjeta de votación, use solamente lapicero negro y llene el óvalo a la derecha del nombre del candidato,
                                             Chosen Freeholders                                                                                                                                                                                                                                                                                                 sin sobrepasar elwww.co.bergen.nj.us/bergen-county-board-of-elections/ballot-drop-box-locations.
                                                                                                                                                                                                                                                                                                                                                                                   número que será elegido para la oficina.                                                                                               The deadline for placing it
                                          Para Miembros de la Junta De                                             VOSS                          KIM                        OCCHIPINTI                                                                                                                                 (Write In / escriba el nombre / 기명 투표)   Para votar por cualquier
                                                                                                                                                                                                                                                                                                                                                                                  in   onepersonaof   nombre no
                                                                                                                                                                                                                                                                                                                                                                                                 cuyo the          esté impreso en
                                                                                                                                                                                                                                                                                                                                                                                                                secure           drop            de votación, escriba
                                                                                                                                                                                                                                                                                                                                                                                                                                    esta tarjetaboxes          or     el nombre
                                                                                                                                                                                                                                                                                                                                                                                                                                                                     for    delivering your ballot in-person to the Bergen County Board of Elections
                                                                                                                                                                                                                                                                                                                                                                en la columna de opción personal y llene el óvalo a la derecha del nombre. No vote por más candidatos de los
                                             Concejales del Condado
                                                                                                              DEMOCRATIC COMMITTEE                                                REAL DEMOCRAT,                                                                                                                                                                que serán elegidos.
                                                                                                                                                                                                                                                                                                                                                                                  is   8:00      p.m.        on       July      7,   2020.
                                                            의원                                                  OF BERGEN COUNTY                NOT ME. US.                        REAL CHANGE                                                                                                                                                                  Si rompe, altera o marca incorrectamente esta balota, devuélvala a un trabajador del comité del distrito y
                                    (VOTE FOR TWO / VOTE POR DOS / 두 명 선출)                                      RAMON M.                     EDMUND J.                        PATRICIA M.                                                                                                                                                                       obtenga una nueva balota.
                                                                                                                                                                                                                                                                                                                                                                Ponga la balota completa en el sobre de afirmacion y devuélvalo al trabajador de la junta electoral del distrito.
                                                                                                                                                                                                                                                                                                                                                                                 A limited number of polling places are available to voters on Election Day where only provisional paper ballots
                                                                                                                  HACHE                     FANNING                              HENRY                                                                                                                                 (Write In / escriba el nombre / 기명 투표)

                                                                                                                                                                                                                                                                                                                                                                원                will be available to
                                                                                                                                                                                                                                                                                                                                                                                                    원 cast your vote. The location of your polling place is on the reverse side of this sample ballot.
                                                                                                                                                                                                                                                                                                                                                                                   원
                                                                                                                                                                                                                                                                                                                                                                                 Polls are open from 6:00 a.m. to 8:00     p.m. If a voter has a disability and needs an accessible ballot he/she
                                                                                                             NO PETITION FILED                                                                                                                                                                                                                                                                                          의
                                          For Members of the Council                                                                                                                                                                                                                                                                                                             may call the원County Clerk’s Office or may go to his/her assigned polling place which will provide access to an
                                            Para Miembros del Concejo                                                                                                                                                                                                                                                  (Write In / escriba el nombre / 기명 투표)
                                                   의회 의원                                                                                                                                                                                                                                                                                                                         in-person accessible voting device on Primary Election Day.
                                    (VOTE FOR TWO / VOTE POR DOS / 두 명 선출)
                                                                                                             NO PETITION FILED
                                                                                                                                                                                                                                                                                                                                                                IT IS AGAINST THE LAW FOR
                                                                                                                                                                                                                                                                                                                                                                                 This Primary        LA LEY QUE CUALQUIER
                                                                                                                                                                                                                                                                                                                                                                                          ES CONTRAElection         Sample Ballot can also be found at www.bergencountyclerk.org. A sample ballot will be
                                                                                                                                                                                                                                                                                                                       (Write In / escriba el nombre / 기명 투표)   ANYONE EXCEPT YOU THE     PERSONA CON EXCEPCIÓN DE
                                                                                                                                                                                                                                                                                                                                                                VOTER TO OPEN, MARK, INSPECT,
                                                                                                                                                                                                                                                                                                                                                                                 posted atUSTED,
                                                                                                                                                                                                                                                                                                                                                                                            each EL VOTANTE, ABRA, MARQUE,
                                                                                                                                                                                                                                                                                                                                                                                                       polling       place.
                                                                                                                                                                                                                                                                                                                                                                OR SEAL THIS BALLOT.      INSPECCIONE O SELLE ESTA
                                                                                                                                                                                                                                                                                                                                                                                                      BALOTA DE VOTACIÓN.
                                                                                                                                                                                                                                                                                                                                                                                 If you have questions, call the County Clerk’s Office at (201) 336-7020 or the County Board of Elections at (201) 336-6230.
                                                                                                                                                                                                                                                                                                                                                                                                        DEMOCRATIC
                          Allendale
                          Form - 1




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                                                                                                                                            REPUBLICAN – REPUBLICANO – 공화당                                                                                                                                                                                                       #144 firmada por el gobernador Murphy el 15 de mayo de 2020.
                                          PRIMARY ELECTION                                                    Republican                   Republican                      Republican                                    Republican                     Republican                      Republican                     PERSONAL CHOICE                                 Esta  es su balota de muestra.  Esta NO es su balota de Voto Por Correo utilizada para emitir su voto. Si usted necesita
                                          ELECCIÓN PRIMARIA                                                Republicano / 공화당            Republicano / 공화당               Republicano / 공화당                             Republicano / 공화당              Republicano / 공화당               Republicano / 공화당                 SELECCIÓN PERSONAL                       OFFICIAL PROVISIONAL   BALLOT  PRIMARY   ELECTION
                                              예비선거                                                        COLUMN 1 / COLUMNA 1 / 칼럼 1   COLUMN 2 / COLUMNA 2 / 칼럼 2     COLUMN 3 / COLUMNA 3 / 칼럼 3                  COLUMN 4 / COLUMNA 4 / 칼럼 4     COLUMN 5 / COLUMNA 5 / 칼럼 5     COLUMN 6 / COLUMNA 6 / 칼럼 6                 개인 선택                          BALOTA solicitar un duplicado
                                                                                                                                                                                                                                                                                                                                                                       OFICIAL PROVISIONAL DE de
                                                                                                                                                                                                                                                                                                                                                                                              LA ELECCIÓN  de voto por correo, por favor llame al (201) 336-7020.
                                                                                                                                                                                                                                                                                                                                                                                                 la balota PRIMARIA
                                                                                                                                                                                                                                                                                                                                                                                  예비선거        투표용지




Form 1 - ALLENDALE
                                                Choice for President                                                                                                            REPUBLICANS FOR                                                                                                                                                                                  A los votantes que recibieron una balota de voto por correo se les solicita enviar su balota por correo a la Junta Electoral
                                                                                                                                                                            RESPONSIBLE GOVERNMENT                                                                                                                                                                           Bergen County, New Jersey - Tuesday, July 7, 2020
                                               Selección para Presidente
                                                                                                                                                                                DONALD J.                                                                                                                                                                                 Condado Condado
                                                                                                                                                                                                                                                                                                                                                                             del de Bergen, Nueva Bergen
                                                                                                                                                                                                                                                                                                                                                                                              de Jersey  - Martes,
                                                                                                                                                                                                                                                                                                                                                                                                              en 7eldesobre     que ya tiene el franqueo pagado (no necesita estampilla) lo antes posible. Las balotas
                                                                                                                                                                                                                                                                                                                                                                                                                       julio de 2020
                                    (VOTE FOR ONE / VOTE POR UNO /             명 선출)                                                                                             TRUMP                                                                                                                                 (Write In / escriba el nombre / 기명 투표)              devueltas por correo deben ser estampilladas a más tardar el 7 de julio de 2020 a las 8:00 p.m. Las balotas también se
                                          For Delegates-At-Large to                                                                                                   REPUBLICANS FOR RESPONSIBLE GOVERNMENT                                                                                                                                                               pueden colocar en una de las seis casillas de seguridad de votación electoral ubicadas en todo el condado. Las ubicaciones
                                           the National Convention                                                                                                    Christopher J. CHRISTIE                                                                                                                                                                                                               Allendale
                                         Para Delegados en General a la                                                                                               Michael L. TESTA
                                                                                                                                                                                                                                                                                                                                                                           de Borough
                                                                                                                                                                                                                                                                                                                                                                                los casillerosof         electorales      de votación del condado de Bergen se pueden encontrar en www.co.bergen.nj.us/bergen-
                                              Convención Nacional                                                                                                     Joseph PENNACCHIO                                                                                                                                                                           5th Congressional District / 5˚ Distrito del Congreso /
                                                                                                                                                                                                                                                                                                                                                                           county-board-of-elections/ballot-drop-box-locations.  5선              La fecha límite para colocarlo en uno de los buzones de seguridad
                                                         회               의원                                                                                           Kristin CORRADO
                          A Vote for the first name in the group of names of your choice, will be an                                                                  Edward Bruce DiDONATO                                                                                                                                                                                o para entregar su balota en persona a la Junta Electoral del Condado de Bergen es el 7 de julio de 2020 a las 8:00 p.m.
                          automatic vote for all the Delegates-At-Large, Alternate Delegates-At-Large,
                          District Delegates and Alternate District Delegates in that Column to the                                                                   Henry Y. KUHL
                          Republican National Convention.                                                                                                             Edward S. WALSH
                          Un voto por el primer nombre del grupo de nombres de su elección,                                                                                                                                                                                                                                                                                   Hay un número limitado de lugares de votación disponibles para los votantes en el día de las elecciones, donde solo balotas
                          será un voto automático para todos los Delegados de Distrito General,                                                                       Afzal BARLAS
                          Delegados Suplentes Generales, Delegados del Distrito y Delegados Suplentes                                                                 Joanne GILMORE                                                                                                                                                                                          provisionales de papel estarán disponibles para emitir su voto. La ubicación de su lugar de votación está al otro lado de esta
                          del Distrito en esa columna a la Convención Nacional Republicana.
                                       의                                                                                                                              Munr KAZMIR
                                        회                     의원                  의원              의                                                                                                                                                                                                                                                                           balota de JOHN  muestra.S. HOGANLas urnas están abiertas de 6:00 a.m. a 8:00 p.m. Si un votante tiene una discapacidad y necesita una
                          원                   의원                                                                                                                                      First Last
                                                                                                                                                                                                                                                                                                                                                                        Bergen County Clerk/Secretario del Condado de Bergen/
                                 For Alternate Delegates-At-Large to the                                                                                              John V. AZZARITI        AlexanderC.MARKOWITS
                                                                                                                                                                                                                                                                                                                                                                              balota electoral accesible, puede llamar a la Oficina del Secretario del Condado o puede ir a su lugar de votación asignado,
                                           National Convention                                                                                                        Stavros G. CHRISTOUDIAS DarleneSHOTMEYER                                                                                                                                                                el cual le proporcionará acceso a un dispositivo de votación accesible en persona el Día de la Elección Primaria.
                                  Para Delegados Suplentes Generales a la                                                                                             Susan L. ENDERLY        ThomasP.RAGUKONIS
                                                                                                                                                                                                                                                                                                                                                                INSTRUCTIONS TO VOTER To vote for any person whose name is printed on this ballot use only
                                           Convención Nacional                                                                                                        Janice M. FIELDS        DorothyBURGER
                                                                                                                                                                                                                                                                                                                                                                black pen and fill in the oval     to the right of the candidate’s name, not in excess of the number to
                                                      회                     의원                                                                                        Michael LAVERY          TheresaA.WINEGAR
                                                                                                                                                                                                                                                                                                                                                                be elected to the office.
                                                                                                                                                                                                                                                                                                                                                                                 Esta balota de muestra de la elección primaria también se puede encontrar en www.bergencountyclerk.org. Se publicará
                                                                                                                                                                                                                                                                                                                                                                To vote for any person whose name is not printed on this ballot, write the name in the personal
                                               For District Delegates                                                                                                 Giavona PRIOLO SULLIVAN
                                                                                                                                                                                                                                                                                                                                                                                 una balota de muestra en cada lugar de votación.
                                                                                                                                                                                                                                                                                                                                                                choice column, and fill in that oval to the right of name. Do not vote for more candidates than are to
                                              Para Delegados de Distrito                                                                                                                                                                                                                                                                                        be elected.
                                                                                                                                                                      Mike VERGARA                                                                                                                                                                              If you tear, deface or incorrectly mark this ballot, return it to a district board worker and obtain a
                                                                   의원
                                                                                                                                                                      Jack ZISA                                                                                                                                                                                 new ballot.      Si usted tiene preguntas, por favor llamar a la oficina del Secretario del Condado al (201) 336-7020 o la Junta de Elecciones
                                                                                                                                                                                                                                                                                                                                                                Insert completed ballot in affirmation envelope, then return to district board worker.
                                                                                                                                                                                                                                                                                                                                                                                 del Condado al (201) 336-6230.
                                      For Alternate District Delegates                                                                                                Angela TOSCANO                                                                                                                                                                            INSTRUCCIONES PARA EL VOTANTE Para votar por alguna persona cuyo nombre esté impreso en esta
                                     Para Delegados Suplentes de Distrito                                                                                             Faith VOHDEN                                                                                                                                                                              tarjeta de votación, use solamente lapicero negro y llene el óvalo a la derecha del nombre del candidato,
                                                                       의원                                                                                                                                                                                                                                                                                       sin sobrepasar el número que será elegido para la oficina.
                                                                                                                                                                      Harold WIRTHS
                                                                                                                                                                                                                                                                                                                                                                Para votar por cualquier persona cuyo nombre no esté impreso en esta tarjeta de votación, escriba el nombre
                                                                                                                                                                                                                                                                                                                                                                en la columna de opción personal y llene el óvalo a la derecha del nombre. No vote por más candidatos de los
                                          For United States Senator                                                                            AMERICA FIRST                    REPUBLICANS FOR                                                            REPUBLICANS FOR                                                                                      que serán elegidos.
                                                                                                                  WE THE PEOPLE                REPUBLICANS                  RESPONSIBLE GOVERNMENT                           PREVENT CA EAST            RESPONSIBLE LEADERSHIP                                                                                  Si rompe, altera o marca incorrectamente esta balota, devuélvala a un trabajador del comité del distrito y
                                       Para Senador de los Estados Unidos
                                                         원 의원                                                NATALIE LYNN                     PATRICIA                          RIKIN "RIK"                                EUGENE T.                         HIRSH                                                                                              obtenga una nueva balota.               일               는 예비선거는                                            지         지사   지         일           정        에              로실        니다.
                                    (VOTE FOR ONE / VOTE POR UNO /             명 선출)                                                                                                                                                                                                                                                                            Ponga la balota completa en el sobre de afirmacion y devuélvalo al trabajador de la junta electoral del distrito.
                                                                                                                 RIVERA                    FLANAGAN                              MEHTA                                    ANAGNOS                           SINGH                                                      (Write In / escriba el nombre / 기명 투표)

                              For Member of the House of Representatives                                                                       AMERICA FIRST                    REPUBLICANS FOR                                                            REPUBLICANS FOR                                                                                      원                                              견본원투표 용지                                                       투표                   투표 용지                          투표 용지                        20
                                                                                                                                               REPUBLICANS                  RESPONSIBLE GOVERNMENT                                                      RESPONSIBLE LEADERSHIP           MAKE NEW JERSEY GREAT AGAIN                                                               원
                               Para Miembro de la Cámara de Representantes                                                                                                                                                                                                                                                                                                       7020                         주 요
                                                         원 의원                                                                                  JAMES                              JOHN J.                                                                  FRANK T.                        HECTOR LUIS                                                                                                                                                                     의
                                    (VOTE FOR ONE / VOTE POR UNO /             명 선출)                                                                                                                                                                                                                                                                                                                          원
                                                                                                                                             BALDINI                       McCANN Jr.                                                                    PALLOTTA                           CASTILLO                   (Write In / escriba el nombre / 기명 투표)
                                                                                                                                                                                                                                                                                                                                                                                         투표 용지                                                                                 표      지            투    투표 용지        버겐카운티 선거                                        .
                                                                                                                                                                                REPUBLICANS FOR
                                                                                                                                                                            RESPONSIBLE GOVERNMENT                                                                                                                                                                                         로     는 투표 용지는                                                             일                   지    이          니다.       투표 용지는 카운티                   에                  에
                                         For Members of the Board of                                                                                                            RONALD F.                                                                                                                                                                                                                                                              는                                                                                                           에
                                                                                                                                                                                                                                                                                                                                                                IT IS AGAINST THE LAW FOR
                                                                                                                                                                                                                                                                                                                                                                                          수 ES습니다.
                                                                                                                                                                                                                                                                                                                                                                                               CONTRA LA LEY QUE CUALQUIER
                                             Chosen Freeholders
                                                                                                                                                                               KISTNER                                                                                                                                 (Write In / escriba el nombre / 기명 투표)   ANYONE EXCEPT YOU THE    하   PERSONA
                                                                                                                                                                                                                                                                                                                                                                                             .        CON EXCEPCIÓN
                                                                                                                                                                                                                                                                                                                                                                                                                사용하거DE                                                  투표 용지             버겐카운티 선거          로       하는                               일            입니다.
                                          Para Miembros de la Junta De                                                                                                                                                                                                                                                                                          VOTER TO OPEN, MARK, INSPECT,USTED, EL VOTANTE, ABRA, MARQUE,
                                             Concejales del Condado                                                                                                                                                                                                                                                                                             OR SEAL THIS BALLOT.                  INSPECCIONE O SELLE ESTA
                                                                                                                                                                              REPUBLICANS FOR
                                         PRIMARY ELECTION   의원                                                Republican                   Republican                        Republican
                                                                                                                                                                          RESPONSIBLE GOVERNMENT
                                                                                                                                                                                                                         Republican                     Republican                      Republican                     PERSONAL CHOICE                                                                BALOTA DE VOTACIÓN.
                                          FOR TWO / VOTE POR
                                    (VOTE ELECCIÓN           DOS / 두 명 선출)
                                                          PRIMARIA                                         Republicano / 공화당            Republicano / 공화당               Republicano                                   Republicano / 공화당              Republicano / 공화당               Republicano / 공화당                 SELECCIÓN PERSONAL                                        선거                               로운   는 투표 는                                                       투표 용지  용                    . 투표      는       에         습니다. 투표 는
                                                                                                                                                                               SIMONE/ 공화당                                                                                                                                                                             Please Vote On Both Sides Of This Ballot
                                                     예비선거                                                 COLUMN 1 / COLUMNA 1 / 칼럼 1   COLUMN 2 / COLUMNA 2 / 칼럼 2     COLUMN 3 / COLUMNA 3 / 칼럼 3                  COLUMN 4 / COLUMNA 4 / 칼럼 4     COLUMN 5 / COLUMNA 5 / 칼럼 5     COLUMN 6 / COLUMNA 6 / 칼럼 6                 개인 선택                                                                       지운
                                                                                                                                                                                                                                                                                                                                                                    Por Favor Votar En Ambos Lados De Esta Balota
                                                                                                                                                                                                                                                                                                                                                                                                                     니다. 이                                                           는 카운티클럭 사         실로       하거 선거     정       투표      에       용 투표기기
                                                                                                                                                                            TSIGOUNIS                                                                                                                                  (Write In / escriba el nombre / 기명 투표)                                                       REPUBLICAN
                                                                                                                                                                                                                                                                                                                                                                         이 투표용지 이용양면에      수투표 습니다.해주세요
                          Allendale                                                                                                                                             REPUBLICANS FOR
                          Form - 1                                                                                                                                          RESPONSIBLE GOVERNMENT
                                                                                                                                                                                 EDWARD                                                                                                                                                                                          예비선거 견본 투표 용지는                                            사이                     .                        .   에            수       선거       투표    에         니다.




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                                          For Members of the Council
                                            Para Miembros del Concejo                                                                                                       O'CONNELL                                                                                                                                  (Write In / escriba el nombre / 기명 투표)
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Case 3:20-cv-08267-ZNQ-TJB Document 33-1 Filed 01/25/21 Page 6 of 67 PageID: 407




                                                   의회 의원                                                                                                                                                                                                                                                                                                                                 이                    카운티클럭 사                        실                                      는 카운티 선거                        로        하     .
                                                                                                                                                                                REPUBLICANS FOR
                                    (VOTE FOR TWO / VOTE POR DOS / 두 명 선출)                                                                                                  RESPONSIBLE GOVERNMENT
                                                                                                                                                                                   AMY E.
                                                                                                                                                                           WILCZYNSKI                                                                                                                                  (Write In / escriba el nombre / 기명 투표)


                                                                                                                                                                                                                                                                                                                                                                                                                         PLEASE SEE REVERSE SIDE OF BALLOT FOR VOTING INSTRUCTIONS
                                                                                                                                                                                                                                                                                                                                                                                                                      POR FAVOR VEA EL LADO REVERSO PARA INSTRUCCIONES DE VOTAR
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              BURLINGTON
                COUNTY
Case 3:20-cv-08267-ZNQ-TJB Document 33-1 Filed 01/25/21 Page 8 of 67 PageID: 409




                                                                                                                                                                             DEMOCRAT MAIL-IN BALLOT
                                                                                                      Joanne Schwartz                    To Protect Your Vote:
                                                                                                                                         IT IS AGAINST THE LAW
                                                                                                                                         FOR ANYONE EXCEPT YOU         OFFICIAL PRIMARY ELECTION • JULY 7, 2020
                                                                                                                                                                                                                                                             IMPORTANT INSTRUCTIONS TO VOTERS
                                                                                                                                                                                                                                                   Please read the following before marking your ballot:               3. To vote for any person whose name is not printed on this ballot,
                                                                                                                                                                                                                                                                                                                          go to the Personal Choice Column and darken the oval by the words
                                                                                                                                         THE VOTER TO MARK OR
                                                                                                                                                                                                                                                1. Use ONLY a pencil or ink pen (black or blue) to mark your ballot.
                                                                                                          JOANNE SCHWARTZ                INSPECT THIS BALLOT.                  COUNTY OF BURLINGTON                                                Do not use red ink.
                                                                                                                                                                                                                                                                                                                          “write-in” for the office in which you want to write-in. Write the
                                                                                                             County Clerk                However, a family member                                                                                                                                                         name of the person for which you wish to vote on the blank line.
                                                                                                                                         may assist you in doing so.          TOWNSHIP OF MAPLE SHADE                                           2. Completely fill in oval to the right of each of your selections.    4. If you tear, deface or incorrectly mark this ballot contact the
                                                                                                                                                                  1ST CONGRESSIONAL DISTRICT • 4TH DELEGATE DISTRICT                                  MARK BALLOT LIKE THIS:            John DOE                          Burlington County Clerk to obtain a new ballot.
                                                                                                                                                 1              DEMOCRAT
                                                                                                                                                                                       2        DEMOCRAT
                                                                                                                                                                                                                            3    DEMOCRAT
                                                                                                                                                                                                                                            4        DEMOCRAT
                                                                                                                                                                                                                                                                        5           DEMOCRAT
                                                                                                                                                                                                                                                                                                       6           DEMOCRAT
                                                                                                                                                                                                                                                                                                                                   7          DEMOCRAT
                                                                                                                                                                                                                                                                                                                                                                    8
                                                                                                                         BURLINGTON COUNTY
                                                                                                                                                                                                                                                                                                                                                                              PERSONAL
                                                                                   OFFICE TITLE                         REGULAR DEMOCRATS
                                                                                                                             COLUMN                               COLUMN                          COLUMN                           COLUMN              COLUMN                         COLUMN                         COLUMN                     COLUMN                         CHOICE
                                                                                       CHOICE FOR
                                                                                       PRESIDENT                    Joseph R. BIDEN                                                        Bernie SANDERS                                                                                                                                       UNCOMMITTED
                                                                                         FULL TERM                           BURLINGTON COUNTY                                                   BERNIE 2020. NOT ME. US.
                                                                                       (VOTE FOR ONE)                        REGULAR DEMOCRATS                                                                                                                                                                                                                                           WRITE-IN
                                                                                                                                                                                                                                                                                                                                                                    TERS
                                                                                   DISTRICT DELEGATES
                                                                                                                      BURLINGTON COUNTY                                                    BERNIE 2020. NOT ME. US.                                                                                                                           UNCOMMITTED
                                                                                                                                                                                                                                                                                                                                                                O VO
                                                                                       (4TH DELEGATE DISTRICT)
                                                                                       A VOTE FOR CHOICE FOR
                                                                                                                      REGULAR DEMOCRATS
                                                                                                                                                                                                                                                                                                                                              NT T
                                                                                   PRESIDENT IS AN AUTOMATIC VOTE             JAMES BEACH                                                         KRISTEN AFFRIME                                                                                                                              BRUCE SCHWARTZ
                                                                                       FOR ALL AFFILIATED MALE
                                                                                                                             MERYL GREENE                                                             JEFF EPSTEIN
                                                                                                                                                                                                                                                                                                                               T SE
                                                                                   AND FEMALE DISTRICT DELEGATES
                                                                                       AND ALTERNATE DISTRICT                  KARIN ELKIS                                                         MICHAEL MILLER
                                                                                                                                                                                                                                                                                                               ALLO
                                                                                    DELEGATE TO THE DEMOCRATIC                JAMES KEHOE                                                       SHANTA SMITH-GIST
                                                                                        NATIONAL CONVENTION
                                                                                                                                                                                                                                                                                              HE B
                                                                                         MEMBER OF THE
                                                                                                                        Cory BOOKER                     Lawrence HAMM
                                                                                                                                                                                                                                                                              OF T
                                                                                      UNITED STATES
                                                                                         SENATE                              BURLINGTON COUNTY                           NOT ME. US.
                                                                                                                                                                                                                                                        MPLE
                                                                                           FULL TERM
                                                                                         (VOTE FOR ONE)                      REGULAR DEMOCRATS                                                                                                                                                                                                                                           WRITE-IN
                                                                                                                                                                                                                                          A SA
                                                                                         MEMBER OF THE
                                                                                       HOUSE OF                     Donald W. NORCROSS
                                                                                                                                                                                                                                - IT IS
                                                                                    REPRESENTATIVES                          BURLINGTON COUNTY
                                                                                   (1ST CONGRESSIONAL DISTRICT)
                                                                                   FULL TERM (VOTE FOR ONE)                  REGULAR DEMOCRATS                                                                                                                                                                                                                                           WRITE-IN
                                                                                         MEMBER OF THE
                                                                                                                         Tom PULLION
                                                                                                                                            VO                                                                TED
                                                                                                                                       T BE
                                                                                                                             BURLINGTON COUNTY
                                                                                        BOARD OF                             REGULAR DEMOCRATS                                                                                                                                                                                                                                           WRITE-IN
                                                                                                                                   NNO
                                                                                        CHOSEN
                                                                                      FREEHOLDERS
                                                                                                                      Balvir SINGH
                                                                                                                              T CA
                                                                                         FULL TERM
                                                                                       (VOTE FOR TWO)                        BURLINGTON COUNTY
                                                                                                                    LLB.OVOLPE
                                                                                                                             REGULAR DEMOCRATS                                                                                                                                                                                                                                           WRITE-IN
                                                                                                                 BAClaire
                                                                                        THIS
                                                                                         MEMBER OF THE

                                                                                                                             BURLINGTON COUNTY
                                                                                                                             REGULAR DEMOCRATS                                                                                                                                                                                                                                           WRITE-IN
                                                                                        TOWNSHIP
                                                                                         COUNCIL
                                                                                                                        Nelson WIEST
                                                                                                                             BURLINGTON COUNTY
                                                                                        FULL TERM
                                                                                                                             REGULAR DEMOCRATS                                                                                                                                                                                                                                           WRITE-IN
                                                                                     (VOTE FOR THREE)
                                                                                                                      Steve SCHMIDT
                                                                                                                             BURLINGTON COUNTY
                                                                                                                             REGULAR DEMOCRATS                                                                                                                                                                                                                                           WRITE-IN
                                                                                                                                                                                                                                                                                                                                                   © 2014 Dominion Voting Systems. All Rights Reserved
                                                                                                                                                                                                                                                                                                                                                                                                         1
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                                                                                                                                                                                                           1                                                    2                                    3                                  4                         5
                                                                                                                                                                                                                     BURLINGTON COUNTY REGULAR
                                                                                                                                                                                   REPUBLICAN                                                                          REPUBLICAN                          REPUBLICAN                       REPUBLICAN                      PERSONAL
                                                                                                    Joanne Schwartz
                                                                                                                                                                                                                       REPUBLICAN ORGANIZATION
                                                                                                                                              OFFICE TITLE                            COLUMN                                         COLUMN                               COLUMN                              COLUMN                           COLUMN                        CHOICE
                                                                                                        JOANNE SCHWARTZ                   CHOICE FOR PRESIDENT                                                         Donald J. TRUMP
                                                                                                           County Clerk                             FULL TERM                                                                  BURLINGTON COUNTY REGULAR
                                                                                                                                                  (VOTE FOR ONE)                                                                  REPUBLICAN ORGANIZATION                                                                                                                                WRITE-IN
                                                                                                                                                                                                                    BURLINGTON COUNTY REGULAR
                                                                                                                                                DELEGATES TO THE
                                                                                                                                                                                                                     REPUBLICAN ORGANIZATION
                                                                                                                                              NATIONAL CONVENTION
                                                                                          REPUBLICAN                                                                                                           CHRISTOPHER J. CHRISTIE          HENRY Y. KUHL
                                                                                                                                           UNDER REPUBLICAN PARTY RULES                                               MICHAEL L. TESTA      EDWARD S. WALSH
                                                                                         MAIL-IN BALLOT                                      THE ENTIRE DELEGATE SLATE
                                                                                                                                              IS VOTED FOR BY FILLING IN
                                                                                                                                                                                                                   JOSEPH PENNACCHIO            AFZAL BARLAS
                                                                                                                                                                                                                     KRISTIN CORRADO          JOANNE GILMORE
                                                                                          OFFICIAL                                                 THE SINGLE OVAL
                                                                                                                                                                                                               EDWARD BRUCE DIDONATO             MUNR KAZMIR
                                                                                      PRIMARY ELECTION                                                                                                                JOHN V. AZZARITI ALEXANDER C. MARKOWITS
                                                                                                                                                                                                                                                                                                                                                                                    S
                                                                                                                                                                                                                                                                                                                                                                               OTER
                                                                                                                                                                                                               STAVROS G. CHRISTOUDIAS DARLENE SHOTMEYER
                                                                                        JULY 7, 2020                                               ALTERNATE
                                                                                                                                                                                                                     SUSAN L. ENDERLY THOMAS P. RAGUKONIS
                                                                                                                                              AT-LARGE-DELEGATES
                                                                                                                                                                                                                                                                                                                                      TO V
                                                                                   COUNTY OF BURLINGTON                                                                                                               JANICE M. FIELDS       DOROTHY BURGER
                                                                                                                                                                                                                      MICHAEL LAVERY THERESA A. WINEGAR
                                                                                   TOWNSHIP OF MAPLE SHADE
                                                                                                                                                                                                                                                                                                                         SENT
                                                                                                                                               DISTRICT DELEGATES                                                         MARY BEHM            KEITH WALKER
                                                                                   1ST CONGRESSIONAL DISTRICT                                   (1ST CONGRESSIONAL DISTRICT)                                            NAOMI LUBKIN
                                                                                                                                                                                                                                                                                                                  LLOTEugene T. ANAGNOS
                                                                                                                                                   ALTERNATE                                                      RICHARD AMBROSINO               ERICK FORD
                                                                                                                                               DISTRICT DELEGATES
                                                                                                                                                                                                                                                                                                            BASINGH
                                                                                                                                                (1ST CONGRESSIONAL DISTRICT)                                      STEPHEN BOTTIGLIERI
                                                                                                                                                                                                                                                                                                         HE Hirsh
                                                                                   To Protect Your Vote:
                                                                                                                                                                               Natalie Lynn RIVERA                 Rikin “Rik” MEHTA                                Patricia FLANAGAN
                                                                                                                                                                                                                                                                                     OF T
                                                                                   IT IS AGAINST THE LAW FOR ANYONE EXCEPT YOU                      MEMBER OF THE
                                                                                   THE VOTER TO MARK OR INSPECT THIS BALLOT.                UNITED STATES SENATE
                                                                                   However, a family member may assist you in doing so.                                                    WE THE PEOPLE                       BURLINGTON COUNTY REGULAR                 AMERICA FIRST REPUBLICANS                BURLINGTON COUNTY             PREVENT CA EAST
                                                                                                                                                                                                                                                                    MPLE
                                                                                                                                                      FULL TERM
                                                                                                                                                    (VOTE FOR ONE)                                                                REPUBLICAN ORGANIZATION                                                    CONSERVATIVE REPUBLICANS                                                    WRITE-IN
                                                                                                                                                                                                                                            A SA
                                                                                                                                                    MEMBER OF THE
                                                                                    IMPORTANT INSTRUCTIONS                                HOUSE OF REPRESENTATIVES                                             Claire H. GUSTAFSON
                                                                                                                                                                                                           - IT IS
                                                                                          TO VOTERS                                           (1ST CONGRESSIONAL DISTRICT)
                                                                                                                                                      FULL TERM
                                                                                                                                                                                                                               BURLINGTON COUNTY REGULAR
                                                                                                                                                    (VOTE FOR ONE)                                                                REPUBLICAN ORGANIZATION                                                                                                                                WRITE-IN
                                                                                     Please read the following before
                                                                                                                                                                                         TED
                                                                                     marking your ballot:
                                                                                                                                                                                                                      Tinamarie NICOLO
                                                                                                                                                       O
                                                                                                                                                   BE V
                                                                                   1. Use ONLY a pencil or ink pen (black
                                                                                                                                                    MEMBER OF THE
                                                                                                                                                                                                                               BURLINGTON COUNTY REGULAR
                                                                                                                                               BOARD OF                                                                                                                                                                                                                                  WRITE-IN
                                                                                                                                               NOT
                                                                                      or blue) to mark your ballot.                                                                                                               REPUBLICAN ORGANIZATION
                                                                                                                                          CHOSEN FREEHOLDERS
                                                                                      Do not use red ink.
                                                                                                                                            CAN
                                                                                                                                                    FULL TERM
                                                                                                                                                  (VOTE FOR TWO)                                                                 John ADAMS
                                                                                                                  OT
                                                                                   2. Completely fill in oval to the right                                                                                                     BURLINGTON COUNTY REGULAR
                                                                                                             BALL
                                                                                                                                                                                                                                  REPUBLICAN ORGANIZATION                                                                                                                                WRITE-IN
                                                                                      of each of your selections.
                                                                                     THIS
                                                                                    MARK BALLOT LIKE THIS:                                                                                                                     David C. MOY
                                                                                                                                                                                                                               BURLINGTON COUNTY REGULAR
                                                                                                        John DOE                                                                                                                                                                                                                                                                         WRITE-IN
                                                                                                                                                                                                                                  REPUBLICAN ORGANIZATION
                                                                                                                                                    MEMBER OF THE
                                                                                   3. To vote for any person whose                          TOWNSHIP COUNCIL
                                                                                      name is not printed on this ballot,                          FULL TERM                                                           NO PETITION FILED
                                                                                      go to the Personal Choice Column                          (VOTE FOR THREE)                                                                                                                                                                                                                         WRITE-IN
                                                                                      and darken the oval by the words
                                                                                      “write-in” for the office in which
                                                                                      you want to write-in. Write the                                                                                                  NO PETITION FILED
                                                                                      name of the person for which you                                                                                                                                                                                                                                                                   WRITE-IN
                                                                                      wish to vote on the blank line.
                                                                                   4. If you tear, deface or incorrectly mark
                                                                                      this ballot contact the Burlington
                                                                                      County Clerk to obtain a new ballot.
                                                                                                                                                                                                                                                                                                                                                    © 2014 Dominion Voting Systems. All Rights Reserved
Case 3:20-cv-08267-ZNQ-TJB Document 33-1 Filed 01/25/21 Page 10 of 67 PageID: 411




                       CAMDEN
                       COUNTY
                                                                                                                                                                                                                                                         COUNTY OF CAMDEN
                                                                                                                                                                                                                                               OFFICE OF THE COUNTY CLERK
How do I return my ballot?                                                                                 ¿Cómo devuelvo mi papeleta?
You can mail it in the postage paid envelope from any US Post Office or USPS mailbox. If                   Puede enviarla por correo en el sobre de franqueo pagado desde cualquier buzón de correo
mailing close to Election Day, it is recommended that you ask the Post Office to hand cancel               súbdelo o correo postal de EE. UU. Si envía por correo cerca del día de las elecciones, se
the envelope to assure it has a readable postmark.                                                         recomienda que pida a la oficina de correos que cancele el sobre para asegurarse de que tiene                                                                                                 Election Division
                                                                                                           un postal legible.                                                                                                                                                                        División de Elecciones
Can I drop it off?
You can drop off your ballot at the                                                                        ¿Puedo dejarla?                                                                                                                                                                         Elections & Archive Center
Camden County Board of Elections, 100 University Ct., Blackwood, NJ 08012.                                 Puede dejar su papeleta en                                                                                                                                                         100 University Ct • PO Box 218
                                                                                                           la Junta Electoral del Condado de Camden, 100 University Ct., Blackwood, NJ 08012.                         Joseph Ripa                                                                 Blackwood NJ 08012-0218
There are also secure drop boxes located throughout Camden County in which you can drop
                                                                                                           También hay cajas de entrega seguras ubicadas en todo el condado de Camden en las que puede dejar          Camden County Clerk                                                                       856.225.7219
off your ballot. A list of the locations can be found at www.camdencounty.com/vbmdropbox.
                                                                                                           su papeleta. Puede encontrar una lista de las ubicaciones en www.camdencounty.com/vbmdropbox.              Secretario del Condado de Camden                                          electdiv@camdencounty.com
Vote by Mail ballots cannot be dropped off at polling places.
                                                                                                           Las papeletas de Voto por Correo no se pueden dejar en los lugares de votación.
Can someone else drop my ballot off?                                                                       ¿Puede otra persona dejar mi papeleta?                                                                     Dear Voter,
If someone else transports your ballot, they must complete the Bearer portion of the Green                 Si alguien más transporta su papeleta, debe completar la parte del portador del sobre de
return envelope.                                                                                           devolución verde.                                                                                          In light of the ongoing novel coronavirus (COVID-19) pandemic, Governor Murphy
When do ballots need to be received?                                                                       ¿Cuándo es necesario recibir las papeletas?                                                                issued several Executive Orders that make changes to the 2020 Primary Election:
For your vote to count, ballots need to be received by 8:00 pm on                                          Para que su voto cuente, las papeletas deben ser recibidas antes de las 8:00pm del día de las
Election Day, July 7, 2020, or postmarked by July 7th and received by July 14th.                           elecciones, 7 de julio de 2020, o con matasellos antes del 7 de julio y recibidas antes del 14 de julio.       • The date of the Primary Election has been changed to July 7, 2020.
                                                                                                           Normalmente voto en las urnas. ¿Por qué obtuve una papeleta de voto por correo?                                • To limit unnecessary exposure, the election will be conducted mostly by
I normally vote at the polls. Why did I get a Vote by Mail Ballot?
                                                                                                           Debido a la pandemia COVID-19 y para limitar la exposición, el Gobernador ordenó que la                          Vote by Mail Ballot, as such you have been sent this ballot.
Because of the COVID-19 pandemic and to limit exposure, the Governor ordered the Primary                   Elección Primaria se llevara a cabo principalmente por correo. Por orden, todos los demócratas
Election to be conducted primarily by mail. Per the order, all registered Democrats and                    y republicanos registrados se les envía automáticamente una papeleta de Voto por Correo.                       • There will be limited in-person polling places with paper Provisional Ballots –
Republicans are automatically being sent a Vote by Mail ballot.                                                                                                                                                             per the Governor’s order, you cannot vote in a machine (there will be an ADA
                                                                                                           ¿Puedo seguir votando en las urnas?
Can I still vote at the polls?                                                                             Para aquellos que deseen votar en las urnas, habrá un número limitado de lugares de votación.
                                                                                                                                                                                                                            accessible ballot marking devices available).
For those that wish to vote at the polls, there will be a limited number of polling places.                En los lugares de votación, los electores podrán votar en una papeleta de votación provisional             Since this election will be conducted differently, I have compiled the enclosed
At the polling places, voters will be able to vote a paper Provisional Ballot (which looks                 (que tiene un aspecto idéntico a esta papeleta adjunta). El aviso de la ubicación de su lugar
identical to this enclosed ballot). The notice of the location of your polling place will be
                                                                                                                                                                                                                      information to help you vote and return your ballot.
                                                                                                           de votación se le enviará por correo por separado antes de la elección.
mailed to you separately prior to the election.                                                            ¿Contarán mis votos si voto por correo?                                                                    If you have any further questions, please do not hesitate to contact my office.
Will my vote count if I Vote by Mail                                                                       Si se recibe a tiempo, todas las papeletas serán contadas e incluidas en los resultados finales.
                                                                                                           Las papeletas de Voto por Correo se contarán primero. Sólo después de que se cuenten todas                 A la luz de la nueva pandemia de coronavirus (COVID-19), el gobernador Murphy emitió varias
If received timely, all ballots will be counted and included in the final results. The Vote by Mail
ballots will be counted first. Only after all the VBM ballots are counted, then the in-person              las papeletas de VBM, se contarán las papeletas provisionales en persona. Esto es para evitar              Ordenes Ejecutivas que hacen cambios en las Elecciones Primarias de 2020:
Provisional ballots will be counted. This is to prevent a person from casting multiple ballots.            que una persona emita varias papeletas.
                                                                                                                                                                                                                          • La fecha de las Eleccione Primarias se ha cambiado para el 7 de julio de 2020.
                                                                                                           Si I nunca he solicitado votar por correo, ¿siempre tengo que votar por correo?
If you have never applied to Vote by Mail, do I always have to vote by mail?                               No, este es un evento de una sola vez. Si desea continuar recibiendo las papeletas, deberá                     • Para limitar la exposición innecesaria, la elección se llevara a cabo en mayor parte
No, this is a one-time event. If you do want to continue to receive ballots, you will need to              completar una solicitud de Voto por Correo. Para más información y para acceder a una                             por voto por correo, como tal se le ha enviado esta papeleta.
complete a Vote by Mail application. For more Information and to access the Vote by Mail                   aplicación VBM favor visite www.camdencounty.com/vbm.
application, please visit our website www.camdencounty.com/vbm.                                                                                                                                                           • Habrán lugares limitados para votar en persona con papeletas de papel provisionales;
                                                                                                           Tengo una discapacidad que me impide votar una papeleta de papel.                                                 según la orden del Gobernador, usted no podrá votar en las maquinas; habrá un aparato
I have a disability that prevents me from voting a paper ballot.                                           ¿Qué adaptaciones de ADA estarán disponibles?                                                                     ADA, disponible de marcar las papeletas.
What ADA accommodations will be available?                                                                 En cada uno de los lugares de votación, habrá una máquina de votación accesible. Para acceder a
At each of the polling places, there will be an accessible voting machine. To access the                   la máquina, el elector tendrá que certificar, bajo la pena de voto fraudulento, que no pueden votar        Dado que esta elección se llevará a cabo de manera diferente, he compilado la información adjunta
machine, the voter will need to certify, under the penalty of fraudulent voting, that they are             una papeleta de papel.                                                                                     para ayudarle a votar y devolver su papeleta.
unable to vote a paper ballot.                                                                             El Certificado de Elector de Correo según el Correo dice que soy la persona que
                                                                                                                                                                                                                      Si tiene más preguntas, por favor no dude en ponerse en contacto con mi oficina.
                                                                                                           solicitó la papeleta, pero me la enviaron automáticamente.
The Certificate of Mail-In Voter says that I am the person that applied for the
                                                                                                           ¿Puedo firmar legalmente el certificado?                                                                                                               Sincerely,
ballot, but it was sent to me automatically. Can I lawfully sign the certificate?                          A los efectos de la certificación que debe firmar indicando que solicitó esta papeleta, tenga en
For the purpose of the certification that you must sign stating that you applied for this ballot, please   cuenta que la Orden Ejecutiva 144 actúa como su solicitud y puede firmarla legalmente.
be advised that Executive Order 144 acts as your application and you can lawfully sign it.
                                                                                                                                                                                                                                                              Joseph Ripa
                                                                                                                                                                                                                                                           Camden County Clerk
                                                                                                                                                                                                                                                                                                                       Case 3:20-cv-08267-ZNQ-TJB Document 33-1 Filed 01/25/21 Page 11 of 67 PageID: 412
                                                                                                                                                                                                     STEP 1                                                                                                                                                                                                                                                                                                                                                                                                                              STEP 2                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               STEP 3
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               Any person providing assistance to the Voter must fill out the other side of this flap
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             Cualquier persona que proporcione ayuda debe llenar la informacion en el otro lado de esta tapa


                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   FOR YOUR VOTE TO COUNT,                                                           CERTIFICATE OF MAIL-IN VOTER                                Certificado del Elector por Correo
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               YOU MUST SEAL YOUR BALLOT IN THIS ENVELOPE AND
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      COMPLETE & SIGN THIS CERTIFICATE                                             I, the undersigned, whose name, address and municipality appear on this
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         SU VOTO PARA QUE CUENTE,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 Usted debe sellar su papeleta en el sobre y Completar y firmar este certificado   certificate,DO HEREBY CERTIFY, subject to the penalties for fraudulent voting, that I
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   am the person who applied for the enclosed ballot for´ the Primary Election. I MARKED
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   AND SEALED THIS BALLOT AND CERTIFICATE IN SECRET. However, a family member
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   may assist me in doing so.                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    Cualquier persona que proveé asistencia debe completar lo siguente:
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          Yo, el abajo firmante, cuyo nombre, dirección y municipio aparecen en este certificado, CERTIFICO QUE, sujeto a las penalidades de votos fraudulentos, que yo                                                 Any person providing assistance shall complete the following:                                                                                                                                                                                                                                                                                                                                                                                                                                                            Certifico que soy la persona que proporcionó ayuda al votante y declaro que yo
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          soy le persona quien solicito le papeleta adjunta en la elecion´ primaria. YO MARQUE Y SELLE ESTA PAPELETA Y CERTIFICADO QUE LO HICE CONFIDENCIALMENTE.                                                       I do hereby certify that I am the person who provided assistance to this voter and                                                                                                                                                                                                                                                                                                                                                                                                                                       mantendre la confidencialidad de esta papeleta.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          Sin embargo, un miembro familar puede asistirle.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        declare that I will maintain the secrecy of this ballot.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               John Smith
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   I marked this ballot for the                                                                                                           political party.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        Yo marque esta papeleta por:                                                                                                             partido politico                                                                        (signature of person providing assistance)                                                                                                                                                                                                           (address of person providing assistance)                                                                                                                                                                                                                                    (firma de la persona que ayudó)                         ( direccion de la persona que ayudó)
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               123 Main Street                                                                      Sign Name Here
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    as it appears in the Poll Book                                                                                                                                                                                                 (printed name of person providing assistance)                                                                                                                                                                                                                                                                                                                                                                                                                                                                              (Nombre en letra de la persona que ayudó)
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               Cherry Hill, NJ 08003                                                                Firmar su Numbre Como                     X
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      aparece en el Libro de Votacion                                                    (Signature of Voter)      (Firma del Votante)




                                                                                  TION                                                                                                                                                                                                                      NOMINATION
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                                                                                   District                                                                                               REPUBLICANO                                         DEMOCRATA                                                     POR PETICION                                                                                                                                                                                                                                                                                                        DO NOT DETACH!
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                                                                                                                                     United States Senator
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                                                                                                                                                                                                                                                                                                        Sin le abajo                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             cerrtificado adjunto.
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                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          person who is a candidate in the election
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                                                                                                                                                                                                                                                                                                                                                                                                                        O ade                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               5)   Enviar por correo la papeleta electoral a la
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                                                                                                                                                                                    at            lo                                                                                                                                             (Si                                                                                                                                   vot                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       Junta de Elecciones de su Condado lo antes
                                                                                                                                                                  d RE                e.                                                                                                                                                            gn                                                                                                                             HIC os
                                             recibida antes de 48 horas, su                                                                                                                                                                      R T                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      is permitted to serve as a bearer for more
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                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          than three qualified voters in an election.                                                                                                                                            Condado no recibe su papeleta electoral
                                                                                                                                                            p b                                                                                                                      p                                                                                                                                                                                                            IAL q
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                                                                                                                                                                                 ve                                                                  CAMDEN                                                                                                                       (Fi                                                                                                                  N                                                                                                                                           CAMDEN COUNTY BOARD OF ELECTIONS                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    5) Mail to County Board of Elections as soon                                                                                                                                              el dia de las elecciones su voto no podra
                                                                                                                                                                                                                                                                                                                                                                                     rm                                                                         par                                                                                                                                                                                                                                                                                                                                                             Ninguna persona que sea candidato en las elecciones en la cual el votatante este requierendo la papeleta
                                                                                                                                                                                                                                            IN                                                                                                                                         a                                                                           tid                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    as possible. Unless the ballot is received
                                                                                                                                                                                                                                                                                                                                                                                              de                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 sera contado.
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                                                                                                                                                                     m brin                pe                                                                                                                                                                                                                                                                              itic                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           by the County Board of Elections before
                                             voto no podrá ser contado.                                                                                                                                                                          ST
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  2020, at 8:00 p.m.                                                                                                                                                                                                                                  R      !
                                                                                                                                                                                                                                                     BLACKWOOD NJ 08012-9900
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                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   BLACKWOOD NJ 08012-9900                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                the closing of the polls on election day, it
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          can not be counted.




• If you need a replacement ballot         • Si perdio su papelata, se rompió,
  because it is misplaced, torn, or          marcada incorrectamente y
                                             necesita otra favor de llamar al
                                                                                                                                                                          Put Yellow Envelope into the
  incorrectly marked, please call                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       Make sure your address appears in window.                                                                                                                                                                                                                           Seal the Green Return Envelope and mail .
  (856) 225-7219 or visit                    (856) 225-7219 o visite                                                                                                       Green Envelope and seal.
  www.camdencounty.com/vbm2.                 www.camdencounty.com/vbm2.                                                                                                         Echar el Sobre Amarillo en el                                                                                                                                                                                                                                                                                                                                         Asegurese de que su direccion aparece en la ventanilla.                                                                                                                                                                                                             Selle el Sobre Verde de Regreso y envialo por correo.
                                                                                                                                                                                   Sobre Verde y sellarlo.
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             OFFICE TITLE                                       COLUMN                  COLUMN                                   COLUMN                                  WRITE-IN
             TITULO DE OFICINA                                  COLUMNA     1              COLUMNA                    2          COLUMNA                    3           POR ESCRITO
                 Choice For President                                                                     Joseph R. BIDEN                     Bernie SANDERS
                         (Vote for One)
                  Presidente de los Estados Unidos
                           (Vote Por Uno)                                               Camden County Democrat Committee, Inc.               Bernie 2020. Not Me. Us.

                                                                                                       DISTRICT DELEGATES                   DISTRICT DELEGATES
                                                                                                Mary CAMPBELL CRUZ                                Tara ASTOR
                                                                                                            Brett CANNON                     Anna GOTT-GRAF
  Delegates - 5th Democratic Delegate District                                                                Malini GUHA                         Nick SODANO
   A vote for the President is an automatic vote for all
         affiliated District Delegates and Alternate
 District Delegates to the Democratic National Convention                                                                                            Uncommitted

     Delegados - 5to Distrito Delegado Democrático
Un voto por el Presidente es automáticamente un vote a los                                                                                   DISTRICT DELEGATES
Delegados afiliado por Distrito y los Delegados Alternos por                                                                                     Israel DEL RIO
    distrito para la Convención Nacional Democrático                                                                                                                    Muestra
                 United States Senator
                                                                Sample     Not Me.Us.
                                                                     Lawrence HAMM
                                                                                        Camden County Democrat Committee, Inc.
                                                                                                            Cory BOOKER
                         (Vote for One)
                   Senado de los Estados Unidos
                         (Vote Por Uno)
                                                                                        Camden County Democrat Committee, Inc.       Camden County Democrats 2020
                                                                                        Brigid CALLAHAN HARRISON                                Amy KENNEDY
                                                                                                                                 Camden County's Moderate Democrat
    Member of the House of Representatives                                                                                             Robert D. TURKAVAGE
                         (Vote for One)
      Miembro de Casa de Representantes de los Estados Unidos                                                                                       True Democrats
                          (Vote Por Uno)                                                                                                  Will CUNNINGHAM
                                                                                                                                                    Walking For You
                                                                                                                                                John FRANCIS
                                                                                        Camden County Democrat Committee, Inc.
                          Surrogate
                                                                                             Michelle GENTEK-MAYER
                         (Vote for One)
                             Sustituto
                          (Vote Por Uno)
                                                                                        Camden County Democrat Committee, Inc.
 Member of the Board of Chosen Freeholders                                                                     Almar DYER
               Unexpired Term (Vote for One)
         Miembro de la Junta de Legisladores del Condado
              Término No Vencido (Vote Por Uno)
                                                                                        Camden County Democrat Committee, Inc.
 Members of the Board of Chosen Freeholders
                                                                                                    Louis CAPPELLI, JR.
                         (Vote for Two)
         Miembros de la Junta de Legisladores del Condado                               Camden County Democrat Committee, Inc.
                          (Vote Por Dos)                                                         Jonathan L. YOUNG, SR.
                                                                                        Camden County Democrat Committee, Inc.
        Members of Township Committee
                                                                                              Richard T. YEATMAN, SR.
                         (Vote for Two)
                  Miembros del Comité Municipal                                         Camden County Democrat Committee, Inc.
                         (Vote Por Dos)                                                                        Rita HANNA




                                        2020 DEMOCRAT PRIMARY ELECTION MAIL-IN BALLOT - WATERFORD TOWNSHIP
                                                                                                                                                                                      Case 3:20-cv-08267-ZNQ-TJB Document 33-1 Filed 01/25/21 Page 13 of 67 PageID: 414
OFFICIAL DEMOCRAT PRIMARY ELECTION
           MAIL-IN BALLOT
               July 7, 2020 • 2nd Congressional District
        Papeleta Oficial Democratá Eleccion Primaria
                     Enviada Por Correo
              7 de Julio del 2020 • 2de Distrito Congresional

                              Waterford toWnship
                               CoUntY of CaMden



                                JOSEPH RIPA, County Clerk
                               Secretario del Condado de Camden

To protect your vote:                                         Para proteger su voto:
                                                              ES ILEGAL PARA CUALQUIERA OTRA PERSONA EXCEPTO
IT IS AGAINST THE LAW FOR ANYONE EXCEPT YOU, THE              USTED EL VOTANTE, MARCAR O INSPECCIONAR ESTA
VOTER, TO MARK OR INSPECT THIS BALLOT. However, a             PAPELETA. Sin embargo, un miembro de familia puede
family member may assist you in doing so.                     ayudarle a hacerlo.


INSTRUCTIONS TO VOTER
Use ONLY a pencil or black or blue ink pen to mark your ballot.
This ballot will be read by a machine. For your vote to count, fill in oval completely.

  Correct                                Incorrect

1. To vote for candidates on this ballot, completely fill in the one oval to the right of the
candidate for each selection. Do not vote for more candidates than are to be elected to
any office.
2. To vote for any person whose name is not printed on the ballot, write the name
                                                                                                                   Sample   Muestra
of such person opposite the proper title of office in the column designated Write-In and
fill in the one oval on right of this area. Do NOT use pre-printed stickers. IF NOT DONE
PROPERLY YOUR WRITE-IN VOTE WILL BE VOID AND NOT COUNTED.
3. Do not mark this ballot in any other manner than above provided for and make no
erasures. If this ballot is torn, soiled, defaced or incorrectly marked, return it and obtain
another.

INSTRUCCIONES PARA LOS VOTANTES
Utilice sólo un lápiz o un bolígrafo de tinta negra o azul para marcar su papeleta.
Esta papeleta será leida por la maquina. Para que su voto cuenta llene completamente el
óvalo.


  Correcto                               Incorrecto

1. Para votar por los candidatos en esta papeleta, llene completamente el óvalo de la derecha del
candidato para cada selección. No vote por más candidatos que los que van a ser elegidos para ese
cargo.
2. Para votar por cualquier persona cuyo nombre no esta en la papeleta, escriba el
nombre de esa persona opuesto a la posición apropiada, en la columna designada como Por Escrito y llene
el óvalo a la derecha de esta área. NO use calcomanías pre-impresas. Si no se hace esto correctamente
su voto por esta persona será nulo y no contara. POR FAVOR PREGUNTE SI TIENE ALGUNA DUDA.
3. No marque esta papeleta de ninguna otra forma que no sea de la manera que se ha descrito en la parte
superior y no hagan ninguna tachadura o borrones. Si la papeleta se le ha desgarrado, esta sucia, borrosa
o marcado incorrectamente, devuélvala y obtenga otra.
                                                                                                                                      Case 3:20-cv-08267-ZNQ-TJB Document 33-1 Filed 01/25/21 Page 14 of 67 PageID: 415
          OFFICE TITLE                                       COLUMN                        COLUMN                            COLUMN                      COLUMN                                   COLUMN                           WRITE-IN
          TITULO DE OFICINA                                   COLUMNA          1           COLUMNA                2          COLUMNA         3             COLUMNA                     4          COLUMNA             5            POR ESCRITO
               Choice For President                                                                                                                                       Donald J. TRUMP
                      (Vote for One)
               Presidente de los Estados Unidos
                        (Vote Por Uno)
                                                                                                                                                         Camden County Regular Republican Party
                       Delegates
    See other side for list of candidates                                                                                                                  Delegates for Donald J. TRUMP
                        Delegados
      Vea el otro lado para la lista de candidatos

              United States Senator                                        We the People     Keep America Great New Jersey             Prevent CA East   Camden County Regular Republican Party        America First Republicans

                      (Vote for One)                              Natalie Lynn RIVERA                     Hirsh SINGH           Eugene T. ANAGNOS                       Rikin "Rik" MEHTA              Patricia FLANAGAN
                Senado de los Estados Unidos
                      (Vote Por Uno)
                                                                                                                                                         Camden County Regular Republican Party        America First Republicans
  Member of the House of Representatives
                                                                                                                                                                          Jeff VAN DREW              Robert W. PATTERSON
                      (Vote for One)
   Miembro de Casa de Representantes de los Estados Unidos
                       (Vote Por Uno)
                                                                                                                                                         Camden County Regular Republican Party
                       Surrogate                                                                                                                                        Kimberley STUART
                      (Vote for One)
                          Sustituto
                       (Vote Por Uno)
                                                                                                                                                         Camden County Regular Republican Party
Member of the Board of Chosen Freeholders                                                                                                                                    Nicole NANCE
            Unexpired Term (Vote for One)
      Miembro de la Junta de Legisladores del Condado
           Término No Vencido (Vote Por Uno)
                                                                                                                                                         Camden County Regular Republican Party
Members of the Board of Chosen Freeholders                                                                                                                                 Jennifer MOORE
                      (Vote for Two)
      Miembros de la Junta de Legisladores del Condado                                                                                                   Camden County Regular Republican Party
                       (Vote Por Dos)                                                                                                                                   Johanna SCHEETS
                                                                                                                                                         Camden County Regular Republican Party
     Members of Township Committee
                                                                                                                                                                     David CHIDDENTON
                      (Vote for Two)
               Miembros del Comité Municipal                                                                                                             Camden County Regular Republican Party
                      (Vote Por Dos)                                                                                                                           Thomas GIANGIULIO, JR.
                                                                                                                                                         Camden County Regular Republican Party
                                                                                                                                                                     David CHIDDENTON
                                                                                                                                                         Camden County Regular Republican Party
   Male Members of County Committee
                                                                                                                                                                         Anthony L. CLARK
                     (Vote for Four)
         Miembros Masculino del Comité del Condado                                                                                                       Camden County Regular Republican Party
                    (Vote Por Cuatro)                                                                                                                        William RICHARDSON, JR.
                                                                                                                                                         Camden County Regular Republican Party   Muestra
                                                                                                                                                                        Ralph FERGUSON
                                                                                           Sample                                                        Camden County Regular Republican Party
                                                                                                                                                                         Lynn FERGUSON
  Female Members of County Committee                                                                                                                     Camden County Regular Republican Party
                     (Vote for Four)                                                                                                                                          Mary L. SURA
         Miembros Femenino del Comité del Condado                                                                                                        Camden County Regular Republican Party
                    (Vote Por Cuatro)
                                                                                                                                                                      Terri CHIDDENTON

                                                                                                                                                             NO PETITION FILED



                                                             2020 REPUBLICAN PRIMARY ELECTION MAIL-IN BALLOT - WATERFORD TOWNSHIP
                                                                                                                                                                                                                                                 Case 3:20-cv-08267-ZNQ-TJB Document 33-1 Filed 01/25/21 Page 15 of 67 PageID: 416
OFFICIAL REPUBLICAN PRIMARY ELECTION                                                                                          OFFICE TITLE                                         COLUMN
                MAIL-IN BALLOT                                                                                                TITULO DE OFICINA                                     COLUMNA             4
       July 7, 2020 • 2nd Congressional District
                                                                                                                                                                                                     Camden County Regular Republican Party
           Papeleta Oficial Republicana Eleccion Primaria
                         Enviada Por Correo                                                                                                                                                            Delegates for Donald J. TRUMP

                 7 de Julio del 2020 • 2de Distrito Congresional                                                                                                                DELEGATES AT-LARGE    ALTERNATE DELEGATES AT-LARGE
                                                                                                                                                                           Christopher J. CHRISTIE               John V. AZZARITI
                              Waterford toWnship                                                                                                                                 Michael L. TESTA         Stavros G. CHRISTOUDIAS
                               CoUntY of CaMden                                                                                        Delegates
                                                                                                                        A Vote for the Delegates At-Large,                  Joseph PENNACCHIO                       Susan L. ENDERLY
                                                                                                                      Alternate Delegates At-Large, District                    Kristin CORRADO                       Janice M. FIELDS
                                                                                                                    Delegates and Alternate District Delegates
                                                                                                                                                                          Edward Bruce DI DONATO          Alexander C. MARKOWITS
                                                                                                                     to the Republican National Convention
                                JOSEPH RIPA, County Clerk                                                                is a vote for all candidates listed                        Henry Y. KUHL             Thomas P. RAGUKONIS
                               Secretario del Condado de Camden                                                                                                                 Edward S. WALSH                       Dorothy BURGER
                                                                                                                                           Delegados
                                                                                                                         Un voto a los delegados por acumulación,                  Afzal BARLAS                  Theresa A. WINEGAR
To protect your vote:                                         Para proteger su voto:                                 Delegados por acumulación alterno, Delegados por
                                                              ES ILEGAL PARA CUALQUIERA OTRA PERSONA EXCEPTO
IT IS AGAINST THE LAW FOR ANYONE EXCEPT YOU, THE              USTED EL VOTANTE, MARCAR O INSPECCIONAR ESTA             distritos y Delegados alterno por distritos a la         Joanne GILMORE                        Michael LAVERY
VOTER, TO MARK OR INSPECT THIS BALLOT. However, a             PAPELETA. Sin embargo, un miembro de familia puede      Convención Nacional Republicana es un voto a
                                                                                                                                                                                    Munr KAZMIR                 Darlene SHOTMEYER
family member may assist you in doing so.                     ayudarle a hacerlo.                                               todos los candidatos listados.

                                                                                                                                                                                DISTRICT DELEGATES     ALTERNATE DISTRICT DELEGATES
INSTRUCTIONS TO VOTER
                                                                                                                                                                                    Linda DUBOIS                   Cynthia BALLES
Use ONLY a pencil or black or blue ink pen to mark your ballot.
This ballot will be read by a machine. For your vote to count, fill in oval completely.                                                                                         Lynda PAGLIUGHI                             Keith DAVIS
                                                                                                                                                                                   Tom ROTONDI                           Robert PENZA

  Correct                                Incorrect                                                                                                                        VOTE OTHER SIDE OF BALLOT

1. To vote for candidates on this ballot, completely fill in the one oval to the right of the
candidate for each selection. Do not vote for more candidates than are to be elected to
any office.
2. To vote for any person whose name is not printed on the ballot, write the name
of such person opposite the proper title of office in the column designated Write-In and
fill in the one oval on right of this area. Do NOT use pre-printed stickers. IF NOT DONE
PROPERLY YOUR WRITE-IN VOTE WILL BE VOID AND NOT COUNTED.
3. Do not mark this ballot in any other manner than above provided for and make no
erasures. If this ballot is torn, soiled, defaced or incorrectly marked, return it and obtain
another.

INSTRUCCIONES PARA LOS VOTANTES
Utilice sólo un lápiz o un bolígrafo de tinta negra o azul para marcar su papeleta.
Esta papeleta será leida por la maquina. Para que su voto cuenta llene completamente el
óvalo.


  Correcto                               Incorrecto
                                                                                                                   Sample                                                             Muestra
1. Para votar por los candidatos en esta papeleta, llene completamente el óvalo de la derecha del
candidato para cada selección. No vote por más candidatos que los que van a ser elegidos para ese
cargo.
2. Para votar por cualquier persona cuyo nombre no esta en la papeleta, escriba el
nombre de esa persona opuesto a la posición apropiada, en la columna designada como Por Escrito y llene
el óvalo a la derecha de esta área. NO use calcomanías pre-impresas. Si no se hace esto correctamente
su voto por esta persona será nulo y no contara. POR FAVOR PREGUNTE SI TIENE ALGUNA DUDA.
3. No marque esta papeleta de ninguna otra forma que no sea de la manera que se ha descrito en la parte
superior y no hagan ninguna tachadura o borrones. Si la papeleta se le ha desgarrado, esta sucia, borrosa
o marcado incorrectamente, devuélvala y obtenga otra.
                                                                                                                                                                                                                                              Case 3:20-cv-08267-ZNQ-TJB Document 33-1 Filed 01/25/21 Page 16 of 67 PageID: 417
Case 3:20-cv-08267-ZNQ-TJB Document 33-1 Filed 01/25/21 Page 17 of 67 PageID: 418




                    CAPE MAY
                     COUNTY
                                                                                                                                                                                                                 IMPORTANT INSTRUCTIONS
                                                                                                                      DEMOCRATIC MAIL-IN BALLOT                                                                        TO VOTERS
                RITA MARIE FULGINITI                                                                                        OFFICIAL PRIMARY ELECTION
                         County Clerk                                                                                          TUESDAY, JULY 7, 2020                                                         Please read the following before marking   3. To vote for any person whose name is not
                                                                                                                                                                                                             your ballot:                                  printed on this ballot, go to the Personal Choice
To Protect Your Vote:                                                                                                          COUNTY OF CAPE MAY                                                                                                           Column and darken the oval by the words
IT IS AGAINST THE LAW FOR ANYONE EXCEPT YOU                                                                                  2ND CONGRESSIONAL DISTRICT                                              1. Use ONLY a pencil or ink pen (black or blue) to
THE VOTER TO MARK OR INSPECT THIS BALLOT.
                                                                                                                                                                                                                                                            “write-in” for the office in which you want to
However, a family member may assist you in doing so.                                                                                                                                                    mark your ballot. Do not use red ink.              write-in. Write the name of the person for
                                                                                                                                 1ST DELEGATE DISTRICT
                                                                                                                                                                                                                                                           which you wish to vote on the blank line.
                                                                                                                                BOROUGH OF AVALON                                                    2. Completely fill in oval to the right of each of
                                                                                                                                                                                                        your selections.
                                                                                                                                           DISTRICT 1                                                                                                   4. If you tear, deface or incorrectly mark this
                                                                                                                                                                                                             MARK BALLOT LIKE THIS:                        ballot, return it to the Cape May County Clerk
                                                                                                                                                                                                                                                           and obtain a new ballot.
                                                                                                                                                                                                                        JOHN Doe



                      OFFICE TITLE                                      DEMOCRATIC                                         DEMOCRATIC                         DEMOCRATIC                       DEMOCRATIC                                           DEMOCRATIC                               DEMOCRATIC                      PERSONAL
                                                                           COLUMN                                 1           COLUMN                      2      COLUMN                 3         COLUMN                                 4             COLUMN                            5      COLUMN                6       CHOICE

                 CHOICE FOR PRESIDENT                                     Joseph R. Biden                                    Bernie  Sanders
                    FOUR YEAR TERM       (VOTE FOR ONE)   CAPE MAY COUNTY REGULAR DEMOCRATIC ORGANIZATION                       B  ERNIE     OT   E
                                                                                                                                    2020. N M . U .   S                                                                                                                                                                                    WRITE-IN

                          DELEGATES TO THE                          OFFICIAL REGULAR                                   BERNIE 2020. NOT ME. US.
                        NATIONAL CONVENTION                      DEMOCRATIC ORGANIZATION
                    DISTRICT DELEGATES                                 JOHN J. BURZICHELLI, JR.                                AMIE BABISCHKIN
                           (1ST DELEGATE DISTRICT)
                                                                              LENORA KODYTEK                                    CRYSTAL HARRIS
                 A VOTE FOR CHOICE FOR PRESIDENT IS AN
                    AUTOMATIC VOTE FOR ALL AFFILIATED
                                                                          GINA MARIE SANTORE                              JEREMIAH SCHENERMAN
                  MALE AND FEMALE DISTRICT DELEGATES.

                            MEMBER OF THE
                  UNITED STATES SENATE                                Cory Booker                                          Lawrence Hamm
                      SIX YEAR TERM(VOTE FOR ONE)          APE
                                                          C M C   AY
                                                                   R   OUNTY
                                                                       D    O  EGULAR   EMOCRATIC   RGANIZATION                     N M. U . OT   E   S                                                                                                                                                                                    WRITE-IN
                            MEMBER OF THE
              HOUSE OF REPRESENTATIVES                    Brigid Callahan Harrison                                                                            Will Cunningham               Robert D. Turkavage                                            Amy Kennedy
                     TWO YEAR TERM      (VOTE FOR ONE)     APE
                                                          C M C   AY
                                                                   R   OUNTY
                                                                       D    O  EGULAR   EMOCRATIC   RGANIZATION                                                        RUE
                                                                                                                                                                       T  D  EMOCRATS          APE
                                                                                                                                                                                              C M C   AY
                                                                                                                                                                                                      ’ M  OUNTY S
                                                                                                                                                                                                           D         ODERATE   EMOCRAT       CAPE MAY COUNTY DEMOCRATIC COMMITTEE 2020               ALKING OR   OU                        WRITE-IN
                                                                                                                                                                                                                                                                                               John WFrancis
                                                                                                                                                                                                                                                                                                        F Y
                        COUNTY SHERIFF
                    THREE YEAR TERM      (VOTE FOR ONE)         No Petition Filed                                                                                                                                                                                                                                                          WRITE-IN
                         COUNTY CLERK
                     FIVE YEAR TERM     (VOTE FOR ONE)          No Petition Filed                                                                                                                                                                                                                                                          WRITE-IN
                             MEMBER OF THE
                    BOARD OF CHOSEN                        APE
                                                          C M C
                                                               Elizabeth
                                                                  AY
                                                                   R  D
                                                                         F. Casey
                                                                       OUNTYO  EGULAR   EMOCRATIC   RGANIZATION                                                                                                                                                                                                                            WRITE-IN
                      FREEHOLDERS
                    THREE YEAR TERM      (VOTE FOR TWO)
                                                           APE
                                                          C M C
                                                                 Brendan
                                                                  AY
                                                                   R  D
                                                                          Sciarra
                                                                       OUNTYO  EGULAR   EMOCRATIC   RGANIZATION                                                                                                                                                                                                                            WRITE-IN

                             MEMBER OF THE
                                                           APE
                                                          C M C
                                                               Ramona
                                                                  AY
                                                                   R  D
                                                                        Sanabria
                                                                       OUNTYO  EGULAR   EMOCRATIC   RGANIZATION                                                                                                                                                                                                                            WRITE-IN
                   COUNTY COMMITTEE
                    FOUR YEAR TERM       (VOTE FOR TWO)           Barbara  Wilson
                                                           APE
                                                          C M C   AY
                                                                   R  DOUNTYO  EGULAR   EMOCRATIC   RGANIZATION                                                                                                                                                                                                                            WRITE-IN




                                                                                                                                                                                                                                                                                                     © 2014 Dominion Voting Systems. All Rights Reserved
                                                                                                                                                                                                                                                                                                                                                           1
                                                                                                                                                                                                                                                                                                                                                               Case 3:20-cv-08267-ZNQ-TJB Document 33-1 Filed 01/25/21 Page 18 of 67 PageID: 419
                                                           OFFICE TITLE                        REPUBLICAN                     REPUBLICAN                      REPUBLICAN                      REPUBLICAN                                         REPUBLICAN                                     PERSONAL
                                                                                                  COLUMN                1        COLUMN                  2       COLUMN                3         COLUMN                         4                   COLUMN                                 5     CHOICE

                 RITA MARIE FULGINITI                   CHOICE FOR PRESIDENT                                                                                                                                                                      Donald J. Trump
                         County Clerk                     FOUR YEAR TERM     (VOTE FOR ONE)                                                                                                                                         CAPE MAY COUNTY REGULAR REPUBLICAN ORGANIZATION                           WRITE-IN
                                                             DELEGATES TO THE
To Protect Your Vote:                                      NATIONAL CONVENTION                                                                                                                                                             CAPE MAY COUNTY REGULAR
IT IS AGAINST THE LAW FOR ANYONE EXCEPT YOU                  (VOTE FOR ONE SLATE)                                                                                                                                                          REPUBLICAN ORGANIZATION
THE VOTER TO MARK OR INSPECT THIS BALLOT.
                                                          AT-LARGE-DELEGATES
However, a family member may assist you in doing so.                                                                                                                                                                                CHRISTOPHER J. CHRISTIE            HENRY Y. KUHL
                                                            A VOTE FOR A DELEGATE SLATE ON
                                                               COLUMN X IS AN AUTOMATIC                                                                                                                                                   MICHAEL L. TESTA          EDWARD S. WALSH
                                                                VOTE FOR ALL AFFILIATED                                                                                                                                                JOSEPH PENNACCHIO               AFZAL BARLAS
                                                                  DELEGATES AT LARGE,
                                                            ALTERNATE DELEGATES AT LARGE,                                                                                                                                                 KRISTIN CORRADO            JOANNE GILMORE
                                                                DISTRICT DELEGATES AND                                                                                                                                              EDWARD BRUCE DIDONATO               MUNR KAZMIR
    REPUBLICAN MAIL-IN BALLOT                                ALTERNATE DISTRICT DELEGATES
    OFFICIAL PRIMARY ELECTION
                                                                                                                                                                                                                                            JOHN V. AZZARITI ALEXANDER C. MARKOWITS
       TUESDAY, JULY 7, 2020                                                                                                                                                                                                        STAVROS G. CHRISTOUDIAS      DARLENE SHOTMEYER
       COUNTY OF CAPE MAY                                      ALTERNATE                                                                                                                                                                  SUSAN L. ENDERLY THOMAS P. RAGUKONIS
                                                          AT-LARGE-DELEGATES                                                                                                                                                                JANICE M. FIELDS        DOROTHY BURGER
     2ND CONGRESSIONAL DISTRICT
                                                                                                                                                                                                                                            MICHAEL LAVERY       THERESA A. WINEGAR
        BOROUGH OF AVALON
                   DISTRICT 1                              DISTRICT DELEGATES                                                                                                                                                                 LINDA DUBOIS               TOM ROTONDI
                                                            (2ND CONGRESSIONAL DISTRICT)
                                                                                                                                                                                                                                           LYNDA PAGLIUGHI
                                                               ALTERNATE                                                                                                                                                                   CYNTHIA BALLES               ROBERT PENZA
        IMPORTANT INSTRUCTIONS                             DISTRICT DELEGATES
              TO VOTERS                                     (2ND CONGRESSIONAL DISTRICT)                                                                                                                                                      KEITH DAVIS
                                                                 MEMBER OF THE
             Please read the following                  UNITED STATES SENATE                  Eugene T. Anagnos                                              Rikin “Rik”  Mehta              Patricia Flanagan                                    Hirsh Singh
                                                          SIX YEAR TERM    (VOTE FOR ONE)                REVENT
                                                                                                         P  CA E  AST                     E HE   EOPLE                    EPUBLICANS               MERICA   IRST   EPUBLICANS
                                                                                                                            Natalie Lynn WRivera
                                                                                                                                           T P                         MAGA R                      A   F  R                         CAPE MAY COUNTY REGULAR REPUBLICAN ORGANIZATION                           WRITE-IN
             before marking your ballot:
                                                                 MEMBER OF THE
        1.    Use ONLY a pencil or ink pen
                                                       HOUSE OF REPRESENTATIVES
                                                          TWO YEAR TERM     (VOTE FOR ONE)
                                                                                                                                                                                           Robert W.
                                                                                                                                                                                                   A
                                                                                                                                                                                                      Patterson
                                                                                                                                                                                                   MERICA
                                                                                                                                                                                                       F  R IRST   EPUBLICANS        APE
                                                                                                                                                                                                                                    C M C  AYR
                                                                                                                                                                                                                                               Jeff
                                                                                                                                                                                                                                                OUNTY
                                                                                                                                                                                                                                                  R     EGULAR
                                                                                                                                                                                                                                                     VanODrew    EPUBLICAN   RGANIZATION                      WRITE-IN
              (black or blue) to mark your
              ballot. Do not use red ink.                  COUNTY SHERIFF                                                                                                                                                                   Robert    A. Nolan
                                                         THREE YEAR TERM     (VOTE FOR ONE)                                                                                                                                          APE
                                                                                                                                                                                                                                    C M C  AYR  OUNTY
                                                                                                                                                                                                                                                  R     EGULAR
                                                                                                                                                                                                                                                         O       EPUBLICAN   RGANIZATION                      WRITE-IN
        2.    Completely fill in oval to                     COUNTY CLERK
              the right of each of your                   FIVE YEAR TERM    (VOTE FOR ONE)
                                                                                                                                                                                                                                       Rita
                                                                                                                                                                                                                                     APE
                                                                                                                                                                                                                                    C M C  AY
                                                                                                                                                                                                                                             Marie
                                                                                                                                                                                                                                             R  OUNTY
                                                                                                                                                                                                                                                  R
                                                                                                                                                                                                                                                      Fulginiti
                                                                                                                                                                                                                                                        EGULAR
                                                                                                                                                                                                                                                         O       EPUBLICAN   RGANIZATION                      WRITE-IN
              selections.
                                                                 MEMBER OF THE
                                                                                                                                                                                                                                     APE
                                                                                                                                                                                                                                    C M C  AYR    R
                                                                                                                                                                                                                                                   Will Morey
                                                                                                                                                                                                                                                OUNTY   EGULAR
                                                                                                                                                                                                                                                         O       EPUBLICAN   RGANIZATION                      WRITE-IN
         MARK BALLOT LIKE THIS:
                                                          BOARD OF CHOSEN
                                                            FREEHOLDERS                                                                                                                                                                   Jeffrey   L. Pierson
                     JOHN Doe                            THREE YEAR TERM     (VOTE FOR TWO)
                                                                                                                                                                                                                                     APE
                                                                                                                                                                                                                                    C M C  AYR  OUNTY
                                                                                                                                                                                                                                                  R     EGULAR
                                                                                                                                                                                                                                                         O       EPUBLICAN   RGANIZATION                      WRITE-IN

        3.    To vote for any person                             MEMBER OF THE
                                                                                                                                                                                                                                           Lynda     Pagliughi
                                                                                                                                                                                                                                     APE
                                                                                                                                                                                                                                    C M C  AYR  OUNTY
                                                                                                                                                                                                                                                  R     EGULAR
                                                                                                                                                                                                                                                         O       EPUBLICAN   RGANIZATION                      WRITE-IN
              whose name is not printed
              on this ballot, go to the                  COUNTY COMMITTEE
                                                         FOUR YEAR TERM      (VOTE FOR TWO)                                                                                                                                           William               Jr.
              Personal Choice Column                                                                                                                                                                                                 APE
                                                                                                                                                                                                                                    C M C  AYR  OUNTY   EGULAR   EPUBLICAN   RGANIZATION
                                                                                                                                                                                                                                                 G.R Burns,
                                                                                                                                                                                                                                                         O                                                    WRITE-IN
              and darken the oval by the
              words “write-in” for the
              office in which you want to
              write-in. Write the name of
              the person for which you
              wish to vote on the blank
              line.

        4.    If you tear, deface or
              incorrectly mark this ballot,
              return it to the Cape May
              County Clerk and obtain a
              new ballot.




                                                                                                                                                                                                                                                                        © 2014 Dominion Voting Systems. All Rights Reserved
                                                                                                                                                                                                                                                                                                                              1
                                                                                                                                                                                                                                                                                                                                  Case 3:20-cv-08267-ZNQ-TJB Document 33-1 Filed 01/25/21 Page 19 of 67 PageID: 420
Case 3:20-cv-08267-ZNQ-TJB Document 33-1 Filed 01/25/21 Page 20 of 67 PageID: 421




             CUMBERLAND
               COUNTY
            OFFICIAL PRIMARY ELECTION MAIL-IN BALLOT                                                                                                                                            OFFICE TITLE                                                                                                                                                                                                                                                          PERSONAL
             BOLETA DE VOTO POR CORREO OFICIAL DE LAS ELECCIONES PRIMARIAS
                                                                                                                                                                                                                                                Democratic
                                                                                                                                                                                                                                                           A                        Democratic
                                                                                                                                                                                                                                                                                              B                                   C
                                                                                                                                                                                                                                                                                                                         Democratic                       Democratic
                                                                                                                                                                                                                                                                                                                                                                    D                                  E
                                                                                                                                                                                                                                                                                                                                                                                              Democratic                       Democratic
                                                                                                                                                                                                                                                                                                                                                                                                                                           F                           CHOICE
                                                                                                                                                                                                   TITULO OFICIAL                                    Demócrata                            Demócrata                           Demócrata                        Demócrata                           Demócrata                       Demócrata                     SELECCIÓN PERSONAL
                                                        July 7, 2020
                                                                                                                                                                                                 Choice for President                 Cumberland County                    Bernie 2020.                                                                                                                                                                    Personal Choice
                                                    Township of Commercial                                                                                                                                                            Regular Democratic         1A        Not Me. Us.                      1B                                                                                                                                             Selección Personal
                                                                                                                                                                                                     Vote for One                                      Joseph R.                                 Bernie
                                     2nd Congressional District - Democratic                                                                                                                                                          Organization
                                                                                                                                                                                                 Escoger para Presidente
                                                         2° Distrito Congresional - Demócrata                                                                                                           Vote por Uno                                       BIDEN                     SANDERS
                                                                                                                                                                                               A VOTE FOR PRESIDENT IS A VOTE                                                                                                                                                                                                                              NO PERSONAL CHOICE FOR DELEGATES
                                                                                                                                                                                                 FOR ALL DISTRICT DELEGATES                  CUMBERLAND COUNTY REGULAR
                                                                                                                                                                                                                                              DEMOCRATIC ORGANIZATION                BERNIE 2020. NOT ME. US.
                                                                                                                                                                                                1st District Delegates to                                                                                                                                                                                                                                          NO HAY SELECCIÓN PERSONAL
                                                                                                                                                                                                                                      John J. BURZICHELLI, Jr.             Amie BABISCHKIN                                                                                                                                                                              PARA DELEGADOS
                                                                                                      CELESTE M. RILEY
                                                                                                                                                                                              Democratic National Convention          Lenora KODYTEK                       Crystal HARRIS
                                                                                                                                                                                               UN VOTO PARA PRESIDENTE ES UN VOTO     Gina Marie SANTORE                   Jeremiah SCHENERMAN
                                                                                                      Cumberland County Clerk                                                                 PARA TODOS LOS DELEGADOS DEL DISTRITO
                                                                                                           Secretaria del Condado
                                                                                                                                                                                                Delegados del Distrito 1° a la
                                                                                                                                                                                               Convención Nacional Demócrata
                                                                                                                                                                                                                                      Cumberland County                    Bernie 2020.                                                                                                                                                                    Personal Choice
              “IT IS AGAINST THE LAW FOR ANYONE                                                                            ATTENTION                                                            United States Senator                 Regular Democratic              2A   Not Me. Us.              2B
                                                                                                                                                                                                      Vote for One                                                                                                                                                                                                                                         Selección Personal
               EXCEPT YOU THE VOTER TO MARK OR                                                                         UNDECLARED VOTERS:                                                                                             Organization            Cory                          Lawrence
               INSPECT THIS BALLOT.”                                                                                         YOU MAY ONLY VOTE FOR                                             Senador de los Estados Unidos
                                                                                                                                                                                                        Vote por Uno                                 BOOKER                                  HAMM
                                                                                                                            CANDIDATES OF ONE PARTY.
              “ES ILEGAL QUE OTRA PERSONA                                                                                                                                                     House of Representatives Cumberland County                                                                         True Democrats                   Cumberland County’s                Walking for You                   Cumberland County                   Personal Choice
                                                                                                                                                                                                                       Regular Democratic
                                                                                                                                                                                                                                                                      3A                                                                     3C   Moderate Democrat
                                                                                                                                                                                                                                                                                                                                                                                3D                                3E   Democrats 2020
                                                                                                                                                                                                                                                                                                                                                                                                                                                      3F   Selección Personal
               EXCEPTO USTED, EL VOTANTE, MÁRQUE                                                                              ATENCION ELECTORES                                                     Vote for One
                                                                                                                                NO DECLARADOS:                                                                                        Organization          Brigid                                                                    Will                          Robert D.                              John                                Amy
               O INSPECCIONE ESTA BOLETA.”                                                                                                                                                      Cámara de Representantes
                                                                                                                          PUEDEN VOTAR SOLAMENTE POR LOS
                                                                                                                                                                                                        Vote por Uno                  CALLAHAN HARRISON                                                          CUNNINGHAM                           TURKAVAGE                                   FRANCIS                        KENNEDY
                                                                                                                           CANDIDATOS DE UN SOLO PARTIDO.

                                                                                                                                                                                                           Sheriff                    Cumberland County                                                                                                                                                                                                    Personal Choice
                                                                                                                                                                                                                                      Regular Democratic          4A                                                                                                                                                                                       Selección Personal
                                                    IMPORTANT INSTRUCTIONS TO VOTERS                                                                                                                    Vote for One                  Organization      Robert A.
                                                                                                                                                                                                          Alguacil
    Please read the following before marking your ballot:                                                                                                                                               Vote por Uno                                 AUSTINO                                                                                                                                                                                                                                   2
1.) Use ONLY a pencil or ink pen (black or blue) to mark your ballot. Do not use red ink.                                                                                                                                             Cumberland County                                                                                                                                                                Cumberland County                   Personal Choice
2.) Completely fill in the oval to the right of each of your selections.                                                                                                                                                              Regular Democratic              5A                                                                                                                                               Democrats 2020                 5F   Selección Personal
    MARK BALLOT LIKE THIS.                                                                                                                                                                                                            Organization           Carol                                                                                                                                                                             Jack
        John DOE
3.) To vote for any person whose name is not printed on this ballot fill in the oval across from the words “Personal Choice” next to that office.                                                   Board of Chosen                                   MUSSO                                                                                                                                                                   SURRENCY
    Write the name of the person for which you wish to vote on the blank line. You may not write-in any name that is printed on the ballot.                                                           Freeholders                     Cumberland County                                                                                                                                                                Cumberland County                   Personal Choice
                                                                                                                                                                                                                                      Regular Democratic              6A                                                                                                                                               Democrats 2020                 6F   Selección Personal
4.) After marking the ballot, place it in the designated envelope and seal; fill in ALL information requested on the certificate; then place such envelope containing                                  Vote for Three
    the ballot in self-addressed envelope; seal and mail. Your ballot must be received by the County Board of Elections before the closing of the polls.                                                                              Organization           Bruce                                                                                                                                                                         Donna
                                                                                                                                                                                                       Junta Directiva
5.) Be sure to sign in your own HANDWRITING on the CERTIFICATE.                                                                                                                                         (Freeholders)                                COOPER                                                                                                                                                                      PEARSON
                                                                                                                                                                                                        Vote por Tres                 Cumberland County                                                                                                                                                                Cumberland County                   Personal Choice
                                                                                                                                                                                                                                      Regular Democratic              7A                                                                                                                                               Democrats 2020                 7F   Selección Personal
                                                                                                                                                                                                                                      Organization         George                                                                                                                                                                          Tracey
                                        INSTRUCCIONES IMPORTANTES A LOS ELECTORES
    Favor lea lo siguiente antes de marcar la boleta:
                                                                                                                                                                                                                                            CASTELLINI                                                                                                                                                                 WELLS-HUGGINS
1.) Use SOLAMENTE un lápiz o bolígrafo (tinta negra o azul) para marcar su boleta. No use tinta roja.                                                                                                                                 Cumberland County                                                                                                                                                                                                    Personal Choice
                                                                                                                                                                                                Township Committee                    Regular Democratic              8A                                                                     8C
                                                                                                                                                                                                      Vote for One                                                                                                                                                                                                                                         Selección Personal
2.) Rellene el óvalo completamente a la derecha de cada una de sus selecciones.                                                                                                                                                       Organization         Fletcher                                                                LaRae
    MARQUE LA BOLETA DE ESTÁ FORMA.                                                                                                                                                             Comité de la Municipalidad
        John DOE                                                                                                                                                                                        Vote por Uno                             JAMISON                                                                          SMITH
3.) Para votar por cualquier persona cuyo nombre no está impreso en esta boleta, rellene el óvalo que aparece a lo largo de las palabras
    “Selección Personal”. En la línea en blanco, escriba el nombre de la persona por quien usted desea votar. No se puede escribir cualquier
    nombre ya impreso en la boleta.
4.) Después de haber marcado la boleta electoral colóquelo en el sobre designado y ciérrelo; complete TODA la información que se solicita en el certificado; después coloque el sobre
    que contiene la boleta en el sobre que ya tiene la dirección impresa, cierre y envíelo por correo. La Junta Electoral del Condado debe recibir esta boleta antes que cierren las urnas.
5.) Asegúrese de firmar EL CERTIFICADO CON SU PROPIO PUÑO Y LETRA.


Form 2 - Commercial
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   Case 3:20-cv-08267-ZNQ-TJB Document 33-1 Filed 01/25/21 Page 21 of 67 PageID: 422
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                                                                                                OFFICIAL PRIMARY ELECTION MAIL-IN BALLOT
                                                                                                 BOLETA DE VOTO POR CORREO OFICIAL DE LAS ELECCIONES PRIMARIAS
                                                                                                                                                                                                                                                                                                           OFFICE TITLE
                                                                                                                                                                                                                                                                                                                                                                                    Republican
                                                                                                                                                                                                                                                                                                                                                                                               A                                    Republican
                                                                                                                                                                                                                                                                                                                                                                                                                                              B                     Republican
                                                                                                                                                                                                                                                                                                                                                                                                                                                                              C                                   D
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Republican                         Republican
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      E                          PERSONAL
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  CHOICE
                                                                                                                                                                                                                                                                                                               TITULO OFICIAL
                                                                                                                                            July 7, 2020                                                                                                                                                                                                                              Republicano                                     Republicano                     Republicano                              Republicano                     Republicano                  SELECCIÓN PERSONAL
                                                                                                                                        Township of Commercial                                                                                                                                              Choice for President                                          Cumberland County
                                                                                                                                                                                                                                                                                                                                                                                                       1A                                                                                                                                                             Personal Choice
                                                                                                                                                                                                                                                                                                                 Vote for One                                             Regular Republican                                                                                                                                                                          Selección Personal
                                                                                                                          2nd Congressional District - Republican                                                                                                                                                                                                         Organization       Donald J.
                                                                                                                                                                                                                                                                                                             Escoger para Presidente
                                                                                                                                            2° Distrito Congresional - Republicano                                                                                                                                  Vote por Uno                                                          TRUMP
                                                                                                                                                                                                                                                                                                                                                                           CUMBERLAND COUNTY REGULAR
                                                                                                                                                                                                                                                                                                                                                                                                            2A                                                                                                                                                        NO PERSONAL CHOICE FOR DELEGATES
                                                                                                                                                                                                                                                                                          A VOTE HERE IS A VOTE FOR ALL DELEGATES AND ALTERNATES                              REPUBLICAN ORGANIZATION
                                                                                                                                                                                                                                                                                            Delegates-at-Large to Republican National Convention                          Christopher J. CHRISTIE Henry Y. KUHL
                                                                                                                                                                                                                                                                                                                                                                          Michael L. TESTA        Edward S. WALSH                                                                                                                                                             NO HAY SELECCIÓN PERSONAL
                                                                                                                                                                                                                                                                                       UN VOTO AQUI ES UN VOTO POR TODOS LOS DELEGADOS Y DELEGADOS ALTERNOS               Joseph PENNACCHIO Afzal BARLAS                                                                                                                                                                           PARA DELEGADOS
                                                                                                                                                                                          CELESTE M. RILEY                                                                                Delegados Generales a la Convención Nacional Republicana                        Kristin CORRADO         Joanne GILMORE
                                                                                                                                                                                          Cumberland County Clerk                                                                                                                                                         Edward Bruce DiDONATO Munr KAZMIR
                                                                                                                                                                                               Secretaria del Condado
                                                                                                                                                                                                                                                                                                                                                                          John V. AZZARITI        Alexander C. MARKOWITS
                                                                                                                                                                                                                                                                                                                                                                          Stavros G. CHRISTOUDIAS Darlene SHOTMEYER
                                                                                                                                                                                                                                                                                   Alternate Delegates-at-Large to Republican National Convention                         Susan L. ENDERLY        Thomas P. RAGUKONIS
                                                                                                                                                                                                                                                                                           Delegados Alternos Generales a la Convención Nacional Republicana
                                                                                                  “IT IS AGAINST THE LAW FOR ANYONE                                                                            ATTENTION                                                                                                                                                  Janice M. FIELDS
                                                                                                                                                                                                                                                                                                                                                                          Michael LAVERY
                                                                                                                                                                                                                                                                                                                                                                                                  Dorothy BURGER
                                                                                                                                                                                                                                                                                                                                                                                                  Theresa A. WINEGAR
                                                                                                   EXCEPT YOU THE VOTER TO MARK OR                                                                         UNDECLARED VOTERS:
                                                                                                   INSPECT THIS BALLOT.”                                                                                         YOU MAY ONLY VOTE FOR                                            2nd Congressional District Delegates to Republican National Convention                  Linda DUBOIS
                                                                                                                                                                                                                                                                                                                                                                          Lynda PAGLIUGHI
                                                                                                                                                                                                                CANDIDATES OF ONE PARTY.
                                                                                                                                                                                                                                                                                   Delegados del Distrito 2° Congresional a la Convención Nacional Republicana            Tom ROTONDI
                                                                                                  “ES ILEGAL QUE OTRA PERSONA                                                                                                                                                     2nd Congressional Alternate District Delegates to Republican National Convention        Cynthia BALLES
                                                                                                                                                                                                                                                                                                                                                                          Keith DAVIS
                                                                                                   EXCEPTO USTED, EL VOTANTE, MÁRQUE                                                                              ATENCION ELECTORES                                               Delegados Alternos del Distrito 2° Congresional a la Convención Nacional Republicana   Robert PENZA
                                                                                                   O INSPECCIONE ESTA BOLETA.”                                                                                      NO DECLARADOS:                                                                                                                                                                                                                                                                                                                                    Personal Choice
                                                                                                                                                                                                              PUEDEN VOTAR SOLAMENTE POR LOS                                                               United States Senator                                          Cumberland County
                                                                                                                                                                                                                                                                                                                                                                          Regular Republican
                                                                                                                                                                                                                                                                                                                                                                                                            3A             MAGA Republicans
                                                                                                                                                                                                                                                                                                                                                                                                                                                      3B   We The People
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          3C   America First
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               Republicans
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              3D   Prevent CA East
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 3E   Selección Personal
                                                                                                                                                                                                               CANDIDATOS DE UN SOLO PARTIDO.                                                                    Vote for One                                             Organization             Hirsh                                Rikin “Rik”                        Natalie Lynn                            Patricia                          Eugene T.
                                                                                                                                                                                                                                                                                                          Senador de los Estados Unidos
                                                                                                                                        IMPORTANT INSTRUCTIONS TO VOTERS
                                                                                                                                                                                                                                                                                                                    Vote por Uno                                                               SINGH                                      MEHTA                             RIVERA                     FLANAGAN                              ANAGNOS
                                                                                        Please read the following before marking your ballot:
                                                                                                                                                                                                                                                                                                        House of Representatives                                          Cumberland County
                                                                                                                                                                                                                                                                                                                                                                          Regular Republican                4A                                                                                 America First
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               Republicans
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              4D                                      Personal Choice
                                                                                                                                                                                                                                                                                                                Vote for One                                                                                                                                                                                                                                          Selección Personal
                                                                                    1.) Use ONLY a pencil or ink pen (black or blue) to mark your ballot. Do not use red ink.                                                                                                                                                                                             Organization               Jeff                                                                                                        Robert W.                                                                                16
                                                                                                                                                                                                                                                                                                           Cámara de Representantes
                                                                                    2.) Completely fill in the oval to the right of each of your selections.
                                                                                        MARK BALLOT LIKE THIS.
                                                                                                                                                                                                                                                                                                                    Vote por Uno                                                  VAN DREW                                                                                                          PATTERSON
                                                                                                                                                                                                                                                                                                                       Sheriff                                            Cumberland County                                                                                                                                                                           Personal Choice
                                                                                            John DOE
                                                                                                                                                                                                                                                                                                                                                                          Regular Republican                5A                                                                                                                                                        Selección Personal
                                                                                                                                                                                                                                                                                                                   Vote for One
                                                                                    3.) To vote for any person whose name is not printed on this ballot fill in the oval across from the words “Personal Choice” next to that office.                                                                                                                                     Organization         Michael
                                                                                        Write the name of the person for which you wish to vote on the blank line. You may not write-in any name that is printed on the ballot.                                                                                      Alguacil
                                                                                    4.) After marking the ballot, place it in the designated envelope and seal; fill in ALL information requested on the certificate; then place such envelope containing                                                           Vote por Uno                                                        DONATO
                                                                                        the ballot in self-addressed envelope; seal and mail. Your ballot must be received by the County Board of Elections before the closing of the polls.                                                                                                                              Cumberland County                                                                                                                                                                           Personal Choice
                                                                                    5.) Be sure to sign in your own HANDWRITING on the CERTIFICATE.                                                                                                                                                                                                                       Regular Republican                6A                                                                                                                                                        Selección Personal
                                                                                                                                                                                                                                                                                                                                                                          Organization         Victoria
                                                                                                                                                                                                                                                                                                                                                                                               LODS
                                                                                                                            INSTRUCCIONES IMPORTANTES A LOS ELECTORES                                                                                                                                Board of Chosen Freeholders                                          Cumberland County                                                                                                                                                                           Personal Choice
                                                                                                                                                                                                                                                                                                                  Vote for Three                                          Regular Republican                7A                                                                                                                                                        Selección Personal
                                                                                        Favor lea lo siguiente antes de marcar la boleta:                                                                                                                                                                                                                                 Organization          Darwin
                                                                                                                                                                                                                                                                                                                  Junta Directiva
                                                                                    1.) Use SOLAMENTE un lápiz o bolígrafo (tinta negra o azul) para marcar su boleta. No use tinta roja.
                                                                                    2.) Rellene el óvalo completamente a la derecha de cada una de sus selecciones.
                                                                                                                                                                                                                                                                                                                   (Freeholders)
                                                                                                                                                                                                                                                                                                                    Vote por Tres
                                                                                                                                                                                                                                                                                                                                                                               COOPER, Jr.
                                                                                        MARQUE LA BOLETA DE ESTÁ FORMA.                                                                                                                                                                                                                                                   Cumberland County                                                                                                                                                                           Personal Choice
                                                                                                                                                                                                                                                                                                                                                                          Regular Republican          8A
                                                                                            John DOE                                                                                                                                                                                                                                                                                                                                                                                                                                                                  Selección Personal
                                                                                    3.) Para votar por cualquier persona cuyo nombre no está impreso en esta boleta, rellene el óvalo que aparece a lo largo de las palabras
                                                                                                                                                                                                                                                                                                                                                                          Organization     Antonio F.
                                                                                        “Selección Personal”. En la línea en blanco, escriba el nombre de la persona por quien usted desea votar. No se puede escribir cualquier
                                                                                        nombre ya impreso en la boleta.
                                                                                                                                                                                                                                                                                                                                                                                       ROMERO
                                                                                    4.) Después de haber marcado la boleta electoral colóquelo en el sobre designado y ciérrelo; complete TODA la información que se solicita en el certificado; después coloque el sobre                                   Township Committee                                            Cumberland County
                                                                                                                                                                                                                                                                                                                                                                          Regular Republican           9A                                                                                                                                                             Personal Choice
                                                                                        que contiene la boleta en el sobre que ya tiene la dirección impresa, cierre y envíelo por correo. La Junta Electoral del Condado debe recibir esta boleta antes que cierren las urnas.                                  Vote for One                                                                                                                                                                                                                                         Selección Personal
                                                                                    5.) Asegúrese de firmar EL CERTIFICADO CON SU PROPIO PUÑO Y LETRA.
                                                                                                                                                                                                                                                                                                                                                                          Organization       Ronald L.
                                                                                                                                                                                                                                                                                                           Comité de la Municipalidad
                                                                                                                                                                                                                                                                                                                    Vote por Uno                                               SUTTON, Sr.
                                                                                    Form 2 - Commercial
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                         ESSEX
                        COUNTY
                                                                                                                                                                                                                                                                               2 Township of Bloomfield W1 CD10
                                                                                                                                            Official Ballot
                                                                                                       Primary Election, Tuesday, July 7th, 2020, Essex County, New Jersey                                                                                                                             Democratic
                     Christopher J. Durkin
                                Essex County Clerk                                                                                                   Papeleta Oficial
                          Secretario del Condado de Essex                                                                        Elección Primaria, el 7 de Julio de 2020

                                                                                                                          For Member of                                                                                                                                             For Board of
                                                Choice for President and Delegates to the Democratic    For United States the House of                                                                                                                                                Chosen               For Township
                                                                                                             Senator      Representatives For County Clerk                                                      For Members of the                                                  Freeholders               Council
                         Choice for                             National Convention                                                                                                                    Board of Chosen Freeholders At Large                                       5th District               1st Ward
                                                              15th Delegate District                    Six Year Term 10th District Five Year Term
                         President              A vote for President is an automatic vote for all       Vote for One Two Year Term Vote for One                                                                    Three Year Term                                                3 Year Term              3 Year Term
                      Vote for One                     affiliated delegates and alternates                            Vote for One                                                                                  Vote for Four                                                 Vote for One             Vote for One
        Offices                                                                                      Para Senador de Para Miembro de Para Secretario
        Cargos        Selección para           Selección para Presidente y Delegados a la Convención   los Estados                    del Condado                                                              Para Miembros del                                                  Para Consejo de           Para Consejo
  v                     Presidente                             Nacional Democrática                      Unidos         la Casa de    Término de                                                    Consejo de Propietarios Electos En General                                     Propietarios              Municipal
                      Vote por Uno                          Distrito de Delegados 15                                  Representantes  Cinco  Años                                                                                                                                     Electos               Barrio 1
                                                                                                     Término de Seis                                       Vote por Uno                                        Término de Tres Años                                                                       Término de 3
                                               Un voto por Presidente es un voto automático por              Años                 Distrito 10                                                                    Vote por Cuatro                                                   Distrito 5                 Años
                                                     los delegados y alternativos afiliados              Vote por Uno             Término de                                                                                                                                      Término de 3            Vote por Uno
                                                                                                                                   Dos Años                                                                                                                                           Años
                                                                                                                                 Vote por Uno                                                                                                                                     Vote por Uno

                        Joseph R.                            Biden for President                              Cory                Donald M.                Christopher J.            Patricia                Rufus I.             Brendan W.                Romaine                 Carlos M.                  Jenny
                                                Delegates: Luis Quintana, Wartyna Nina Davis,
   Democratic            BIDEN                   M. Teresa Ruiz, Anibal Ramos, Charles Hall.              BOOKER                   PAYNE, Jr.               DURKIN                 SEBOLD                JOHNSON                      GILL                GRAHAM                  POMARES MUNDELL
   Democrático       Essex County Democratic                                                            Essex County Democratic Essex County Democratic Essex County Democratic Essex County Democratic Essex County Democratic Essex County Democratic Essex County Democratic Essex County Democratic Essex County Democratic
                          Committee, Inc.           Alternate Delegate: Miriam Tensuan                       Committee, Inc.         Committee, Inc.         Committee, Inc.         Committee, Inc.         Committee, Inc.         Committee, Inc.         Committee, Inc.         Committee, Inc.         Committee, Inc.
v A                     1A    4                                                                            2A   4                  3A    4                   4A   4                5A    4                  6A   4                  7A   4                  8A   4                  9A    4                10A    4
                                                                                                           Lawrence                                                                    Sabre                Anthony                  Simone
   Democratic                                                                                               HAMM                                                                BURROUGHS                     DIAZ               JELKS-BANDISON
   Democrático                                                                                               Not Me. Us.                                                             Not Me. Us.              Not Me. Us.             Not Me. Us.
v B                                                                                                        2B   4                                                                  5B    4                  6B   4                  7B   4
                           Bernie                        Bernie 2020. Not Me. Us.                                                 Eugene D.
                                                Delegates: Sara Cullinane, Nyle Fort, Ted Glick,                                    MAZO
   Democratic         SANDERS                  Nawoo Kim, Analilia Mejia, Robert Earl Rogers, Jr.                               Essex County Progressive
   Democrático            Bernie 2020.                                                                                          Democratic Committee,
                          Not Me. Us.                   Alternate Delegate:Lisa Zeiger
v C                                                                                                                                      Inc.
                        1C    4                                                                                                    3C    4
                     Uncommitted Delegates: Asia Norton, John Smith, Jean Jackson                                                    John J.
   Democratic                                                Harris, Charles Breslin                                                FLORA
   Democrático                                                                                                                   United By Our Future
v D                    1D     4                                                                                                   3D     4

 Personal Choice
Selección Personal     personal choice                                                                    personal choice          personal choice           personal choice       personal choice         personal choice         personal choice          personal choice         personal choice         personal choice
v                    selección personal                                                                 selección personal       selección personal        selección personal    selección personal      selección personal      selección personal       selección personal      selección personal      selección personal

                              4                                                                                 4                        4                        4                      4                       4                       4                       4                        4                       4
                                                                                               PLEASE SEE INSTRUCTIONS ON THE BACK OF THIS BALLOT. I
202006021443
                                                                                               VEA EL REVERSO DE ESTA PAPELETA PARA INSTRUCCIONES. I
                                                                                                                                                                                                                                                                                                                                  Case 3:20-cv-08267-ZNQ-TJB Document 33-1 Filed 01/25/21 Page 24 of 67 PageID: 425
                                                                                                                                                                        For Member of the                                                                                                                   For Board of
                                                                                                                                                                            House of                                                                                                                     Chosen Freeholders     For Township
                                                                                                                                                    For United States    Representatives        For County Clerk                                  For Members of the                                                               Council                   For Members of
                                                                                                                                                        Senator          10th District                                                                                                                     5th District          1st Ward
                             Choice for                                 For Delegates to the Republican National Convention                                                                    Five Year Term                            Board of Chosen Freeholders At Large                              3 Year Term                                    the County Committee
                             President                                                  10th District                                               Six Year Term       Two Year Term           Vote for One                                       Three Year Term                                         Vote for One        3 Year Term                   Four Year Term
                           Vote for One                             Vote for one group of affiliated delegates and alternates                       Vote for One         Vote for One                                                                                                                                          Vote for One
               Offices                                                                                                                                                                        Secretario del                                        Vote for Four                                         Para Consejo de                                     Vote for Two
               Cargos      Selección para                              Para Delegados a la Convención Nacional Republicana                        Para Senador de los Para Miembro de la Para Condado                                                                                                      Propietarios         Para Consejo
                                                                                                                                                    Estados Unidos         Casa de                                                              Para Miembros del                                                                Municipal                  Para Miembros del
      v                      Presidente                                                 Distrito 10                                                                                        Término de                                Consejo de Propietarios Electos En General                               Electos                                       Comité del Condado
                          Vote por Uno                              Vote por un grupo de delegados y alternativos afiliados                        Término de Seis      Representantes     Cinco Años                                                                                                      Distrito 5            Barrio 1
                                                                                                                                                        Años              Distrito 10           Vote por Uno                                    Término de Tres Años                                                           Término de 3            Término de Cuatro Años
                                                                                                                                                    Vote por Uno        Término de Dos                                                                                                                    Término de 3             Años
                                                                                                                                                                                                                                                  Vote por Cuatro                                             Años                                         Vote por Dos
                                                                                                                                                                                                                                                                                                                                                                                             Republican




                                                                                                                                                                             Años                                                                                                                         Vote por Uno         Vote por Uno
                                                                                                                                                                         Vote por Uno
                                               Delegates At-Large: Christopher J. Christie, Michael L. Testa, Joseph Pennacchio, Kristin Corrado, Edward
                           Donald J.           Bruce DiDonato, Henry Y. Kuhl, Edward S. Walsh, Afzal Barlas, Joanne Gilmore, Munr Kazmir. Alternate Rikin "Rik"                                   Kristina            Monique                  Gynise            Bernarda             Alexandra
                                               Delegates At-Large: John V. Azzariti, Stavros G. Christoudias, Susan L. Enderly, Janice M. Fields, Michael                                                                                                                                                  No Petition         No Petition          No Petition          No Petition
                           TRUMP                                                                                                                          MEHTA                                CHRISTOFOROU HEADEN                          GOTTO              QUEZADA               CAMPISI                 Filed               Filed                Filed                Filed
      Republican          Essex Republican     Lavery, Alexander C. Markowits, Darlene Shotmeyer, Thomas P. Ragukonis, Dorothy Burger, Theresa A. Essex Republican                              Essex Republican    Essex Republican    Essex Republican    Essex Republican    Essex Republican
      Republicano        Party Organization,   Winegar. District Delegates: Mary Devon O'Brien, Douglas Freeman, Kamei Harris. Alternate District Party Organization,                          Party Organization, Party Organization, Party Organization, Party Organization, Party Organization,
   v A                           Inc.          Delegates: Daniel Beckelman, Shane Berger, Lawrence DiMauro                                                  Inc.                                       Inc.                Inc.                Inc.                Inc.                Inc.
                          1A    4              2A     4                                                                                             3A    4                                     5A    4             6A     4              7A     4             8A     4             9A     4
                                                                                                                                                         Hirsh
                                                                                                                                                      SINGH
      Republican                                                                                                                                   Keep America Great
      Republicano                                                                                                                                      New Jersey
   v B                                                                                                                                              3B
                                                                                                                                                                                                                                                                                                                                                                                              2 Bloomfield 1-10




                                                                                                                                                          4
                                                                                                                                                     Eugene T.
                                                                                                                                                   ANAGNOS
      Republican                                                                                                                                    Prevent CA East
      Republicano
   v C                                                                                                                                              3C    4
                                                                                                                                                   Natalie Lynn
                                                                                                                                                      RIVERA
      Republican                                                                                                                                     We The People
      Republicano
   v D                                                                                                                                              3D    4
                                                                                                                                                       Patricia
                                                                                                                                                   FLANAGAN
      Republican                                                                                                                                      America First
      Republicano                                                                                                                                      Republicans
   v E                                                                                                                                              3E    4
                                                                                                                                                                            Jennifer
                                                                                                                                                                          ZINONE
      Republican                                                                                                                                                        Republicans of Essex
      Republicano                                                                                                                                                            County
   v F                                                                                                                                                                   4F     4

    Personal Choice
   Selección Personal      personal choice       personal choice                                                                                     personal choice      personal choice        personal choice      personal choice       personal choice      personal choice      personal choice      personal choice      personal choice      personal choice      personal choice
   v                     selección personal    selección personal                                                                                  selección personal   selección personal     selección personal   selección personal    selección personal   selección personal   selección personal   selección personal   selección personal   selección personal   selección personal

                                4                     4                                                                                                   4                     4                     4                    4                     4                    4                    4                    4                    4                    4                    4
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                                                                                                                     INSTRUCTIONS ON BACK. INSTRUCCIONES AL REVERSO I
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Case 3:20-cv-08267-ZNQ-TJB Document 33-1 Filed 01/25/21 Page 26 of 67 PageID: 427




               GLOUCESTER
                 COUNTY
                                                                                                                 OFFICIAL PRIMARY ELECTION BALLOT
                                                                                                   TUESDAY, JULY 7, 2020 • BOROUGH OFFICIALOF CLAYTON
                                                                                                                                                    PRIMARY–ELECTION BALLOT
                                                                                                                                                               DISTRICTS 1-6
                                                                                                                            TUESDAY, JULY 7, 2020 • TOWNSHIP OF WOOLWICH – DISTRICTS 1-8
                                                                                                                            PRIMARY
                                                                                                  OFFICIAL REPUBLICAN PARTY OFFICIAL    BALLOT
                                                                                                                                     REPUBLICAN PARTY PRIMARY BALLOT
                                                                                                                                                                                                                                                                                                                                                                     W                               ICER)ITE-IN (PERSONAL CHOICE)                                                                                      JAMES N. HOGAN
      OFFICE TITLE                       REPUBLICAN COLUMN B                                    OFFICE
                                                                                 REPUBLICAN COLUM N C TITLEREPUBLIRCEA
                                                                                                                     PUNBLCICOALNUCM
                                                                                                                                   OLN
                                                                                                                                     UMDN B                                                     RREEP
                                                                                                                                                                                                    PUUBB
                                                                                                                                                                                                        LILCIACNACN UM
                                                                                                                                                                                                                  OLCONLUC MNREEPUBLICRAENPCUOB
                                                                                                                                                                                                                                              LULMIC
                                                                                                                                                                                                                                                   NADN CO
                                                                                                                                                                                                                                                         RELPU
                                                                                                                                                                                                                                                             UMBLN
                                                                                                                                                                                                                                                                 ICAFN COLUR
                                                                                                                                                                                                                                                                           MENPEUBLRIC
                                                                                                                                                                                                                                                                                     EPAUN
                                                                                                                                                                                                                                                                                         BLC AN
                                                                                                                                                                                                                                                                                           ICO LUCOMLUNMGN F                                                         RER
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                                                                                                                                                                                                                                                                                                                                                                                 AN(P
                                                                                                                                                                                                                                                                                                                                                                                    CO
                                                                                                                                                                                                                                                                                                                                                                                     ERLSUOMNNALGCHOW
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   GLOUCESTER COUNTY CLERK
                                                                                                                                                 DONALD J.
                                                                                                                                                                                                                                                                                                                                                                               COLUMN H WRITE-INCOLUMN H
                                                                                                          CHOICE FOR PRESIDENT
                                      DONALD J.                                                                                                  TRUMP                                  B5                                                                                                                                                                          WRITE-IN                       (PERSONAL CHOICE)            H5
 CHOICE FOR PRESIDENT                                                                                        VOTE FOR ONE                        REPUBLICAN
                                                                                                                                                                                                                                                                                                                                                                                                   USE KEYBOARD BELOW
                                      TRUMP                             B5                                                                                                                                                                                                                                                                                          (PERSONAL CHOICE)                                      H5                                        This is a PRIMARY ELECTION. Therefore, you are confined legally to a choice of candidates
    VOTE FOR ONE                      REPUBLICAN
                                                                                                                                                 SLATE NO. 1                            B6                                                                                                                                                                          USE KEYBOARD BELOW
                                                                                                                                                 REGULAR ORGANIZATION REPUBLICAN                                                                                                                                                                                                                                                                                     for nomination within your own Political Party. The machine is so adjusted as to comply with
                                      SLATE NO. 1                       B6                                                                                                                                                   OFFICIAL PRIMARY ELECTION BALLOT                                                                                                                                                                                                        the law and will not permit you to vote in the Primary of more than ONE Political Party.
                                      REGULAR ORGANIZATION REPUBLICAN
                                                                                                                                                                                                              TUESDAY, JULY 7, 2020 • TOWNSHIP OF WOOLWICH – DISTRICTS 1-8
                                                                                                              PRESIDENTIAL                                                                                                                                                                                                                                                                                                                                                                  INSTRUCTIONS FOR VOTING
                                                                                                                PLEDGED
                                                                                                                                                                                                              OFFICIAL REPUBLICAN PARTY PRIMARY BALLOT                                                                                                                                                                                                               1. Press the button        to the right of the candidate            choice;  a green "X" will appear
                                                                                                               DELEGATES                                                                                                                                                                                                                                                                                                WRITE-IN (PERSONAL CHOICE)                                                                         JAMES of yourN.  HOGAN
                                                                                                              OFFICE
                                                                                                           VOTE       TITLE
                                                                                                                FOR ONE SLATE                        REPUBLICAN COLUMN B                           REPUBLICAN COLUMN C            REPUBLICAN COLUMN D                          REPUBLICAN COLUMN E                      REPUBLICAN COLUMN F                              REPUBLICAN COLUMN G                                                                         next to your selection.
                                                                                                                                                                                                                                                                                                                                                                                                                               COLUMN H                                                                        GLOUCESTER               COUNTY CLERK
     PRESIDENTIAL                                                                                         CHOICE FOR PRESIDENT                    DONALD J.                                                                                                                                                                                                                                                            WRITE-IN                                      2. To change a selection, press the button            again. The green "X" will disappear and you
       PLEDGED                                                                                                                                    TRUMP                                   B5                                                                                                                                                                                                                           (PERSONAL CHOICE)        H5
                                                                                                             VOTE FOR ONE                         REPUBLICAN                                                                                                                                                                                                                                                                                                         may make a new selection.
                                                                                                                                                                                                                                                                                                                                                                                                                       USE KEYBOARD BELOW
      DELEGATES                                                                                                                                                                                                                                                                                                                                                                                                                                                       This is a PRIMARY ELECTION. Therefore, you are confined legally to a choice of candidates
                                                                                                                                                  SLATE NO. 1                             B6
                                                                                                                                                                                                                                                                                                                                                                                                                                                                     3. If you wish to cast a WRITE-IN (Personal Choice) vote, go to the WRITE-IN (Personal
  VOTE FOR ONE SLATE                                                                                                                              REGULAR ORGANIZATION REPUBLICAN                                                                                                                                                                                                                                                                                     for nomination
                                                                                                                                                                                                                                                                                                                                                                                                                                                                     Choice)   sectionwithin  your own
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        and press        Political Party.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   the button        nextThe
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           to WRITE-IN     so adjusted
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               machine is(Personal   Choice)
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        as toacross     with
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                complyfrom
                                                                                                                                                                                                                                                                                                                                                                                                                                                                     the   law and
                                                                                                                                                                                                                                                                                                                                                                                                                                                                      the office you    not permit
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   willwish to write-in.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   you toTovote
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              change
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 in theaPrimary  of more
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          selection, pressthan
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            the ONE   Political
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 buttonx     i again.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                Party. The
                                                                                                          UNITED STATES SENATE                   RIKIN “RIK”                                   EUGENE T.                      PATRICIA                                     NATALIE LYNN                             HIRSH                                                                                              WRITE-IN
                                                                                                                                                 MEHTA                                 B13 ANAGNOS                    C13 FLANAGAN                                  D13 RIVERA                              E13 SINGH                                         F13                                                      (PERSONAL CHOICE)      H13                    green "X" will disappear and you may make a new selection. WARNING-When choosing
                                                                                                              VOTE FOR ONE                       REGULAR ORGANIZATION REPUBLICAN           PREVENT CA EAST                AMERICA FIRST REPUBLICANS                     WE THE PEOPLE                           KEEP AMERICA GREAT NEW JERSEY
                                                                                                                                                                                                                                                                                                                                                                                                                       USE KEYBOARD BELOW
                                                                                                                   MEMBER OF                     JEFF                                                                         ROBERT W.                                                                                                                                                                                WRITE-IN                                      a WRITE-IN (Personal     INSTRUCTIONS
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    Choice), whatever officeFOR      you chooseVOTING  to write-in for, that is the
                                                                                                              PRESIDENTIAL
                                                                                                        HOUSE OF REPRESENTATIVES                                                       B14                                                                          D14                                                                                                                                                (PERSONAL CHOICE)      H14
                                                                                                                                                 VAN     DREW
                                                                                                                                                 REGULAR ORGANIZATION REPUBLICAN
                                                                                                                                                                                                                              PATTERSON
                                                                                                                                                                                                                              AMERICA FIRST REPUBLICANS                                                                                                                                                                                                              only     office                                     counted.    Any    improperly             vote              be
                                                                                                                PLEDGED
                                                                                                             VOTE  FOR ONE                                                                                                                                                                                                                                                                                             USE KEYBOARD BELOW                             1. Press    thetobutton
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           which thetovote
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         the right
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               will of
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    bethe  candidate     of your  choice; cast
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             a green  "X"will
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           will not
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                appear
                                                                                                               DELEGATES                         GEORGE W.                                                                                                                                                                                                                                                             WRITE-IN                                      counted.       Please   read   the  face  of  the   ballot carefully     before    taking this option. Using
                                                                                                          VOTE FOR ONE SLATE                     SHIVERY,          JR.                 B15                                                                                                                                                                                                                             (PERSONAL CHOICE)      H15                     next to your selection.
                                                                                                                                                 REGULAR ORGANIZATION REPUBLICAN
                                                                                                                                                                                                                                                                                                                                                                                                                       USE KEYBOARD BELOW                            the   alphabetical                         enter                       person        your                        at
                                                                                                               FREEHOLDER                                                                                                                                                                                                                                                                                              WRITE-IN
                                                                                                                                                                                                                                                                                                                                                                                                                                                                      2. To   change a selection,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            keyboard press
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       below,the   button
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        the nameagain.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    of theThe   greenof"X"   willchoice,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  disappear
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         one and
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              letteryou
 UNITED STATES SENATE                 RIKIN “RIK”                             EUGENE T.                                  PATRICIA CHRIS                                                B16
                                                                                                                                                                                             NATALIE LYNN                                     HIRSH                                                                                                                 WRITE-IN                                                                  H16                        time.  To make         space between the first and middle name or initial and the last name,
                                                                                                                                                                                                                                                                                                                                                                                                                       (PERSONAL CHOICE)                             amay    make     a newaselection.
                                      MEHTA                             B13 ANAGNOS                                FOR THREE
                                                                                                              VOTEC13             REGULAR ORGANIZATION REPUBLICAN
                                                                                                                         FLANAGANKONAWEL                                            D13 RIVERA                                   E13 SINGH                                                    F13                                                                   (PERSONAL CHOICE)                                     H13
                                                                                                                                                                                                                                                                                                                                                                                                                       USE KEYBOARD BELOW
     VOTE FOR ONE                     REGULAR ORGANIZATION REPUBLICAN       PREVENT CA EAST                                     AMERICA FIRST REPUBLICANS                               WE THE PEOPLE                                KEEP AMERICA GREAT NEW JERSEY                                                                                                                                                                                                   use                  pointing     the right on    the keyboard.          make                    use the    arrow
                                                                                                                                                  NICK                                                                                                                                                                                                              USE KEYBOARD BELOW                                 WRITE-IN                                       3. If the
                                                                                                                                                                                                                                                                                                                                                                                                                                                                             youarrow
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  wish to    cast atoWRITE-IN      (Personal    Choice)Tovote,    go atocorrection,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           the WRITE-IN     (Personal
          MEMBER OF                   JEFF                                                                                      ROBERT W. D ESILVIO                                    B17                                                                                                                                                                                                                             (PERSONAL CHOICE)      H17                    pointing        the left. The  name                    appear    in the display    to the left        keyboard.
                                                                                                                                          REGULAR ORGANIZATION REPUBLICAN                                                                                                                                                                                           WRITE-IN                                           USE KEYBOARD BELOW                             Choice) to  section   and  press  theyou
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             button
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                enter willnext   to WRITE-IN      (Personal      Choice)
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    of theacross   from
HOUSE OF REPRESENTATIVES              VAN     DREW                      B14                                                     PATTERSON                                           D14                                                                                                                                                                             (PERSONAL CHOICE)                                   H14
                                                                                                                                                                                                                                                                                                                                                                                                                       WRITE-IN                                      When                    entered   the whole                                               enter button     on the
                                      REGULAR ORGANIZATION REPUBLICAN                                                           AMERICA FIRST REPUBLICANS                                                                                                                                                                                                                                                                                                             the office
                                                                                                                                                                                                                                                                                                                                                                                                                                                                               you youhavewish   to write-in.  To change
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     name, aproof
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                selection,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      it, thenpress
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 pressthethebuttonx     i again.    The
     VOTE FOR ONE                                                                                                                 NO  PETITION
                                                                                                                                  RIKIN   “RIK”         FILED                                   EUGENE T.                      PATRICIA                                     NATALIE LYNN                             HIRSH
                                                                                                                                                                                                                                                                                                                                                                  USE KEYBOARD BELOW                                   (PERSONAL CHOICE)      H18
                                                                                                          UNITED STATES
                                                                                                          TOWNSHIP      SENATE
                                                                                                                   COMMITTEE                                                                                                                                                                                                                                                                                            WRITE-IN
                                                                                                                                                                                                                                                                                                                                                                                                                       USE KEYBOARD BELOW                            keyboard.             choice is recorded    and removed             the display.
                                      GEORGE W.                                                                                   MEHTA                                                 B13 ANAGNOS                    C13 FLANAGAN                                  D13 RIVERA                              E13 SINGH                                        F13 WRITE-IN                                             (PERSONAL CHOICE)       H13                    green "X" Your will disappear   and you may       make a newfromselection.    WARNING-When choosing
                                                                                                             VOTE
                                                                                                              VOTEFOR  ONE
                                                                                                                   FORTWO         REGULAR ORGANIZATION REPUBLICAN                           PREVENT CA EAST                AMERICA FIRST REPUBLICANS                     WE THE PEOPLE                           KEEP AMERICA GREAT NEW JERSEY                                                                         WRITE-IN
                                                                        B15                                                                                                                                                                                                                                                                                                                                            USE KEYBOARD BELOW
                                                                                                                                                                                                                                                                                                                                                                                                                         H15                                                    ALL    selections  have   been   made,    press  the   RED    CAST     VOTE     BUTTON     located    in
                                      SHIVERY,          JR.                                                                       NO                                                                                                                                                                                                                                (PERSONAL CHOICE)                                  (PERSONAL CHOICE)      H19                    4.a After
                                                                                                                                                                                                                                                                                                                                                                                                                                                                          WRITE-IN (Personal Choice), whatever office you choose to write-in for, that is the
                                      REGULAR ORGANIZATION REPUBLICAN                                           MEMBER OF         JEFFPETITION FILED                                                                           ROBERT W.                                                                                                                                                                                WRITE-IN
                                                                                                                                                                                        B14                                                                          D14                                                                                            USE KEYBOARD BELOW                                 USE KEYBOARD BELOW      H14
                                                                                                         HOUSE OF REPRESENTATIVES VAN DREW                                                                                     PATTERSON                                                                                                                                                                               (PERSONAL CHOICE)                             the   lower                                                       of your
                                                                                                                                  REGULAR ORGANIZATION REPUBLICAN                                                              AMERICA FIRST REPUBLICANS                                                                                                                                                                                                              only    office
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   righttocorner.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           whichThis
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   the electronically
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        vote will be records
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          counted. all Any   improperly
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                votes. cast vote will not be
                                      CHRIS                                                                     VOTE FOR ONE                                                                                                                                                                                                                                        WRITE-IN                                           USE KEYBOARD BELOW
      FREEHOLDER                                                                                                                                  GEORGE W.                                                                                                                                                                                                                                                                                                                                    and exit  the voting   booth.
                                      KONAWEL                           B16                                                                                                                                                                                                                                                                                         (PERSONAL CHOICE)                                  WRITE-IN
                                                                                                                                                                                                                                                                                                                                                                                                                        H16                                          5.counted.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Part the Please
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     curtainsread    the face of the ballot carefully before taking this option. Using
     VOTE FOR THREE                   REGULAR ORGANIZATION REPUBLICAN                                                                             SHIVERY,          JR.                 B15                                                                                                                                                                                                                            (PERSONAL CHOICE)       H15
                                                                                                                                                  REGULAR ORGANIZATION REPUBLICAN                                                                                                                                                                                   USE KEYBOARD BELOW                                 USE KEYBOARD BELOW                         the alphabetical keyboard below, enter the name of the person of your choice, one letter at
                                      NICK                                                                      FREEHOLDER                        CHRIS                                                                                                                                                                                                             WRITE-IN                                           WRITE-IN
                                                                        B17                                                                       KONAWEL                               B16                                                                                                                                                                         (PERSONAL CHOICE)                                  (PERSONAL CHOICE)
                                                                                                                                                                                                                                                                                                                                                                                                                          H17                  H16                a time. To make a space between the first and middle name or initial and the last name,
                                      DESILVIO                                                                 VOTE FOR THREE                     REGULAR ORGANIZATION REPUBLICAN
                                      REGULAR ORGANIZATION REPUBLICAN                                                                                                                                                                                                                                                                                                                                                  USE KEYBOARD BELOW
                                                                                                                                                  NICK                                                                                                                                          KEYBOARD BELOW
                                                                                                                                                                                                                                                           OFFICIAL DEMOCRATIC PARTY PRIMARYUSEBALLOT                                                                                                                                                             use the arrow pointing to the right on the keyboard. To make a correction, use the arrow
                                                                                                                                                                                                                                                                                                                                                                                                                       WRITE-IN
                                      FRANK A.                                                                                                    DESILVIO                              B17                                                                                                                                                                         WRITE-IN                                           (PERSONAL CHOICE)       H17                pointing to the                     you enter will appear in the display to the left of the keyboard.
                                                                                                                                                  REGULAR ORGANIZATION REPUBLICAN
                                                                                                                                                                                                                                                                                                                                                                                                                       USE KEYBOARD BELOW                                      WRleft.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    ITE-IThe
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         N (PEname
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               RSONAL CHOICE)
                                      MORROW,            JR.            B18                                    OFFICE TITLE                        DEMOCRATIC COLUMN B                            DEMOCRATIC COLUMN C            DEMOCRATIC COLUMN D                          DEMOCRATIC COLUMN E                      DEMOCRATIC COLUMN F (PERSONAL
                                                                                                                                                                                                                                                                                                                                              DEMOCCRHOICE
                                                                                                                                                                                                                                                                                                                                                     ATIC) COLUMN G                                                    DH18
                                                                                                                                                                                                                                                                                                                                                                                                                         EMOCRATIC COLUMN H
                                      REGULAR ORGANIZATION REPUBLICAN                                                                                                                                                                                                                                                                                                                                                  WRITE-IN                      DEMOCRATIC COWhen
                                                                                                                                                                                                                                                                                                                                                                                                                                                                   LUMN Iyou have entered the whole name, proof it, then press the enter button on the
        COUNCIL                                                                                                                                                                                                                                                                                                                                                     USE KEYBOARD BELOW                                                                                                   COLUMN J
                                                                                                                                                  NO PETITION FILED                                                                                                                                                                                                                                                    (PERSONAL CHOICE)       H18
                                                                                                           TOWNSHIP
                                                                                                          CHOICE FOR COMMITTEE
                                                                                                                     PRESIDENT                   JOSEPH R.                                                                    BERNIE                                                                                                                                                                                   USE KEYBOARD BELOW                         keyboard. WRITE-IN
                                                                                                                                                                                                                                                                                                                                                                                                                                                                              Your choice is recorded and removed from the display.
      VOTE FOR TWO                    ROBERT E.                                                                                                  BIDEN              B24                                                       SANDERS                               D24                                                                                             WRITE-IN                                                                                                 (PERSONAL CHOICE)            J24
                                                                        B19                                  VOTE
                                                                                                              VOTEFOR  TWO
                                                                                                                   FORONE                        DEMOCRATIC                                                                   DEMOCRATIC                                                                                                                            (PERSONAL CHOICE)                                  WRITE-IN
                                                                                                                                                                                                                                                                                                                                                                                                                        H19
                                      LIS                                                                                                                                                                                                                                                                                                                                                                                                      H19                4. After ALL   KEYBOARD BELOW
                                                                                                                                                                                                                                                                                                                                                                                                                                                                             USEselections     have been made, press the RED CAST VOTE BUTTON located in
                                      REGULAR ORGANIZATION REPUBLICAN                                                                             NO PETITION FILED
                                                                                                                                                              AND                                                                                         AND                                                                                                                                                          (PERSONAL CHOICE)
                                                                                                            DISTRICT DELEGATES                                                                                                                                                                                                                                      USE KEYBOARD BELOW                                 USE KEYBOARD BELOW
                                                                                                                                                 BIDEN FOR PRESIDENT                                                          BERNIE 2020. NOT ME. US.                                                                                                                                                                                                            the lower right corner. This electronically records all of your votes.
                                                                                                             A vote for President is an
                                                                                                           automatic vote for all affiliated
                                                                                                                 Male and Female                                                                                                                                                                                                                                                                                                                                  5. Part the curtains and exit the voting booth.
                                                                                                              District Delegates to the
                                                                                                          Democratic National Convention
                                                                                                          UNITED STATES SENATE                   CORY                                          LAWRENCE                                                                                                                                                                                                                                                                           WRITE-IN
                                                                                                                                                 BOOKER
                                                                                                                                                 REGULAR DEMOCRATIC ORGANIZATION
                                                                                                                                                                                       B27 HAMM                       C27                                                                                                                                                                                                                                                         (PERSONAL CHOICE)            J27
                                                                                                              VOTE FOR ONE                                                                     NOT ME. US.
                                                                                                                                                 OF GLOUCESTER COUNTY                                                                                                                                                                                                                                                                                                             USE KEYBOARD BELOW
                                                                                                                   MEMBER OF                     BRIGID                                                                        JOHN                        OFFICIAL DEMOCRATIC PARTY PRIMARY BALLOT
                                                                                                                                                                                                                                                       ROBERT D.                                 AMY                                             WILL                                               WRITE-IN
                                                                                                        HOUSE OF REPRESENTATIVES CALLAHAN HARRISON
                                                                                                                                 REGULAR DEMOCRATIC ORGANIZATION
                                                                                                                                                                    B28                                                        FRANCIS             E28 TURKAVAGE                             F28 KENNEDY                                     G28 CUNNINGHAM           H28                           (PERSONAL CHOICE)           J28
                                                                                                                                                                                                                               WALKING FOR YOU         GLOUCESTER COUNTY’S MODERATE DEMOCRAT     GLOUCESTER COUNTY DEMOCRATIC COMMITTEE 2020     TRUE DEMOCRATS                                         WRITE-IN (PERSONAL CHOICE)
                                                                                                             VOTE      ONE       OF GLOUCESTER COUNTY
                                                                                                             OFFICEFORTITLE            DEMOCRATIC COLUMN B                DEMOCRATIC COLUMN C   DEMOCRATIC COLUMN D
                                                                                                                                                            OFFICIAL DEMOCRATIC PARTY PRIMARY BALLOT                               DEMOCRATIC COLUMN E     DEMOCRATIC COLUMN F                       DEMOCRATIC COLUMN G                             DEMOCRATIC COLUMN H    DEMOCRATIC COLUMN I USE KEYBOARD BELOW
                                                                                                                                 HEATHER                                                                                                                                                                                                                                                            WRITE-IN COLUMN J
                                                                                                                                 SIMMONS
                                                                                                                                  JOSEPH        R.
                                                                                                                                 REGULAR DEMOCRATIC ORGANIZATION
                                                                                                                                                                    B29                       BERNIE                                                                                                                                                                                                (PERSONAL CHOICE)           J29
                                                                                              CHOICE FOR PRESIDENT                 F GLOUCESTER COUNTY                                                                                                                                                                                                                                     WRITEUSE   WRITE-IN
                                                                                                                                                                                                                                                                                                                                                                                                      -INKEYBOARD
                                                                                                                                                                                                                                                                                                                                                                                                            (PERSBELOW
                                                                                                                                 OBIDEN                              B24                      SANDERS                      D24                                                                                                                                                                                       ONAL CHOICE)J24
                                                                                                                                                                                                                                                                                                                                                                                                     (PERSONAL CHOICE)
      OFFICE TITLE                       DEMOCRATIC COLUMN B                                       VOTE
                                                                                                     N CFOR ONE        DEMOCLYMAN DEMOCRATIC
                                                                                                                                  R     ATIC COLUMN D                    DEMOCRATIC COLUMN    DEMOCRATIC
                                                                                                                                                                                                  E              DEMOCRATIC COLUMN F             DEMOCRATIC COLUMN G                               DEMOCRATIC COLUMN H                                          DEMOCRATIC COLUMN I                 WRITE-IN
                                                                                                                                                                                                                                                                                                                                                                                                     USE KEYBOARD BELOW
                                                                                 DEMOCRATIC COLUMFREEHOLDER
                                                                                                                                 BARNES                   AND
                                                                                                                                 REGULAR DEMOCRATIC ORGANIZATION
                                                                                                                                                                    B30                                                AND                                                                                                                                                                          (PERSONAL
                                                                                                                                                                                                                                                                                                                                                                                                        COLU   CHOICE
                                                                                                                                                                                                                                                                                                                                                                                                                 MN  ) J        J30
                                                                                                VOTE FOR
                                                                                               DISTRICT         THREE
                                                                                                            DELEGATES                GLOUCESTER
                                                                                                                                 OBF IDEN        COUNTY                                                                                                                                                                                                                                             USE  KEYBOARD   BELOW
                                                                                                                                          FOR PRESIDENT                                       BERNIE 2020. NOT ME. US.
 CHOICE FOR PRESIDENT                 JOSEPH R.                                                  A vote for President  is an
                                                                                                                   BERNIE                                                                                                                                                                                                                                                                WRITE-IN
                                                                                                                      affiliated JIM                                                                                                                                                                                                                                                                WRITE-IN
                                      BIDEN                             B24                    automatic vote for allSANDERS
                                                                                                    Male and Female              JEFFERSON
                                                                                                                                 REGULAR DEMOCRATIC ORGANIZATION
                                                                                                                                                                 D24B31                                                                                                                                                                                                                                ERSONAL
                                                                                                                                                                                                                                                                                                                                                                                         (PERSONAL C(PHOICE ) CHOICE)         J24
                                                                                                                                                                                                                                                                                                                                                                                                                                J31
    VOTE FOR ONE                      DEMOCRATIC                                                                               DEMOCRATIC        OF GLOUCESTER COUNTY                                                                                                                                                                                                                                                                                                          USE KEYBOARD
                                                                                                              District Delegates to the                                                                                                                                                                                                                                                                                                                               USE KEYBOARD  BELOW BELOW
                                                              AND                                          Democratic National Convention               R.
                                                                                                                                                 VERNONAND                                                                                                                                                                                                                                                                                                                        WRITE-IN
  DISTRICT DELEGATES                                                                                                                     EGULAR
                                                                                                                                        RCORY
                                                                                                                                                 MARINO                                B32 LAWRENCE                                                                                                                                                                                                                                                                               (PERSONAL CHOICE)            J32
                                      BIDEN FOR PRESIDENT                                                 UNITED STATES
                                                                                                          TOWNSHIP     BSENATE
                                                                                                                        ERNIE 2020. NOT M
                                                                                                                   COMMITTEE              E. USD. EMOCRATIC ORGANIZATION
                                                                                                                                         F GLOUCESTER COUNTY
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   WRITE-IN
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  USE KEYBOARD BELOW
    A vote for President is an                                                                                                          OBOOKER                                         B27 HAMM                       C27                                                                                                                                                                                                                                                         (PERSONAL CHOICE)            J27
                                                                                                             VOTE
                                                                                                              VOTEFOR  ONE
                                                                                                                   FORTWO                REGULAR DEMOCRATIC ORGANIZATION
                                                                                                                                        MARLA                                                   NOT ME. US.
  automatic vote for all affiliated                                                                                                      OF GLOUCESTER COUNTY                                                                                                                                                                                                                                                                                                                     WRITE-IN
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   USE KEYBOARD BELOW
                                                                                                                    MEMBER OF     DELUCA          CURRAN
                                                                                                                                    EGULAR DEMOCRATIC ORGANIZATION
                                                                                                                                  RBRIGID
                                                                                                                                                                                       B33                                                                                  JOHN                                     ROBERT D.                                        AMY                                              WILL                                                       (PERSONAL CHOICE)            J33
        Male and Female                                                                                                             F GLOUCESTER COUNTY
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   WRITE-IN
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  USE KEYBOARD BELOW
     District Delegates to the                                                                           HOUSE OF REPRESENTATIVES ORCALLAHAN            HARRISON
                                                                                                                                      EGULAR DEMOCRATIC ORGANIZATION
                                                                                                                                                                                        B28                                                                                 FRANCIS                          E28 TURKAVAGE                                    F28 KENNEDY                                           G28 CUNNINGHAM             H28                                 (PERSONAL CHOICE)            J28
                                                                                                                                                                                                                                                                            WALKING FOR YOU                          GLOUCESTER COUNTY’S MODERATE DEMOCRAT            GLOUCESTER COUNTY DEMOCRATIC COMMITTEE 2020      TRUE DEMOCRATS
                                                                                                                VOTE FOR ONE                      OF GLOUCESTER COUNTY                                                                                                                                                                                                                                                                                                             USE KEYBOARD BELOW
 Democratic National Convention                                                                                                                   HEATHER                                                                                                                                                                                                                                                                                                                          WRITE-IN
                                      CORY                                    LAWRENCE                                                            SIMMONS
                                                                                                                                                  REGULAR DEMOCRATIC ORGANIZATION
                                                                                                                                                                                        B29                                                                                                                                                                                                                                                                                        (PERSONAL CHOICE)            J29
 UNITED STATES SENATE                                                                                                                             OF GLOUCESTER COUNTY
                                                                                                                                                                                                                                                                                                                                                                                                                                                                      WRITE-INUSE KEYBOARD BELOW
                                      BOOKER
                                      REGULAR DEMOCRATIC ORGANIZATION
                                                                        B27 HAMM                                     C27                          LYMAN                                                                                                                                                                                                                                                                                                                          HOICE)
                                                                                                                                                                                                                                                                                                                                                                                                                                                                      (PERSONAL CWRITE-IN                    J27
     VOTE FOR ONE                                                             NOT ME. US.                       FREEHOLDER
                                      OF GLOUCESTER COUNTY                                                                                        BARNES                                B30                                                                                                                                                                                                                                                                           USE KEYBOARD   BELOW
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                (PERSONAL CHOICE)               J30
                                                                                                               VOTE FOR THREE                     REGULAR DEMOCRATIC ORGANIZATION
          MEMBER OF                                                                                                                               OF GLOUCESTER COUNTY
                                      BRIGID                                                                                                                                                 JOHN                                             ROBERT D.                                             AMY                                                             WILL                                                                                              WRITE-INUSE KEYBOARD BELOW
                                                                                                                                                  JIM                                                                                                                                                                                                                                                                                                                            WRITE-IN
HOUSE OF REPRESENTATIVES              CALLAHAN           HARRISON       B28                                                                       JEFFERSON                             B31FRANCIS                               E28 TURKAVAGE                                                F28 KENNEDY                                                    G28 CUNNINGHAM                                               H28                                                     HOICE
                                                                                                                                                                                                                                                                                                                                                                                                                                                                      (PERSONAL C(P     )
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   ERSONAL CHOICE)
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             J28J31
                                      REGULAR DEMOCRATIC ORGANIZATION                                                                             REGULAR DEMOCRATIC ORGANIZATION          WALKING FOR YOU                                    GLOUCESTER COUNTY’S MODERATE DEMOCRAT                 GLOUCESTER COUNTY DEMOCRATIC COMMITTEE 2020                     TRUE DEMOCRATS
     VOTE FOR ONE                     OF GLOUCESTER COUNTY                                                                                        OF GLOUCESTER COUNTY                                                                                                                                                                                                                                                                                                          USE KEYBOARD
                                                                                                                                                                                                                                                                                                                                                                                                                                                                      USE KEYBOARD   BELOW BELOW
                                      HEATHER                                                                                                     VERNON R.
                                                                                                                                                  MARINO
                                                                                                                                                  REGULAR DEMOCRATIC ORGANIZATION
                                                                                                                                                                                        B32                                                                                                                                                                                                                                                                           WRITE-IN(PWRITE-IN
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   ERSONAL CHOICE)
                                      SIMMONS                           B29                                TOWNSHIP COMMITTEE                     OF GLOUCESTER COUNTY                                                                                                                                                                                                                                                                                                           HOICE
                                                                                                                                                                                                                                                                                                                                                                                                                                                                      (PERSONAL CUSE    )
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     KEYBOARD   BELOW        J29J32
                                      REGULAR DEMOCRATIC ORGANIZATION
                                      OF GLOUCESTER COUNTY                                                    VOTE FOR TWO                        MARLA                                                                                                                                                                                                                                                                                                               USE KEYBOARD    BELOW
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 WRITE-IN
                                      LYMAN                                                                                                       DELUCA        CURRAN
                                                                                                                                                  REGULAR DEMOCRATIC ORGANIZATION
                                                                                                                                                                                        B33                                                                                                                                                                                                                                                                                                CHOICE)              J33                                WARNING
      FREEHOLDER                                                                                                                                  OF GLOUCESTER COUNTY
                                                                                                                                                                                                                                                                                                                                                                                                                                                                      WRITE-IN(PUSEERSONAL
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     KEYBOARD BELOW
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                DO NOT PRESS THE 'CAST VOTE'
                                      BARNES
                                      REGULAR DEMOCRATIC ORGANIZATION
                                                                        B30                                                                                                                                                                                                                                                                                                                                                                                           (PERSONAL CHOICE)                      J30
     VOTE FOR THREE                   OF GLOUCESTER COUNTY                                                                                                                                                                                                                                                                                                                                                                                                            USE KEYBOARD BELOW                                                        BUTTON UNTIL YOU HAVE MADE
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  ALL DESIRED SELECTIONS.
                                      JIM                                                                                                                                                                                                                                                                                                                                                                                                                             WRITE-IN
                                      JEFFERSON
                                      REGULAR DEMOCRATIC ORGANIZATION
                                                                        B31                                                                                                                                                                                                                                                                                                                                                                                           (PERSONAL CHOICE)                      J31                                    CAST
                                      OF GLOUCESTER COUNTY                                                                                                                                                                                                                                                                                                                                                                                                            USE KEYBOARD BELOW
                                      V. CHARLES
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    VOTE
                                                                                                                                                                                                                                                                                                                                                                                                                                                                      WRITE-IN                                                                     BUTTON
                                      SIMON
                                      REGULAR DEMOCRATIC ORGANIZATION
                                                                        B32                                                                                                                                                                                                                                                                                                                                                                                           (PERSONAL CHOICE)                      J32
        COUNCIL                       OF GLOUCESTER COUNTY                                                                                                                                                                                                                                                                                                                                                                                                            USE KEYBOARD BELOW
      VOTE FOR TWO                    DARLENE                                                                                                                                                                                                                                                                                                                                                                                                                         WRITE-IN
                                      VONDRAN
                                      REGULAR DEMOCRATIC ORGANIZATION
                                                                        B33                                                                                                                                                                                                                                                                                                                                                                                           (PERSONAL CHOICE)                      J33
                                      OF GLOUCESTER COUNTY                                                                                                                                                                                                                                                                                                                                                                                                            USE KEYBOARD BELOW
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    WARNING
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                DO NOT PRESS THE 'CAST VOTE'
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                BUTTON UNTIL YOU HAVE MADE
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  ALL DESIRED SELECTIONS.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    CAST
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    VOTE
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   BUTTON
                                                                                                THIS BALLOT CANNOT BE VOTED. IT IS A SAMPLE COPY OF THE OFFICIAL BALLOT USED ON ELECTION DAY.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           Case 3:20-cv-08267-ZNQ-TJB Document 33-1 Filed 01/25/21 Page 27 of 67 PageID: 428
               DISTRICT: ______________                                              District 1:
                                                                                     MALE- GENE COSTILL
           OFFICIAL PRIMARY ELECTION BALLOT                                          REGULAR DEMOCRATIC ORGANIZATION OF GLOUCESTER COUNTY
         TUESDAY, JULY 7, 2020 • DEMOCRATIC PARTY                                    FEMALE- LAURA MURPHY
                                                                                     REGULAR DEMOCRATIC ORGANIZATION OF GLOUCESTER COUNTY
                   BOROUGH OF CLAYTON                                                District 2:
           INSTRUCTIONS FOR COUNTY COMMITTEE VOTING                                  MALE- ERIC THOMAS
1. Locate your Voting District from the list.                                        REGULAR DEMOCRATIC ORGANIZATION OF GLOUCESTER COUNTY
2. To Vote for 1 County Committee Male and 1 County Committee Female,                FEMALE- SUSAN B. MILLER
                                                                                     REGULAR DEMOCRATIC ORGANIZATION OF GLOUCESTER COUNTY
   choose from the candidates listed or your personal choice.
                                                                                     District 3:
3. Write the name of the person you wish to vote for in the appropriate (write-in)   MALE- FRANKLIN S. BROWN, JR.
   box next to the office of County Committee in the WRITE-IN section and fill in    REGULAR DEMOCRATIC ORGANIZATION OF GLOUCESTER COUNTY
   the oval to the right.                                                            FEMALE- DARLENE A. VONDRAN
                                                                                     REGULAR DEMOCRATIC ORGANIZATION OF GLOUCESTER COUNTY
   OFFICIAL DEMOCRATIC PARTY PRIMARY BALLOT                                          District 4:
                                                                                     MALE- TOM BIANCO
                                            WRITE-IN (PERSONAL CHOICE)               REGULAR DEMOCRATIC ORGANIZATION OF GLOUCESTER COUNTY
       OFFICE TITLE                                 COLUMN J
                                                                                     FEMALE- MARIAN L. BIANCO
                                  SEE INSTRUCTIONS                                   REGULAR DEMOCRATIC ORGANIZATION OF GLOUCESTER COUNTY
  COUNTY COMMITTEE-MALE           WRITE-IN                                           District 5:
       VOTE FOR ONE               (And Fill In Oval)                                 MALE- LESLIE WISE
                                                                                     REGULAR DEMOCRATIC ORGANIZATION OF GLOUCESTER COUNTY
                                  SEE INSTRUCTIONS                                   FEMALE- GAIL CLEMENT
 COUNTY COMMITTEE-FEMALE WRITE-IN                                                    REGULAR DEMOCRATIC ORGANIZATION OF GLOUCESTER COUNTY
       VOTE FOR ONE      (And Fill In Oval)                                          District 6:
                                                                                     MALE- JOSEPH SOLI
                                                                                     REGULAR DEMOCRATIC ORGANIZATION OF GLOUCESTER COUNTY
                                                                                     FEMALE- JOAN MILLER
                                                                                     REGULAR DEMOCRATIC ORGANIZATION OF GLOUCESTER COUNTY




                                                                                                                                            SEPARATE SHEET - COUNTY COMMITTEE

                                                                             THIS BALLOT CANNOT BE VOTED. IT IS A SAMPLE COPY OF THE OFFICIAL BALLOT USED ON ELECTION DAY.
                                                                                                                                                                                Case 3:20-cv-08267-ZNQ-TJB Document 33-1 Filed 01/25/21 Page 28 of 67 PageID: 429
Case 3:20-cv-08267-ZNQ-TJB Document 33-1 Filed 01/25/21 Page 29 of 67 PageID: 430




                        HUDSON
                        COUNTY
                        City of Jersey City – County of Hudson                                                                                                                                                                                                                                                                                                                      Ciudad de Jersey City – Condado de Hudson
                        Primary Election Sample Ballot                                                                                                                                                                                                                                                                                                                              Boleta de Muestra de la Elección Primaria
                        July 7, 2020                                                                                                                                                                                                                                                                                                                                                7 de Julio de 2020
                                                                                                                                                                                                                                                                 E. JUNIOR MALDONADO
                        The polls will be open from 6:00 AM to 8:00 PM                                               Clerk of Hudson County/Secretario del Condado de Hudson                                                                                                                                                                                                        Los centros de votación estarán abiertos desde las 6:00 AM hasta las 8:00 PM
                                                                     OFFICIAL                                                                  23, 2020                                                                                                                                                                                                                                                                                       “IT IS AGAINST THE LAW FOR ANYONE
                        THIS IS A SAMPLE OF THE PROVISIONAL BALLOT    THAT IS TOPRIMARY ELECTION PROVISIONAL BALLOT June
                                                                  BOLETA OFICIAL PROVISIONAL DE LA ELECCIÓN PRIMARIA                       Date / Attest                                                                                                                                                                                                                            ESTA ES UNA MUESTRA DE LA BOLETA PROVISIONAL QUE SE USARÁ  EXCEPT YOU THE VOTER TO MARK OR
                                                                                                                                                                                                                                                                                                                                                                                                                                               INSPECT THIS BALLOT.”
                        BE VOTED UPON AT THE PRIMARY ELECTION ON JULY 7, 2020            City of Jersey City                                                                                                                                                                                                                                                                        EN LA VOTACIÓN DE LA ELECCIÓN PRIMARIA, EL 7 DE JULIO DE 2020
                                                                                                                                                                         E. JUNIOR MALDONADO                                                                                                                                                                                                                                                  “ES ILEGAL QUE OTRA PERSONA
                                                                                      10th Congressional District                                                                                                                                                                                                          Clerk of Hudson County /Secretario del Condado de Hudson
                                                                                                                                                                                                                                                                                                                                                                                                                                               EXCEPTO USTED, EL VOTANTE, MÁRQUE
                                                                                    July 7, 2020/7
                                                                           DEMOCRATIC                 julio del 2020
                                                                                                 - deDEMÓCRATA                                                                                                                                                                                                                                                                                                                                 O INSPECCIONE ESTA BOLETA.”
                                                                                             COLUMN A COLUMNA A                 COLUMN B COLUMNA B               COLUMN C COLUMNA C                               COLUMN D COLUMNA D                 COLUMN E COLUMNA E             COLUMN F COLUMNA F
                                              OFFICE TITLE                                                                                                                                                                                                                                                           PERSONAL CHOICE
                                            TÍTULO DE CARGO                            Democratic/Demócrata
                                                                                                           A                               B
                                                                                                                          Democratic/Demócrata
                                                                                                                                                                             C
                                                                                                                                                           Democratic/Demócrata
                                                                                                                                                                                                                               D
                                                                                                                                                                                                            Democratic/Demócrata
                                                                                                                                                                                                                                                               E
                                                                                                                                                                                                                                               Democratic/Demócrata
                                                                                                                                                                                                                                                                                               F
                                                                                                                                                                                                                                                                               Democratic/Demócrata
                                                                                                                                                                                                                                                                                                                    SELECCIÓN PERSONAL                               The Primary Election on July 7, 2020 is being conducted primarily by mail as per
                                                Choice for President                                                      Hudson County                   Bernie 2020.                                                                                                           A VOTE HERE IS A VOTE FOR ALL     Write-In Vote                                     Executive Order #144 signed by Governor Murphy on May 15, 2020.
                                                    (VOTE FOR ONE)                                                        Democratic             1B       Not Me. Us.                       1C                                                                                DISTRICT AND ALTERNATE DELEGATES1F
                                                                                                                          Organization JOSEPH R.                              BERNIE                                                                                                                               Votar por Escrito                                              IMPORTANT INSTRUCTIONS TO VOTERS
                                             Selección para Presidente                                                                                                                                                                                                         UN VOTO AQUÍ ES UN VOTO PARA EL
                                                    (VOTE POR UNO)                                                                        BIDEN                    SANDERS                                                                                                     DISTRITO Y DELEGADOS SUPLENTES                                                        This is your      Sample
                                                                                                                                                                                                                                                                                                                                                                                   Please read the followingBallot.        This
                                                                                                                                                                                                                                                                                                                                                                                                               before marking           is NOT your Vote-by-Mail Ballot used to cast your vote. If
                                                                                                                                                                                                                                                                                                                                                                                                                                your ballot:
                                        A VOTE FOR PRESIDENT IS A VOTE FOR ALL                                                                                                                                                                                                                                                                                       you need      Use ONLY
                                                                                                                                                                                                                                                                                                                                                                              1.) to        a pencil or ink pen
                                                                                                                                                                                                                                                                                                                                                                                        request              a(black or blue) to mark your
                                                                                                                                                                                                                                                                                                                                                                                                                 duplicate                 ballot. Do not use red ink.
                                                                                                                                                                                                                                                                                                                                                                                                                                         Vote-by-Mail                  Ballot, please call (201) 369-3470, option 6.
                                                                                                                                                                                                                                                                                                                   NO PERSONAL CHOICE FOR DELEGATES
                                          DISTRICT AND ALTERNATE DELEGATES                                                         BIDEN FOR PRESIDENT            BERNIE 2020. NOT ME. US.                                                                                               UNCOMMITTED
                                                                                                                                                                                                                                                                                                                                                                                        2.)    Completely fill in the oval to the right of each of your selections.
                                         UN VOTO PARA PRESIDENTE ES UN VOTO                                               Guillermo ARTILES               William CALLAHAN                                                                                                    Mariela PEREZ-TREJO
                                                                                                                                                                                                                                                                                                                      NO HAY SELECCIÓN PERSONAL                                  MARK BALLOT LIKE THIS.
                                       PARA EL DISTRITO Y DELEGADOS SUPLENTES                                             Nicholas CHIARAVALOTTI          Eleana LITTLE                                                                                                       Denise RIDLEY                                                                          Voters who         received                 a Vote-by-Mail ballot are encouraged to mail their ballot to the
                                                                                                                          Jeremy FARRELL                  Marco PALLADINO                                                                                                                                                  PARA DELEGADOS                                                 John Doe
                                             For 16th District Delegates                                                  Laura SANKOWICH                 Isabel RIAL                                                                                                                                                                                                            To vote for any person
                                                                                                                                                                                                                                                                                                                                                                     Hudson3.)County               Board whose nameof  is notElections
                                                                                                                                                                                                                                                                                                                                                                                                                               printed on this ballot fill in
                                                                                                                                                                                                                                                                                                                                                                                                                                                           in the the
                                                                                                                                                                                                                                                                                                                                                                                                                                                                  oval by postage paid envelope as soon as possible.
                                      to the Democratic National Convention                                               Sandra BOLDEN CUNNINGHAM        William VANNASING                                                                                                                                                                                                      the words “Write-In Vote” under that office. Write the name of the person for
                                          Para Delegados del Distrito 16°                                                                                 Gretchen VON KOENIG                                                                                                                                                                                        Ballots returned
                                                                                                                                                                                                                                                                                                                                                                                 which you wish toby          the blank line.
                                                                                                                                                                                                                                                                                                                                                                                                     vote onmail           must
                                                                                                                                                                                                                                                                                                                                                                                                                              You may not be          any name
                                                                                                                                                                                                                                                                                                                                                                                                                                           write-in postmarked                no later than 8:00 p.m. on July 7, 2020.
                                       a la Convención Nacional Demócrata                                                                                                                                                                                                                                                                                                        that is printed on the ballot.
                                         For 16th Alternate District Delegate
                                                                                                                                                                                                                                                                                                                                                                     Ballots may        also be placed in one of many secure Election Ballot Drop Boxes located
                                                                                                                                                                                                                                                                                                                                                                             4.) If you tear, deface or incorrectly mark this ballot, return it to a district
                                       to the Democratic National Convention                                              Jeffrey DUBLIN                  Claudio AMBROSSI                                                                                                                                                                                                                        and obtain a new ballot.
                                       Para Delegado Suplente del Distrito 16°
                                                                                                                                                                                                                                                                                                                                                                     throughout  boardtheworker County.                The locations of Hudson County’s Election Ballot Drop Boxes
                                                                                                                                                                                                                                                                                                                                                                             5.) Insert completed ballot in affirmation envelope, then return to district board worker.
                                        a la Convención Nacional Demócrata                                                                                                                                                                                                                                                                                           can be found   *** Please
                                                                                                                                                                                                                                                                                                                                                                                             atbewww.hudsoncountyclerk.org.
                                                                                                                                                                                                                                                                                                                                                                                                      sure to complete and sign affirmation.                                       The deadline for placing it in one
                                             For United States Senator                Not Me. Us.                         Hudson County                                                                                                                                                                            Write-In Vote
                                                    (VOTE FOR ONE)                                                 2A     Democratic                 2B                                                                                                                                                                                                              of the secure drop boxes or for delivering your ballot in-person to the Hudson County
                                                                                                    LAWRENCE              Organization       CORY                                                                                                                                                                  Votar por Escrito                                                                                                                                                                      58
                                        Para Senador de los Estados Unidos                                                                                                                                                                                                                                                                                           Board of Elections is 8:00 p.m. on July 7, 2020.
                                                    (VOTE POR UNO)                                   HAMM                                BOOKER
                                   For Member of the House of Representatives                                             Hudson County                                                                    Hudson County Progressive          United by                                                            Write-In Vote
                                                    (VOTE FOR ONE)                                                        Democratic             3B                                                        Democratic                3D       Our Future                 3E                                                                                          A limited
                                                                                                                                                                                                                                                                                                                                                                           INSTRUCCIONES
                                                                                                                                                                                                                                                                                                                                                                                       numberIMPORTANTES     of polling Aplaces              LOS ELECTORES are available to voters on Election Day where
                                                                                                                          Organization DONALD M.                                                           Organization EUGENE D.                              JOHN J.                                             Votar por Escrito
                                  Para Miembro de la Cámara de Representantes
                                                    (VOTE POR UNO)                                                               PAYNE Jr.                                                                                    MAZO                            FLORA                                                                                                           Favor de leer lo siguiente
                                                                                                                                                                                                                                                                                                                                                                     only provisional                    antes de marcar
                                                                                                                                                                                                                                                                                                                                                                                                       paper               la boleta:
                                                                                                                                                                                                                                                                                                                                                                                                                        ballots            will be available to cast your vote. The location of your
                                                   For Freeholder                                                         Hudson County                                                                                                                                                                                                                                   1.) Use solamente un lápiz o boligrafo (tinta negra o azul) para marcar su boleta. No use tinta roja.
                                                                                                                                                                                                                                                                                                                   Write-In Vote                                     polling place is on the reverse side of this sample ballot. If a voter has a disability
                                                    (VOTE FOR ONE)                                                        Democratic           4B                                                                                                                                                                                                                         2.) Rellene el óvalo completamente a la derecha de cada una de sus selecciones.
                                                                                                                          Organization KENNETH                                                                                                                                                                     Votar por Escrito
                                     Para Representante al Nivel del Condado                                                                                                                                                                                                                                                                                         and needsMARQUE an         accessible
                                                                                                                                                                                                                                                                                                                                                                                        LA BOLETA    DE ESTÁ FORMA. ballot he/she may call the County Clerk’s Office or may go to
                                                    (VOTE POR UNO)                                                                       KOPACZ                                                                                                                                                                                                                                      John Doe
                                                                                                                                                                                                                                                                                                                                                                     his/her assigned                    polling place which will provide access to an in-person accessible
                                                                                                                                                                                                                                                                                                                                                                          3.) Para votar por cualquier persona cuyo nombre no está impreso en esta boleta, rellene el óvalo
                                                                                                                                                                                                                                                                                                                                                                     voting donde
                                                                                                                                                                                                                                                                                                                                                                               device                     “Write-In Vote” (Votar
                                                                                                                                                                                                                                                                                                                                                                                    aparece las palabrasPrimary
                                                                                                                                                                                                                                                                                                                                                                                                 on                            Election               oficina. En la línea en
                                                                                                                                                                                                                                                                                                                                                                                                                                 por Escrito) bajo esaDay.
                                                                                                                                                                                                                                                                                                                                                                                      blanco, escriba el nombre de la persona por quien usted desea votar. No se puede escribir
                                                                                                                                                                                                                                                                                                                                                                                      cualquier nombre ya impreso en la boleta.
                                                                                                                                                                                                                                                                                                                                                                     This 4.)Primary
                                                                                                                                                                                                                                                                                                                                                                               Si usted rompe,Election
                                                                                                                                                                                                                                                                                                                                                                                                 desfigura o marca Sample                Ballot
                                                                                                                                                                                                                                                                                                                                                                                                                      esta boleta incorrectamente, devuélvala also be found at www.hudsoncountyclerk.org.
                                                                                                                                                                                                                                                                                                                                                                                                                                                       canal trabajador
                                                                                                                                                                                                                                                                                                                                                                               de la junta electoral del distrito para obtener una nueva boleta.
                                                                                                                                                                                                                                                                                                                                                                     A sample           ballot will be posted at each polling place.
                                                                                                                          OFFICIAL PRIMARY ELECTION PROVISIONAL BALLOT                                                                                                                                                                                                        5.)     Ponga la boleta completa en el sobre de afirmación y devuélvala al trabajador de la junta electoral del distrito.
                                                                                                                                                                                                                                                                                                                                                                                        *** Favor de estar seguro de que haya llenado       “IT IS yAGAINST
                                                                                                                                                                                                                                                                                                                                                                                                                                                      firmado laTHE      LAW FOR ANYONE
                                                                                                                                                                                                                                                                                                                                                                                                                                                                    afirmación.
                                                                                                                        BOLETA OFICIAL PROVISIONAL DE LA ELECCIÓN PRIMARIA                                                                                                                                                                               If you have questions call EXCEPT
                                                                                                                                                                                                                                                                                                                                                                                     the YOU   THE VOTER TO
                                                                                                                                                                                                                                                                                                                                                                                            County        Clerk’s
                                                                                                                                                                                                                                                                                                                                                                                                            MARK OR Office at (201)369-3470, option 6 or the
                                                                                                                                                                                                                                                                                                                                                                                    INSPECT THIS BALLOT.”
                                                                                                                                                                             City of Jersey City                                                                                                                                                         County Board of Elections at (201)369-3435.
                                                                                                                                                                                                                                                                                                                                       E. JUNIOR MALDONADO                                                                                    “ES ILEGAL QUE OTRA PERSONA
                                                                                                                                                                         10th Congressional District                                                                                                                       Clerk of Hudson County /Secretario del Condado de Hudson
                                                                                                                                                                                                                                                                                                                                                                                                                                               EXCEPTO USTED, EL VOTANTE, MÁRQUE
                                                                                                                                                 July 7, 2020/7
                                                                                                                                           REPUBLICAN           de julio del 2020
                                                                                                                                                            - REPUBLICANO                                                                                                                                                                                                                                                                      O INSPECCIONE ESTA BOLETA.”
                                  Jersey City - Form 12 Democratic
                                                                                            COLUMN G COLUMNA G                  COLUMN H COLUMNA H               COLUMN I COLUMNA I                               COLUMN J COLUMNA J                COLUMN K COLUMNA K
                                              OFFICE TITLE                                                                                                                                                                                                                       PERSONAL CHOICE                                                                     La elección Primaria del 7 de Julio de 2020 se está llevando a cabo principalmente
                                            TÍTULO DE CARGO                                                G
                                                                                      Republican/Republicano
                                                                                                                                           H
                                                                                                                          Republican/Republicano
                                                                                                                                                                               I
                                                                                                                                                          Republican/Republicano
                                                                                                                                                                                                                               J
                                                                                                                                                                                                           Republican/Republicano
                                                                                                                                                                                                                                                               K
                                                                                                                                                                                                                                              Republican/Republicano
                                                                                                                                                                                                                                                                                SELECCIÓN PERSONAL                                                                   por correo según la Orden ejecutiva #144 firmada por el gobernador Murphy el 15




Form 12 - JERSEY CITY
                                                Choice for President                                                                                      Hudson County                                                                                                       Write-In Vote                                                                          de Mayo de 2020.
                                                    (VOTE FOR ONE)                                                                                        Republican          1I
                                                                                                                                                          Committee DONALD J.                                                                                                 Votar por Escrito                                                                                 IMPORTANT INSTRUCTIONS TO VOTERS
                                             Selección para Presidente
                                                    (VOTE POR UNO)                                                                                                        TRUMP                                                                                                                                                                                                        read the following
                                                                                                                                                                                                                                                                                                                                                                     Esta es suPleaseboleta             debefore  muestra.
                                                                                                                                                                                                                                                                                                                                                                                                                     marking your ballot: Esta NO es su boleta de Voto Por Correo utilizada
                                             A VOTE HERE IS A VOTE FOR ALL                                                                                    HUDSON COUNTY                                                                                                                                                                                                  1.) Use ONLY a pencil or ink pen (black or blue) to mark your ballot. Do not use red ink.
                                                                                                                                                                                            2I                                                                                NO PERSONAL CHOICE FOR DELEGATES                                                       para emitir     su voto. Si usted necesita solicitar un duplicado de la boleta de voto por
                                              DELEGATES AND ALTERNATES                                                                                     REPUBLICAN COMMITTEE                                                                                                                                                                                              2.) Completely fill in the oval to the right of each of your selections.
                                          UN VOTO AQUI ES UN VOTO POR TODOS                                                                               Christopher J. CHRISTIE Henry Y. KUHL                                                                                                                                                                      correo, porMARK favor          llame            al (201) 369-3470, opción 6.
                                                                                                                                                                                                                                                                                  NO HAY SELECCIÓN PERSONAL                                                                            BALLOT LIKE      THIS.
                                        LOS DELEGADOS Y DELEGADOS SUPLENTES                                                                               Michael L. TESTA        Edward S. WALSH                                                                                      PARA DELEGADOS                                                                                                    John Doe
                                           For Delegates-At-Large to the                                                                                  Joseph PENNACCHIO Afzal BARLAS
                                          Republican National Convention                                                                                  Kristin CORRADO       Joanne GILMORE
                                                                                                                                                                                                                                                                                                                                                                                3.) To vote for any person
                                                                                                                                                                                                                                                                                                                                                                     A los votantes                    quewhoserecibieron
                                                                                                                                                                                                                                                                                                                                                                                                                      name is not printed on thisuna             the oval by
                                                                                                                                                                                                                                                                                                                                                                                                                                                  ballot fill in boleta        de voto por correo se les solicita enviar
                                                                                                                                                                                                                                                                                                                                                                                      the words “Write-In Vote” under that office. Write the name of the person for
                                          Para Delegados en General a la                                                                                  Edward Bruce DiDONATO Munr KAZMIR
                                                                                                                                                                                                                                                                                                                                                                     su boleta which   por    you wish  to vote on the blank
                                                                                                                                                                                                                                                                                                                                                                                                    correo              a line.
                                                                                                                                                                                                                                                                                                                                                                                                                             laYouJunta                  any name
                                                                                                                                                                                                                                                                                                                                                                                                                                      may not write-inElectoral               del Condado de Hudson en el sobre que
                                         Convención Nacional Republicana                                                                                                                                                                                                                                                                                                              that is printed on the ballot.

                                                                                                                                                          John V. AZZARITI        Alexander C. MARKOWITS
                                                                                                                                                                                                                                                                                                                                                                     ya tiene4.) elIf youfranqueo                      pagado
                                                                                                                                                                                                                                                                                                                                                                                              tear, deface or incorrectly    mark this ballot,(no
                                                                                                                                                                                                                                                                                                                                                                                                                                               return itnecesita
                                                                                                                                                                                                                                                                                                                                                                                                                                                          to a district        estampilla) lo antes posible. Las boletas
                                          For Alternate Delegates-At-Large                                                                                Stavros G. CHRISTOUDIAS Darlene SHOTMEYER                                                                                                                                                                                                    and obtain a new ballot.
                                       to the Republican National Convention                                                                              Susan L. ENDERLY         Thomas P. RAGUKONIS
                                                                                                                                                                                                                                                                                                                                                                     devueltas board   porworker   correo             deben ser estampilladas a más tardar el 7 de Julio de 2020 a las
                                                                                                                                                                                                                                                                                                                                                                                5.) Insert completed ballot in affirmation envelope, then return to district board worker.
                                        Para Delegados Generales Suplentes                                                                                Janice M. FIELDS         Dorothy BURGER                                                                                                                                                                    8:00 p.m. Las      *** Please     be sure to complete
                                                                                                                                                                                                                                                                                                                                                                                                   boletas                     and sign affirmation.
                                                                                                                                                                                                                                                                                                                                                                                                                          también                se pueden colocar en una de las muchas casillas de
                                       a la Convención Nacional Republicana                                                                               Michael LAVERY           Theresa A. WINEGAR
                                                                                                                                                                                                                                                                                                                                                                     seguridad de votación electoral ubicadas en todo el condado. Las ubicaciones de los                                                  8
                                    For 10th Congressional District Delegates                                                                                                                                                                                                                                                                                        casilleros electorales de votación del condado de Hudson se pueden encontrar en
                                      to the Republican National Convention                                                                               Mary Devon O’BRIEN
                                   Para Delegados del Distrito 10° del Congreso                                                                           Douglas FREEMAN
                                                                                                                                                          Kamei HARRIS
                                                                                                                                                                                                                                                                                                                                                                     www.hudsoncountyclerk.org. La fecha límite para colocarlo en uno de los buzones
                                      a la Convención Nacional Republicana                                                                                                                                                                                                                                                                                                 INSTRUCCIONES                     IMPORTANTES                                     ELECTORES
                                       For 10th Congressional Alternate District                                                                                                                                                                                                                                                                                     de seguridad                 o para             entregar AsuLOS                  boleta                en persona a la Junta Electoral del Condado
                                                                                                                                                          Daniel BECKELMAN                                                                                                                                                                                                    Favor de leer lo siguiente antes de marcar la boleta:
                                   Delegates to the Republican National Convention                                                                                                                                                                                                                                                                                   de Hudson            es el 7 de Julio de 2020 a las 8:00 p.m.
                                                                                                                                                          Shane BERGER                                                                                                                                                                                                    1.) Use solamente un lápiz o boligrafo (tinta negra o azul) para marcar su boleta. No use tinta roja.
                                       Para Delegados Suplentes del Distrito 10°
                                                                                                                                                          Lawrence DIMAURO
                                  del Congreso a la Convención Nacional Republicana                                                                                                                                                                                                                                                                                           2.)     Rellene el óvalo completamente a la derecha de cada una de sus selecciones.
                                             For United States Senator                Keep America Great                 America First                    Hudson County                                    Prevent CA East                    We The People                                                                                                          Hay unMARQUE
                                                                                                                                                                                                                                                                                                                                                                                número    LA BOLETA limitado
                                                                                                                                                                                                                                                                                                                                                                                                       DE ESTÁ FORMA. de lugares de votación disponibles para los votantes en el día
                                                                                      New Jersey                   3G    Republicans                 3H   Republican                        3I                                           3J                              3K   Write-In Vote
                                                    (VOTE FOR ONE)                                                                                                                                                                                                                                                                                                                    John Doe
                                                                                                           HIRSH                          PATRICIA        Committee       RIKIN RIK                                          EUGENE T.               NATALIE LYNN             Votar por Escrito                                                                      de las   elecciones,                    donde solo boletas provisionales de papel estarán disponibles para
                                        Para Senador de los Estados Unidos                                                                                                                                                                                                                                                                                                3.) Para votar por cualquier persona cuyo nombre no está impreso en esta boleta, rellene el óvalo
                                                    (VOTE POR UNO)                                    SINGH                   FLANAGAN                                    MEHTA                                   ANAGNOS                                     RIVERA                                                                                                 emitir sudonde  aparece  las palabras
                                                                                                                                                                                                                                                                                                                                                                                     voto. La “Write-In      ubicación Vote” (Votar pordeEscrito) subajo esa
                                                                                                                                                                                                                                                                                                                                                                                                                                                          lugaroficina. Ende           en
                                                                                                                                                                                                                                                                                                                                                                                                                                                                             la líneavotación  está al otro lado de esta boleta de
                                   For Member of the House of Representatives                                                                             Hudson County                                                                                                                                                                                                       blanco, escriba el nombre de la persona por quien usted desea votar. No se puede escribir
                                                                                                                                                          Republican             4I                                                                                           Write-In Vote                                                                                   cualquier             impreso en la boleta.
                                                    (VOTE FOR ONE)                                                                                                                                                                                                                                                                                                   muestra.        Sinombre
                                                                                                                                                                                                                                                                                                                                                                                            unyavotante                 tiene una discapacidad y necesita una boleta electoral accesible,
                                                                                                                                                          Committee     JENNIFER                                                                                              Votar por Escrito
                                  Para Miembro de la Cámara de Representantes                                                                                                                                                                                                                                                                                             4.) Si usted rompe, desfigura o marca esta boleta incorrectamente, devuélvala al trabajador
                                                    (VOTE POR UNO)                                                                                                        ZINONE                                                                                                                                                                                     puede    llamar            a    la     Oficina             del       Secretario
                                                                                                                                                                                                                                                                                                                                                                              de la junta electoral del distrito para obtener una nueva boleta.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                            del        Condado  o puede ir a su lugar de votación
                                                   For Freeholder                                                                                                                                                                                                             Write-In Vote                                                                               5.) Ponga la boleta
                                                                                                                                                                                                                                                                                                                                                                     asignado,          elcompleta
                                                                                                                                                                                                                                                                                                                                                                                               cual   en el sobre  afirmación y devuélvala al trabajador de la junta
                                                                                                                                                                                                                                                                                                                                                                                                             ledeproporcionará                                 accesoelectoral del distrito.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       a un dispositivo de votación accesible en
                                                    (VOTE FOR ONE)                                                                                              NO PETITION FILED                                                                                                                                                                                               *** Favor de estar seguro de que haya llenado y firmado la afirmación.
                                                                                                                                                                                                                                                                              Votar por Escrito                                                                      persona el Día de la Elección Primaria.
                                     Para Representante al Nivel del Condado                                                                              PETICIÓNES NO FUERON SOMETIDAS
                                                    (VOTE POR UNO)

                                                                                                                                                                                                                                                                                                                                                                     Esta boleta de muestra de la elección primaria también se puede encontrar en www.
                                  Jersey City - Form 12 Republican                                                                                                                                                                                                                                                                                                   hudsoncountyclerk.org. Se publicará una boleta de muestra en cada lugar de votación.
                                                                                                                                                                                                                                                                                                                                                                     Si usted tiene preguntas, por favor llamar a la oficina del Secretario del Condado al
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 Case 3:20-cv-08267-ZNQ-TJB Document 33-1 Filed 01/25/21 Page 30 of 67 PageID: 431




                                                                                                                                                                                                                                                                                                                                                                     (201) 369-3470, opción 6 o la Junta de Elecciones del Condado al (201) 369-3435.
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                HUNTERDON
                 COUNTY
          Case 3:20-cv-08267-ZNQ-TJB Document 33-1 Filed 01/25/21 Page 32 of 67 PageID: 433




         OFFICIAL DEMOCRATIC PROVISIONAL BALLOT
           PRIMARY ELECTION • July 7, 2020 • Hunterdon County, NJ • 7th Congressional District
                                   FRANKLIN TOWNSHIP
                                                                  UNITED STATES SENATE                                 TOWNSHIP COMMITTEE
                                                            Six (6) Year Term • Vote for One (1)                Three (3) Year Term • Vote for One (1)
                     Mary H. Melfi
                                                     LAWRENCE HAMM                                      ➞   JOHN BENSCOTER                                     ➞
                 Hunterdon County Clerk
                                                     Not Me. Us.                                            Hunterdon County Regular Democratic Organization
                                                     CORY BOOKER                                        ➞   WRITE-IN                                           ➞
                                                     Hunterdon County Regular Democratic Organization
   IMPORTANT INSTRUCTIONS TO VOTERS                  WRITE-IN                                           ➞

Please read the following before marking your
ballot:
1. Use ONLY a pencil or ink pen (black or blue)
   to mark your ballot. Do not use red ink.
2. Completely fill in oval to the right of each of                 UNITED STATES
   your selections.                                         HOUSE OF REPRESENTATIVES
   MARK BALLOT LIKE THIS:                                Two (2) Year Term • Vote for One (1)
              John DOE ➞                             TOM MALINOWSKI                                     ➞
3. To vote for any person whose name is not          Hunterdon County Regular Democratic Organization
   printed on this ballot, darken the oval by the    WRITE-IN                                           ➞
   words “write-in” for the office in which you
   want to write-in. Write the name of the
   person for which you wish to vote on the
   blank line.
4. If you tear, deface or incorrectly mark this              BOARD OF CHOSEN FREEHOLDERS
   ballot, return it to the Hunterdon County               Three (3) Year Term • Vote for One (1)
   Clerk’s Election Office and obtain a new          PATRICK D. HELLER                                  ➞
   ballot.                                           Hunterdon County Regular Democratic Organization
                                                     WRITE-IN                                           ➞
         CHOICE FOR PRESIDENT
            AND DELEGATES
          11th Delegate District
          Vote for One (1) Slate
JOSEPH R. BIDEN                              ➞
Delegates:
Linda Telschow, Thomas Regrut, Kendall Lopez
Hunterdon County Regular Democratic Organization


BERNIE SANDERS                               ➞
Delegates:
Patricia Campos Medina, Mary Gerhold,
Aaron Hyndman
Bernie 2020. Not Me. Us.


Uncommitted Delegates:
Christine Chan, Janice J.Miller              ➞

WRITE-IN                                     ➞




BALLOT CONTINUES IN NEXT COLUMN                           BALLOT CONTINUES IN NEXT COLUMN                                        END OF BALLOT


                                                     3!-0,% "!,,/4
             Case 3:20-cv-08267-ZNQ-TJB Document 33-1 Filed 01/25/21 Page 33 of 67 PageID: 434




             OFFICIAL REPUBLICAN PROVISIONAL BALLOT
               PRIMARY ELECTION • July 7, 2020 • Hunterdon County, NJ • 7th Congressional District
                                       FRANKLIN TOWNSHIP
                                                                              UNITED STATES SENATE                                   TOWNSHIP COMMITTEE
                                                                        Six (6) Year Term • Vote for One (1)                  Three (3) Year Term • Vote for One (1)
                                                                   NATALIE LYNN RIVERA                                ➞   PHILIP KOURY                                       ➞
                              Mary H. Melfi
                          Hunterdon County Clerk
                                                                   We The People                                          Hunterdon County Regular Republican Organization
                                                                   EUGENE T. ANAGNOS                                  ➞   WRITE-IN                                           ➞
    IMPORTANT INSTRUCTIONS TO VOTERS                               Prevent CA East
                                                                   PATRICIA FLANAGAN                                  ➞
Please read the following before marking your                      America First Republicans
ballot:                                                            RIKIN “RIK” MEHTA                                  ➞
1. Use ONLY a pencil or ink pen (black or blue)                    Hunterdon County Regular Republican Organization
   to mark your ballot. Do not use red ink.                        HIRSH SINGH                                        ➞
                                                                   Keep America Great New Jersey
2. Completely fill in oval to the right of each of
   your selections.                                                WRITE-IN                                           ➞
   MARK BALLOT LIKE THIS:
              John DOE ➞
3. To vote for any person whose name is not
   printed on this ballot, darken the oval by the                                UNITED STATES
   words “write-in” for the office in which you                           HOUSE OF REPRESENTATIVES
                                                                       Two (2) Year Term • Vote for One (1)
   want to write-in. Write the name of the
   person for which you wish to vote on the                        THOMAS H. KEAN JR.                                 ➞
                                                                   Hunterdon County Regular Republican Organization
   blank line.
4. If you tear, deface or incorrectly mark this                    RAAFAT BARSOOM                                     ➞
                                                                   Keep America Great New Jersey
   ballot, return it to the Hunterdon County                       TOM PHILLIPS                                       ➞
   Clerk’s Election Office and obtain a new                        America First
   ballot.                                                         WRITE-IN                                           ➞
             PRESIDENT/DELEGATES
                Vote for One (1)
DONALD J. TRUMP                                                ➞
Hunterdon County Regular Republican Organization
                                                                           BOARD OF CHOSEN FREEHOLDERS
DELEGATES                            ALTERNATE DELEGATES                 Three (3) Year Term • Vote for One (1)
Christopher J. Christie              John V. Azzariti
Michael L. Testa                     Stavros G. Christoudias       SHAUN C. VAN DOREN                                 ➞
Joseph Pennacchio                    Susan L. Enderly
Kristin Corrado                      Janice M. Fields              Hunterdon County Regular Republican Organization
Edward Bruce Didonato                Michael Lavery                WRITE-IN                                           ➞
Henry Y. Kuhl                        Alexander C. Markowits
Edward S. Walsh                      Darlene Shotmeyer
Afzal Barlas                         Thomas P. Ragukonis
Joanne Gilmore                       Dorothy Burger
Munr Kazmir                          Theresa A. Winegar

                                     DISTRICT DELEGATES
                                     Alfred Gaburo
                                     Jeffrey Michaels
                                     John Scheuerman

WRITE-IN                                                       ➞




BALLOT CONTINUES IN NEXT COLUMN                                         BALLOT CONTINUES IN NEXT COLUMN                                        END OF BALLOT


                                                                   3!-0,% "!,,/4
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                        MERCER
                        COUNTY
                                                                                                                                                                                      OFFICIAL PRIMARY ELECTION SAMPLE BALLOT
                                                                                                                                                                                                           Robbinsville Borough
                                                                                                                                                                                                                     Mercer County, New Jersey                                                                                                                                                   PAULA SOLLAMI COVELLO
                                                                                                                                                                                                                             OFFICIAL
                                                                                                                                                                                                                            July       PRIMARY ELECTION BALLOT
                                                                                                                                                                                                                                 7, 2020                                                                                                                                                           Mercer County Clerk
                                                                                                                                                                                                                                                                                                                                                                                                  209 South Broad Street
                                                                                                                                                                                                                      4th Congressional District                                                                                                                                           P.O. Box 8068, Trenton, NJ 08650-0068
                                                                                                                                 ATTENTION VOTERS                                                                                               Robbinsville Township
                                                                                                          IN ORDER FOR YOU TO PROPERLY CAST YOUR VOTE,
                                                                                                               THE OVERHEAD LIGHT MUST BE LIT AND                         VOTERS
                                                                                                                                                            ATTENTIONMercer      County, New Jersey                                                                                                                                                                                                                     PAULA SOLLAMI COVELLO
                                                                                                          THERE SHOULD BE AN ‘ X ’ NEXT TO EACH SELECTION.
                                                                                                                                                  IN ORDER FOR YOU TO PROPERLY CAST YOUR
                                                                                                                                                                                 July    VOTE,
                                                                                                                                                                                      7, 2020                                                                                                                                                                                                                                 Mercer County Clerk
                                                                                                                                                                                                               THE OVERHEAD LIGHT MUST BE LIT AND
                                                                                                                                                                                                                                     4th Congressional District
                                                                                                                                                                                                          THERE SHOULD BE AN ‘ X ’ NEXT TO EACH SELECTION.

                                                                                                                                          DEMOCRATIC                                                                                                                                                                                           REPUBLICAN
                                                                                         Column                                     Column                                         Column                                  Column                                                                                                       Column                                        Column
                                                                                                                                                                                                                                                     PERSONAL                                                                                                                                                         PERSONAL
                             OFFICE TITLE                                                                                                                                                                                                                                          OFFICE TITLE
                                                                                          A                                             B                                             C                                        D                      CHOICE                                                                                   E                                       F                               CHOICE
                                                                                    Democratic                                   Democratic                                     Democratic                               Democratic                                                                                                  Republican                                 Republican
                                                                    Regular Democratic                                                                          Bernie 2020.                                                                                                                                                                                   Regular Organization
                                 U.S. President                     Organization         Joseph R.                                                              Not Me. Us.                Bernie               A VOTE HERE IS A VOTE FOR ALL                                          U.S. President                                                          Republican              Donald J.
                               4 Year Term - Vote for One
                                                                                                            1A                                                                                            1C   UNCOMMITTED DELEGATES BELOW      1D                        1          4 Year Term - Vote for One                                                                                             1F                            1
                                                                                            BIDEN                                                                                 SANDERS                                                                                                                                                                                              TRUMP
                                                                                A VOTE ABOVE IS A VOTE                                                                         A VOTE ABOVE IS A VOTE                   A VOTE ABOVE IS A VOTE       NO PERSONAL CHOICE                                                                                          A VOTE HERE IS A VOTE FOR ALL                       NO PERSONAL CHOICE
                                                                                  FOR ALL DELEGATES                                                                              FOR ALL DELEGATES                 FOR ALL UNCOMMITTED DELEGATES                                                                                                                    DELEGATES & ALTERNATES                  2F
                                                                                     JOSEPH R. BIDEN                                                                               BERNIE SANDERS                                                      FOR DELEGATES              Delegates-at-Large to                                                                    DONALD J. TRUMP                             FOR DELEGATES
                            8th District Delegates to                                                                                                                                                                       UNCOMMITTED
                                                                                    Biden For President                                                                        Bernie 2020. Not Me. Us.                                                                           Republican National                                                                Regular Organization Republican
                              Democratic National                    Linda GREENSTEIN                                                                                                                          Joseph WOLFGANG                                                                                                                                 Christopher J. CHRISTIE    Henry Y. KUHL
                                                                                                                                                                 Rano BANERJEE                                                                                                        Convention
                                  Convention                         Cathleen LEWIS                                                                              Lizette DELGADO                                                                                                                                                                               Michael L. TESTA           Edward S. WALSH
                                                                     Sharon SHINKLE                                                                              Franceline EHRET                                                                                                         Vote for One Slate                                                   Joseph PENNACCHIO          Afzal BARLAS
                                                                     Bruce STERN                                                                                 Brady RIVERA                                                                                                                                                                                  Kristin CORRADO            Joanne GILMORE
                                                                     Kelvin GANGES                                                                               Neeharika THURAVIL                                                                                                                                                                            Edward Bruce DiDONATO      Munr KAZMIR
                                                                    Regular Democratic                            Not Me. Us.
                                   U.S. Senate                      Organization                 Cory                                  Lawrence                                                                                                                                                                                                                John V. AZZARITI            Alexander C. MARKOWITS
                               6 Year Term - Vote for One
                                                                                                            2A                                             2B                                                                                                             2                                                                                    Stavros G. CHRISTOUDIAS     Darlene SHOTMEYER
                                                                                         BOOKER                                          HAMM                                                                                                                                  Alternate Delegates-at-Large                                                    Susan L. ENDERLY            Thomas P. RAGUKONIS
                                                                    Regular Democratic                            Fairness in Healthcare, Schools,                                                                                                                                                                                                             Janice M. FIELDS            Dorothy BURGER
                                                                    Organization          Christine               Local Businesses.                David                                                                                                                                                                                                       Michael LAVERY              Theresa A. WINEGAR
                                                                                                            3A                                             3B                                                                                                             3
                         U.S. House of Representatives                              CONFORTI                                    APPLEFIELD
                               2 Year Term - Vote for One           Mercer County                                                                                                                                                                                                                                                                              Christine Giordano HANLON
                                                                    Democrats            Stephanie                                                                                                                                                                                  4th Congressional                                                          Lisa RICHFORD
                                                                                                            4A                                                                                                                                                                      District Delegates                                                         Michael THULEN
                                                                                         SCHMID
                                                                    Regular Democratic                                                                                                                                                                                                                                                                         Thomas ARNONE
                                       Sheriff                      Organization     John A. “Jack”                                                                                                                                                                                  4th Congressional                                                         Shaun GOLDEN
                               3 Year Term - Vote for One
                                                                                                            5A                                                                                                                                                            5
                                                                                         KEMLER                                                                                                                                                                                 Alternate District Delegates                                                   Jeffrey POLIZZI
                                                                    Regular Democratic                                                                                                                                                                                                                             Prevent CA East                             Regular Organization
                                  County Clerk                      Organization               Paula                                                                                                                                                                                                                                      Eugene T.            Republican             Rikin “Rik”
                               5 Year Term - Vote for One
                                                                                                            6A                                                                                                                                                            6                                                                               3E                                                3F                            3
                                                                         SOLLAMI COVELLO                                                                                                                                                                                                                                             ANAGNOS                                           MEHTA
                                                                    Regular Democratic                                                                                                                                                                                                                             We the People
                                                                    Organization         Lucylle RS                                                                                                                                                                                                                                  Natalie Lynn
                                 Board of                                                                   7A                                                                                                                                                            7                                                                               4E
                                                                                         WALTER                                                                                                                                                                                          U.S. Senate                                      RIVERA




ROBBINSVILLE - FORM 13
                            Chosen Freeholders                      Regular Democratic                                                                                                                                                                                               6 Year Term - Vote for One    Keep America Great
                               3 Year Term - Vote for Two           Organization            John A.                                                                                                                                                                                                                New Jersey                    Hirsh
                                                                                                            8A                                                                                                                                                            8                                                                               5E
                                                                                          CIMINO                                                                                                                                                                                                                                               SINGH
                                                                    Regular Democratic                                                                                                                                                                                                                             America First Republicans
                                                                    Organization              Teresa                                                                                                                                                                                                                                           Patricia
                                                                                                            9A                                                                                                                                                            9                                                                               6E
                               County Committee                                     STIMPFEL                                                                                                                                                                                                                                         FLANAGAN
                                2 Year Term - Vote for Two          Regular Democratic                                                                                                                                                                                                                             G-D Great Again                             Regular Organization
                                                                    Organization            Charles                                                                                                                                                                            U.S. House of Representatives in the USA                 Alter Eliezer          Republican      Christopher H.
                                                                                                            10A                                                                                                                                                           10         2 Year Term - Vote for One
                                                                                                                                                                                                                                                                                                                                                          7E                                                7F                            7
                                                                                          AUSTIN                                                                                                                                                                                                                                        RICHTER                                         SMITH
                                                                                                                                                                                                                                                                                                                                                               Regular Organization
                         Master ENG 4th                                                                                                                                                                                                                                                      Sheriff                                                           Republican          Bryan “Bucky”            8F                            8
                         Robbinsville, Form 13,              D1                                                                                                                                                                                                                      3 Year Term - Vote for One                                                          BOCCANFUSO
                                                                                                                                                                                                                                                                                        County Clerk                                                              NO PETITION FILED                                                       9
                                                                                                                                                                                                                                                                                     5 Year Term - Vote for One


                                                                                                                                                                                                                                                                                       Board of                                                                   NO PETITION FILED                                                       10
                                                                                                                                                                                                                                                                                  Chosen Freeholders
                                                                                                                                                                                                                                                                                     3 Year Term - Vote for Two                                                   NO PETITION FILED                                                       11

                                                                                                                                                                                                                                                                                                                                                                  NO PETITION FILED                                                       12
                                                                                                                                                                                                                                                                                     County Committee
                                                                                                                                                                                                                                                                                      4 Year Term - Vote for Two
                                                                                                                                                                                                                                                                                                                                                                  NO PETITION FILED                                                       13

                                                                                                                                  INSTRUCTIONS FOR VOTING
                                                                  1. Press the button     to the right of the candidate of your choice; a Green “X” will appear next to your selection.
                                                                  2. If you wish to cast a WRITE-IN vote, go to the PERSONAL CHOICE column, press the button                     across from the office you wish
                                                                     to write-in. A blinking Green “X” will appear. Using the keyboard below, enter the name of the person of your choice, one letter
                                                                     at a time. To make a space between first and middle name or initial and last name use the arrow pointing to the right on the
                                                                     keyboard. To make a correction, use the arrow pointing to the left. The name you enter will appear in the display to the left of the
                                                                     keyboard. After you have completed your selection, press the ENTER key on the keyboard. Your choice is recorded and removed
                                                                     from the display. Do not press the Cast Vote Button until all other choices are complete. (Each write-in is a separate entry).
                                                                     **IMPORTANT** When choosing a PERSONAL CHOICE (Write-In), whatever OFFICE you choose to put in a PERSONAL CHOICE FOR,
                                                                     THAT IS THE ONLY OFFICE TO WHICH THE VOTE WILL BE COUNTED. Please read the face of the Ballot carefully before taking this                                                                                                                                                     TO RECORD YOUR VOTE
                                                                     option. Should you have any questions relative to the PERSONAL CHOICE, PLEASE ask the District Board Worker before entering the
                                                                     voting booth.“WARNING” An improperly cast vote will not be counted.                                                                                                                                                                                                            DO NOT PRESS THE “CAST VOTE”
                                                                                                                                                                                                             PLEASE SEE REVERSE SIDE
                                                                  3. To change any selection, press the button      again. The Green “X” will disappear and you may make a new selection.                                                                                                                                                          BUTTON UNTIL YOU HAVE
                                                                                                                                                                                                                                                                                                                                                                       TOMADE ALL
                                                                                                                                                                                                                                                                                                                                                                          RECORD    YOUR VOT
                                                                                                                                                                                                          FOR LIST OF COUNTY COMMITTEE
                                                                  4. After ALL the selections have been made, press the RED CAST VOTE BUTTON located in the lower right corner. This electronically records                                                                                                                                             DESIRED SELECTIONS. DO NOT PRESS THE
                                                                     all of your votes.                                                                                                                      CANDIDATES BY DISTRICT
                                                                                                                                                                                                                                                                                                                                                                                                                                               Case 3:20-cv-08267-ZNQ-TJB Document 33-1 Filed 01/25/21 Page 35 of 67 PageID: 436




                                                                                                                                                                                                                                                                                                                                                                         “CAST VOTE” BUTTON
                                                                                                                                                                                                                                                                                                                                                          CAST VOTE BUTTON
                                                                  5. Part the curtains and exit the voting booth.
                                                                                                                                                                                                                                                                                                                                                                                                                     UNTIL YOU HAVE MADE
                                                                                                                                                                                                                                                                                                                                                                                                                    ALL DESIRED SELECTIONS.
                                                                                                                                                                                                                                                                                                                                                                                                            CAST VOTE BUTTO
Robbinsville Township - DEMOCRATIC
DISTRICT    COUNTY COMMITTEE - VOTE FOR TWO                 DISTRICT   COUNTY COMMITTEE - VOTE FOR TWO   DISTRICT   COUNTY COMMITTEE - VOTE FOR TWO   DISTRICT   COUNTY COMMITTEE - VOTE FOR TWO   DISTRICT   COUNTY COMMITTEE - VOTE FOR TWO   DISTRICT   COUNTY COMMITTEE - VOTE FOR TWO

   1                  R
                       TERESA
                       EGULAR
                            D
                               STIMPFEL
                                EMOCRATIC
                                  O           RGANIZATION

   1                  R
                         CHARLES
                       EGULAR
                            D
                                 AUSTIN
                                EMOCRATIC
                                  O           RGANIZATION

   2                  R
                          SONJA
                       EGULAR
                            D
                                WALTER
                                EMOCRATIC
                                  O           RGANIZATION

   2                   EGULAR   EMOCRATIC
                     GRUS T.DSIGGELAKIS
                                  O           RGANIZATION

   3                   EGULAR
                     ARNTONIO
                            D
                              MARTINEZ
                                EMOCRATIC
                                  O           RGANIZATION

   3                       NO PETITION FILED
   4              ANTHONY
                    R    D
                           SALVATORE
                       EGULAR   EMOCRATIC
                                 O            RGANIZATION

   4             GERALDINE
                    R    D
                           SALVATORE
                       EGULAR   EMOCRATIC
                                 O            RGANIZATION

   5                R
                       BIANCA
                       EGULAR
                         D      EMOCRATIC
                              I. OJEREZ       RGANIZATION

   5                       NO PETITION FILED
   6                   EGULAR   EMOCRATIC
                    JRAMES DD. FREEMAN
                                   O          RGANIZATION

   6                 R
                        ROBERT
                       EGULAR
                           D    EMOCRATIC
                                P. ODAVIS     RGANIZATION

   7                 R
                       AMBER
                       EGULAR
                           D
                               HALPERN
                                EMOCRATIC
                                   O          RGANIZATION

   7                       NO PETITION FILED
   8                M
                    R
                      ICHAEL ESPOSITO
                       EGULAR
                          D     EMOCRATIC
                                 O            RGANIZATION

   8                R  EGULAR   EMOCRATIC
                         FDIZZA SEEHRA
                                 O            RGANIZATION

   9             THOMAS
                    R  EGULAR
                                     Jr.
                                EMOCRATIC
                         J.D HASTIE,
                                 O            RGANIZATION

   9       NOUSHIN KANANI
                    R  EGULAR
                          D
                             ASADPOUR
                                EMOCRATIC
                                 O            RGANIZATION




Robbinsville Township - REPUBLICAN
DISTRICT    COUNTY COMMITTEE - VOTE FOR TWO                 DISTRICT   COUNTY COMMITTEE - VOTE FOR TWO   DISTRICT   COUNTY COMMITTEE - VOTE FOR TWO   DISTRICT   COUNTY COMMITTEE - VOTE FOR TWO   DISTRICT   COUNTY COMMITTEE - VOTE FOR TWO

   1                       NO PETITION FILED
   1                       NO PETITION FILED
   2                       NO PETITION FILED
   2                       NO PETITION FILED
   3                  CHRISTINE CIACCIO
                      REGULAR ORGANIZATION REPUBLICAN

   3                       NO PETITION FILED
   4                   ANTHONY CIACCIO
                      REGULAR ORGANIZATION REPUBLICAN

   4                       NO PETITION FILED
   5                       NO PETITION FILED
   5                       NO PETITION FILED
   6             VINCENT
                     R EGULAR   RGANIZATION
                         J.O CALCAGNO
                                 R             EPUBLICAN

   6                       NO PETITION FILED
   7                       NO PETITION FILED
   7                       NO PETITION FILED
   8                       MARIE E. ONDY
                      REGULAR ORGANIZATION REPUBLICAN

   8                       NO PETITION FILED
   9                       NO PETITION FILED
   9                       NO PETITION FILED
                                                                                                                                                                                                                                                                                             Case 3:20-cv-08267-ZNQ-TJB Document 33-1 Filed 01/25/21 Page 36 of 67 PageID: 437
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                 MIDDLESEX
                  COUNTY
Case 3:20-cv-08267-ZNQ-TJB Document 33-1 Filed 01/25/21 Page 38 of 67 PageID: 439


                                                                                                Democratic Provisional Ballot
                                                                                             Primary Election, Tuesday, July 7, 2020
                                    Elaine M. Flynn
                                 Middlesex County Clerk                                         County of Middlesex, New Jersey

                                                                                                                                                        PERSONAL
             OFFICE TITLE                     DEMOCRATIC       A   DEMOCRATIC        B       DEMOCRATIC   C   DEMOCRATIC   D    DEMOCRATIC      E        CHOICE


                                                                       Joseph R.                Bernie
                                                                        BIDEN                 SANDERS         Uncommitted
       Choice for President and                                          DISTRICT           DISTRICT             DISTRICT
          Delegates to the                                             DELEGATES          DELEGATES             DELEGATES
                                                                   Ernestine MCCASKILL    Adeel AHMED         Sharon SULLIVAN
         Democratic National                                           James ROWE          Wilda DIAZ
             Convention                                               Patrick COVENY        John HSU
                    10th District                                      ALTERNATE          ALTERNATE                                                       Write-in
       A vote for President is an automatic                              DISTRICT           DISTRICT
          vote for all affiliated delegates                            DELEGATES          DELEGATES




                                                                                                                E
                                                                      Michele JAKER           Sarwat
                                                                     Middlesex County    MALIK-HASSAN
                                                                        Democratic     Bernie 2020. Not Me.
                                                                        Organization           Us.


               U.S. Senator                     Lawrence                 Cory
                  6 Year Term                    HAMM                  BOOKER                                                                             Write-in
                  Vote for One                   Not Me. Us.         Middlesex County
                                                                   Democratic Organization



       Member of the House of
          Representatives
             6th District
             2 Year Term
                  Vote for One



               County Clerk
                  5 Year Term
                  Vote for One
                              Russell "Russ" Frank
                              CIRINCIONE PALLONE JR.



                                                 Herb
                                               TARBOUS
                                                           PL
                                                 Not Me. Us.




                                                 Not Me. Us.




                                               Neeharika
                                               THURAVIL
                                                                     Middlesex County
                                                                   Democratic Organization



                                                                        Nancy J.
                                                                        PINKIN
                                                                     Middlesex County
                                                                   Democratic Organization



                                                                        Charles
                                                                       TOMARO
                                                                     Middlesex County
                                                                                                                                    Amani
                                                                                                                                AL-KHATAHTBEH
                                                                                                                                Make Democracy Happen
                                                                                                                                                          Write-in




                                                                                                                                                          Write-in




                                                                                                                                                          Write-in
                     M
                                                 Not Me. Us.
       Members of the Board of                                     Democratic Organization
        Chosen Freeholders
                  3 Year Term
                  Vote for Two
                                                Catherine               Leslie
                                                 HUNT                  KOPPEL                                                                             Write-in
                                                 Not Me. Us.         Middlesex County
                                                                   Democratic Organization



                                                                         Randy
                                                                         KRUM                                                                             Write-in
       Members of the Borough
SA

                                                                     Middlesex County
                                                                   Democratic Organization
             Council
                  3 Year Term
                  Vote for Two
                                                                        Susan
                                                                       NAPLES
                                                                     Middlesex County                                                                     Write-in
                                                                   Democratic Organization




                                                                                                                                    Please see back
                                                                                                                                    for instructions.
                                                                                                                                    Instrucciones Al Reverso
             DEMOCRATIC                                                     01 Borough of Carteret
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                                                                                                      Republican Provisional Ballot
                                                                                                  Primary Election, Tuesday, July 7, 2020
                                    Elaine M. Flynn
                                 Middlesex County Clerk                                              County of Middlesex, New Jersey
                                                                                                                                                            PERSONAL
            OFFICE TITLE                    REPUBLICAN         F REPUBLICAN G REPUBLICAN H REPUBLICAN I REPUBLICAN J                                         CHOICE

        Choice for President                                                                Donald J.
                  4 Year Term
                  Vote for One                                                              TRUMP                                                             Write-in
                                                                                              Republican



          Delegates to the                                                                Middlesex
         Republican National                                                               County
            Convention                                                                   Republican
                   6th District                                                          Organization
         Vote for one slate of affiliated                                              Christopher J. CHRISTIE,




                                                                                                                     E
                                                                                       Michael L. TESTA, Joseph
          Delegates and Alternates                                                       PENNACCHIO, Kristin
                                                                                       CORRADO, Edward Bruce
                                                                                      DIDONATO, Henry Y. KUHL,
                                                                                       Edward S. WALSH, Afzal
                                                                                      BARLAS, Joanne GILMORE,
                                                                                             Munr KAZMIR
                                                                                      John V. AZZARITI, Stavros G.
         Alternate Delegates                                                           CHRISTOUDIAS, Susan L.
               At-Large                                                               ENDERLY, Janice M. FIELDS,
                                                                                       Michael LAVERY, Alexander
                                                                                        C. MARKOWITS, Darlene
                                                                                        SHOTMEYER, Thomas P.
                                                                                          RAGUKONIS, Dorothy
                                                                                          BURGER, Theresa A.



          District Delegates

           Alternate District
               Delegates


              U.S. Senator
                  6 Year Term
                  Vote for One


       Member of the House of
          Representatives
                  6th District
                  2 Year Term
                                                   Hirsh
                                                  SINGH
                                                           PL
                                            Keep America Great New
                                                   Jersey
                                                                     Natalie Lynn
                                                                      RIVERA
                                                                      We the People
                                                                                               WINEGAR

                                                                                       Robert BENGIVENGA JR.,
                                                                                       Brian KOLENDRISKI, Peter
                                                                                               CARTON

                                                                                         Arthur RITTENHOUSE,
                                                                                         Brajesh SINGH, Jarrett
                                                                                                BRANCH




                                                                                           Rikin "Rik"
                                                                                            MEHTA
                                                                                        Middlesex County
                                                                                      Republican Organization



                                                                                          No Petition
                                                                                            Filed
                                                                                                                       Patricia
                                                                                                                     FLANAGAN
                                                                                                              America First Republicans
                                                                                                                                          Eugene T.
                                                                                                                                          ANAGNOS
                                                                                                                                          Prevent CA East
                                                                                                                                                              Write-in




                                                                                                                                                              Write-in
                     M
                  Vote for One


              County Clerk                                                                 Joseph C.
                  5 Year Term
                  Vote for One                                                              WOLAK                                                             Write-in
                                                                                        Middlesex County
                                                                                      Republican Organization



                                                                                           John M.
                                                                                          MASCULIN                                                            Write-in
       Members of the Board of
SA

                                                                                        Middlesex County
                                                                                      Republican Organization
        Chosen Freeholders
                  3 Year Term
                  Vote for Two
                                                                                           Andrew T.
                                                                                            POLITI                                                            Write-in
                                                                                        Middlesex County
                                                                                      Republican Organization



                                                                                          No Petition
                                                                                            Filed                                                             Write-in
       Members of the Borough
             Council
                  3 Year Term
                  Vote for Two
                                                                                          No Petition
                                                                                            Filed                                                             Write-in




                                                                                                                                          Please see back
                                                                                                                                          for instructions.
                                                                                                                                          Instrucciones Al Reverso
             REPUBLICAN                                                   01 Borough of Carteret
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                 MONMOUTH
                  COUNTY
                                                                                                                                                                                                                                                      16 Township of Freehold

                         Christine Giordano Hanlon
                                                                                                  Official Democratic Mail-In Ballot
                                                                                   Primary Election, Tuesday, July 7, 2020, Monmouth County, New Jersey                                                                                             Democratic
                               Monmouth County Clerk

               Office Title              Democratic                 Democratic               Democratic                        Democratic                     Democratic                 Personal Choice

     Choice for President                   Joseph R.           4                                 Bernie           4                                                                                                   4
     and Delegates to the                     BIDEN                                            SANDERS                                                                                                                       Instructions to the Voter:
                                   Monmouth County Democrats                             Bernie 2020. Not Me. Us.
     Democratic National                                                                                                                                                                                                   1. To vote for any candidate whose
                                    Delegates: Mary FOSTER-                            Delegates: Joel E. SCHWARTZ,                                                                      write in (and fill in oval)
         Convention                                                                                                                                                                                                        name is printed on this ballot, fill in
    Seventh Delegate District       SCOALES, Michael DuPONT,                           Katherine TRIGGIANO, Anna-
    A vote for President is an      Joseph LIBUTTI, Ava JOHNSON                        M a r t a V I S K Y , D a n WO N                                                                                                    the oval to the right of the candidate's
                                    Alternate Delegate: Edward                         Alternate Delegate: Angus
      automatic vote for all        ZIPPRICH                                           McDOUGALD                                                                                                                           name (from this 4, to this 5). Do not
     affiliated Delegates and
       Alternate Delegates.                                                                                                                                                                                                vote for more than the number of
            Vote for One                                                                                                                                                                                                   candidates to be elected to each
                                                                                                                                                                                                                           office.
 For United States Senate                    Cory               4   Lawrence       4                                                                                                                                   4   2. Use ONLY a pencil or ink pen (black
                Vote for One              BOOKER                     HAMM                                                                                                                                                  or blue) to mark your ballot. Do not
                                    Monmouth County Democrats        Not Me. Us.
                                                                                                                                                                                         write in (and fill in oval)       use red ink.
        For U.S. House of                                                                                                       Christine                        David                                                     3. To vote for a person whose name is
         Representatives                 Stephanie              4                                                                                    4                               4                                 4
                                          SCHMID                                                                              CONFORTI                      APPLEFIELD                                                     not printed on this ballot, write the
          4th Cong. District                                                                                                Monmouth County               Fairness in Healthcare,
                                    Monmouth County Democrats
            Vote for One                                                                                                  Democrats for the People       Schools, Local Businesses                                         person's name on the blank line(s)
                                                                                                                                                                                         write in (and fill in oval)
                                                                                                                                                                                                                           (marked "write in") beside the proper
         For County Clerk
                Vote for One




      For Members of the
                                           Angela
                                    AHBEZ-ANDERSON
                                    Monmouth County Democrats


                                           Michael
                                           PENNA
                                    Monmouth County Democrats
                                                                4

                                                                4   Angelica
                                                                    ASHFORD
                                                                     Not Me. Us.
                                                                                   4
                                                                                                                                                                                       l e
                                                                                                                                                                                         write in (and fill in oval)
                                                                                                                                                                                                                       4

                                                                                                                                                                                                                       4
                                                                                                                                                                                                                           title of office and fill in the oval to the
                                                                                                                                                                                                                           right of the name (from this 4, to this
                                                                                                                                                                                                                           5).
                                                                                                                                                                                                                           4. Do not mark this ballot in any
                                                                                                                                                                                                                           manner other than provided for and
       Board of Chosen                                                                                                                                                                   write in (and fill in oval)
                                                                                                                                                                                                                           do not erase. If you spoil your ballot,
          Freeholders
                Vote for Two                Moira                    Lucille                                                                                                                                               request a new one from the County




     For Members of the
    Township Committee
                                          NELSON
                                    Monmouth County Democrats


                                            David
                                       GROSSMAN
                                    Monmouth County Democrats
                                                                4

                                                                4
                                                                    BENFANTI
                                                                     Not Me. Us.
                                                                                   4
                                                                                                                                                                                     p   write in (and fill in oval)




                                                                                                                                                                                         write in (and fill in oval)
                                                                                                                                                                                                                       4

                                                                                                                                                                                                                       4
                                                                                                                                                                                                                           Clerk’s office. If you mark your ballot in
                                                                                                                                                                                                                           such a way that your intent is unclear,
                                                                                                                                                                                                                           or if you vote for more than the
                                                                                                                                                                                                                           number to be elected to an office, your
                                                                                                                                                                                                                           vote for that office will not be counted.
                                                                                                                                                                                                                           TO PROTECT YOUR VOTE: It is against the
                Vote for Two                                                                                                                                                                                           4   law for anyone except you, the voter,
                                     No Petition Filed                                                                                                                                                                     to mark or inspect this ballot.



                                                                    Vote Both Sides Ö
                                                                                   a m                                                                                                   write in (and fill in oval)       However, a family member may assist
                                                                                                                                                                                                                           you in doing so. If you are an
                                                                                                                                                                                                                           incapacitated voter, a person other
                                                                                                                                                                                                                           than a family member may also assist
                                                                                                                                                                                                                           you in doing so.




202005291639
                                                    S
                                                                                                                                                                                                                                                                                Case 3:20-cv-08267-ZNQ-TJB Document 33-1 Filed 01/25/21 Page 41 of 67 PageID: 442
                         Official Democratic Mail-In Ballot                                                                                                         16 Township of Freehold
                          Primary Election, Tuesday, July 7, 2020, Monmouth County, New Jersey
                                                                                                                                                                  Voting District
How to vote for County Committee:                                                                                                                                                     Id: 1234567890
1. Match your Voting District on your mailing label (see illustration) to the list below. Vote for up to two candidates underneath your
                                                                                                                                                EX
                                                                                                                                                    06/05/18
                                                                                                                                                          18       PRIMARY
                                                                                                                                                                   PRIMARY ELECTION
voting district by filling in the oval to the right of the candidate’s name from (from this 4, to this 5). Vote only for candidates in your         1808/02/17
                                                                                                                                                             7    YOUR TOWN,
                                                                                                                                                                         TOWN, 00,
                                                                                                                                                                                00 99
                                                                                                                                                    Cong: 12 Leg: 17
                                                                                                                                                                   7 Fire: FD1 FRH: SPE:
                                                                                                                                                                                     S
Election District.
                                                                                                                                                            AM
                                                                                                                                                    JOHN Q. DOE
2. To vote for a candidate whose name is not printed on this ballot, write that person’s name in one of the blank lines at the bottom of the        123 ANY STREET
                                                                                                                                                    YOUR TOWN, NJ 01234
                                                                                                                                                              PL
list (marked “Personal Choice”) and fill in the oval to the right of the name (from this 4, to this 5). If you choose to vote on the Personal                   E
Choice line, be sure to write your voting district number in the box provided.

                                                  Freehold Township 9                              Freehold Township 17                          Freehold Township 26
     For Members of the County
            Committee                                Jennie Jeannette MISTRETTA          4            Kim E. LUXHOJ                      4          Mary M. THOMANN                                4
                                                     Monmouth County Democrats                        Monmouth County Democrats                     Monmouth County Democrats
                Vote for Two
                                                     No Petition Filed                                No Petition Filed                             Raymond S. SANTIAGO                            4
                                                                                                                                                    Monmouth County Democrats
  Freehold Township 1                             Freehold Township 10                             Freehold Township 18
                                                                                                                                                    Samy CHENG ROBLES
    No Petition Filed                                Mary COZZOLINO                                   Miriam FALK                                   Not Me. Us.                                    4
    No Petition Filed                                Monmouth County Democrats           4            Monmouth County Democrats          4
                                                     Raymond A. RAYA                                  No Petition Filed                          Your Voting District:
  Freehold Township 2                                Monmouth County Democrats           4
    Scott A. BERLIN                                                                                Freehold Township 19
                                        4         Freehold Township 11
    Monmouth County Democrats                                                                         No Petition Filed                         Personal Choice                                    4
    Wendy SABIN                                      Jonathan H. LOMURRO                 4
                                        4            Monmouth County Democrats                        No Petition Filed
    Monmouth County Democrats                                                                                                                   Personal Choice                                    4
  Freehold Township 3
    Adele N. MEISTRICH
    Monmouth County Democrats
    Alexander WISIENSKI
    Monmouth County Democrats
  Freehold Township 4
                                        4
                                        4
                                                     Heather R. LOMURRO
                                                     Monmouth County Democrats
                                                  Freehold Township 12
                                                     Jeffrey D. WILLIAMS
                                                     Monmouth County Democrats
                                                     Ritesh P. SHAH
                                                     Monmouth County Democrats
                                                                                         4

                                                                                         4
                                                                                         4
                                                                                                            e
                                                                                                   Freehold Township 20
                                                                                                      No Petition Filed
                                                                                                          l
                                                                                                      No Petition Filed
                                                                                                   Freehold Township 21
                                                                                                      No Petition Filed
    No Petition Filed                                                                                 No Petition Filed
                                                  Freehold Township 13
                                                                                                   Freehold Township 22
    No Petition Filed
  Freehold Township 5
    Kathleen VALLEE
    Monmouth County Democrats
    No Petition Filed
  Freehold Township 6
                                        4
                                                     Margaret S. BEEKMAN
                                                     Monmouth County Democrats
                                                     Victorian C. MATTAR
                                                     Monmouth County Democrats
                                                  Freehold Township 14
                                                     Haven L. FRANKLIN
                                                     Monmouth County Democrats
                                                                                         4
                                                                                         4

                                                                                         4
                                                                                                        p
                                                                                                      No Petition Filed
                                                                                                      No Petition Filed
                                                                                                   Freehold Township 23
                                                                                                      No Petition Filed
                                                                                                      No Petition Filed
    Doris LIN                           4            John P. JOHNSTON                              Freehold Township 24
    Monmouth County Democrats                        Monmouth County Democrats           4
                                                                                                      No Petition Filed
    No Petition Filed
  Freehold Township 7
    No Petition Filed
    No Petition Filed
  Freehold Township 8
                                    a m           Freehold Township 15
                                                     Marc DIAMENT
                                                     Monmouth County Democrats
                                                     No Petition Filed
                                                  Freehold Township 16
                                                     No Petition Filed
                                                                                         4
                                                                                                      No Petition Filed
                                                                                                   Freehold Township 25
                                                                                                      Joann L. DOWNEY
                                                                                                      Monmouth County Democrats
                                                                                                      Stephen G. DOWNEY
                                                                                                      Monmouth County Democrats
                                                                                                                                         4
                                                                                                                                         4
    Dolores YP WILSON                   4
    Monmouth County Democrats                        No Petition Filed
    No Petition Filed


                                                                            Vote Both Sides Ö
    S
                                                                                                                                                                                                       Case 3:20-cv-08267-ZNQ-TJB Document 33-1 Filed 01/25/21 Page 42 of 67 PageID: 443
                                                                                                                                                                                                                                               16 Township of Freehold

                         Christine Giordano Hanlon
                                                                                                               Official Republican Mail-In Ballot
                                                                                                Primary Election, Tuesday, July 7, 2020, Monmouth County, New Jersey                                                                           Republican
                               Monmouth County Clerk

               Office Title                Republican                           Republican              Republican                   Republican              Republican             Republican               Personal Choice

                                               Donald J.               4                                                                                                                                                                   4
     Choice for President                       TRUMP
                                        Monmouth County
     and Delegates to the             Republican Organization                                                                                                                                                write in (and fill in oval)
     Republican National           Delegates At-Large: Christopher J.
                                   Christie, Michael L. Testa, Joseph
         Convention                Pennacchio, Kristin Corrado, Edward
                                   Bruce DiDonato, Henry Y. Kuhl, Edward S.
         4th Cong. District        Walsh, Afzal Barlas, Joanne Gilmore,
    A vote for President is an     Munr Kazmir. Alternate Delegates At-
                                   Large: John V. Azzariti, Stavros G.
      automatic vote for all       Christoudias, Susan L. Enderly, Janice M.
     affiliated Delegates and      Fields, Michael Lavery, Alexander C.
                                   Markowits, Darlene Shotmeyer, Thomas
       Alternate Delegates.        P. Ragukonis, Dorothy Burger, Theresa A.
                                   Winegar. District Delegates: Christine
            Vote for One           Giordano Hanlon, Lisa Richford, Michael
                                   Thulen. Alternate District Delegates:
                                   Thomas Arnone, Shaun Golden, Jeffrey
                                   Polizzi

                                           Rikin "Rik"                         Natalie Lynn               Patricia                       Hirsh               Eugene T.
 For United States Senate                    MEHTA
                                                                       4                        4                               4      SINGH
                                                                                                                                                         4                     4                                                           4
                Vote for One           Monmouth County                           RIVERA               FLANAGAN                      Keep America Great       ANAGNOS
                                                                                We The People       America First Republicans           New Jersey           Prevent CA East
                                     Republican Organization                                                                                                                                                 write in (and fill in oval)
        For U.S. House of              Christopher H.                                                                                                                              Alter Eliezer
         Representatives                     SMITH
                                                                       4                                                                                                             RICHTER
                                                                                                                                                                                                         4                                 4
          4th Cong. District           Monmouth County                                                                                                                                Tip The Scale
            Vote for One

         For County Clerk
                Vote for One
                                     Republican Organization

                                    Christine Giordano
                                           HANLON
                                       Monmouth County
                                     Republican Organization

                                                Ross
                                                                       4

                                                                       4
                                                                                                                                                                                 l e
                                                                                                                                                                                   #Richterforcongress       write in (and fill in oval)




                                                                                                                                                                                                             write in (and fill in oval)
                                                                                                                                                                                                                                           4

                                                                                                                                                                                                                                           4
                                            LICITRA
      For Members of the               Monmouth County
                                     Republican Organization                                                                                                                                                 write in (and fill in oval)
       Board of Chosen
          Freeholders
                Vote for Two
                                            Lillian G.
                                             BURRY
                                       Monmouth County
                                     Republican Organization

                                            Lester A.
                                        PRESTON, Jr.
                                                                       4

                                                                       4
                                                                                                                                                                               p                             write in (and fill in oval)
                                                                                                                                                                                                                                           4

                                                                                                                                                                                                                                           4
                                       Monmouth County
     For Members of the              Republican Organization                                                                                                                                                 write in (and fill in oval)
    Township Committee
                Vote for Two                  Alan C.
                                            WALKER
                                       Monmouth County
                                     Republican Organization
                                                                       4
                                                                                                a m                                                                                                          write in (and fill in oval)
                                                                                                                                                                                                                                           4




202005291523
                                                          Instructions on Back. Vote Both Sides Ö
                                                         S
                                                                                                                                                                                                                                                                         Case 3:20-cv-08267-ZNQ-TJB Document 33-1 Filed 01/25/21 Page 43 of 67 PageID: 444
                                                                         Official Republican Mail-In Ballot                                                                                                         16 Township of Freehold
                                                                          Primary Election, Tuesday, July 7, 2020, Monmouth County, New Jersey
                                                                                                                                                                                                                  Voting District
                                              How to vote for County Committee:                                                                                                                                                       Id: 1234567890
                                              1. Match your Voting District on your mailing label (see illustration) to the list below. Vote for up to two candidates underneath your
                                                                                                                                                                                                EX
                                                                                                                                                                                                    06/05/18
                                                                                                                                                                                                          18       PRIMARY
                                                                                                                                                                                                                   PRIMARY ELECTION
                                              voting district by filling in the oval to the right of the candidate’s name from (from this 4, to this 5). Vote only for candidates in your           1808/02/17
                                                                                                                                                                                                             7    YOUR TOWN,
                                                                                                                                                                                                                         TOWN, 00,
                                                                                                                                                                                                                                00 99
                                                                                                                                                                                                    Cong: 12 Leg: 17
                                                                                                                                                                                                                   7 Fire: FD1 FRH: SPE:
                                                                                                                                                                                                                                     S
                                              Election District.
                                                                                                                                                                                                            AM
                                                                                                                                                                                                    JOHN Q. DOE
                                              2. To vote for a candidate whose name is not printed on this ballot, write that person’s name in one of the blank lines at the bottom of the          123 ANY STREET
                                                                                                                                                                                                    YOUR TOWN, NJ 01234
                                                                                                                                                                                                              PL
                                              list (marked “Personal Choice”) and fill in the oval to the right of the name (from this 4, to this 5). If you choose to vote on the Personal                     E
 Instructions to the Voter:                   Choice line, be sure to write your voting district number in the box provided.
1. To vote for any candidate whose
name is printed on this ballot, fill in                                                         Freehold Township 9                              Freehold Township 17                            Freehold Township 26
the oval to the right of the candidate's           For Members of the County
name (from this 4, to this 5). Do not                     Committee                                Michael F. AMMIANO                      4        Apryl L. KURTZ                          4       Craig J. NIMICK                                4
                                                                                                   Monmouth County Republican Organization          Monmouth County Republican Organization         Monmouth County Republican Organization
vote for more than the number of                             Vote for Two
candidates to be elected to each                                                                   Madalina AMMIANO                                 Kevin M. KURTZ                                  No Petition Filed
                                                                                                   Monmouth County Republican Organization 4        Monmouth County Republican Organization 4
office.                                         Freehold Township 1
2. Use ONLY a pencil or ink pen (black            John CERRATO                                  Freehold Township 10                             Freehold Township 18                            Your Voting District:
or blue) to mark your ballot. Do not              Monmouth County Republican Organization 4        Alice L. CADOTTE                                 John OLSON
use red ink.                                      Kathy CERRATO                                    Monmouth County Republican Organization   4      Monmouth County Republican Organization 4                                                      4
                                                                                                                                                                                                Personal Choice
3. To vote for a person whose name is             Monmouth County Republican Organization 4        No Petition Filed                                Rosemary OLSON
                                                                                                                                                    Monmouth County Republican Organization 4
not printed on this ballot, write the           Freehold Township 2                             Freehold Township 11                                                                            Personal Choice                                    4
person's name on the blank line(s)                Greg J. RITZER                                                                                 Freehold Township 19
(marked "write in") beside the proper                                                     4        Michael AMOROSO
                                                  Monmouth County Republican Organization          Monmouth County Republican Organization 4        No Petition Filed
title of office and fill in the oval to the       Connie SANTIAGO
right of the name (from this 4, to this
5).
4. Do not mark this ballot in any
manner other than provided for and
do not erase. If you spoil your ballot,
request a new one from the County
                                                  Monmouth County Republican Organization 4
                                                Freehold Township 3
                                                  No Petition Filed
                                                  No Petition Filed
                                                Freehold Township 4
                                                                                                   Maria AMOROSO
                                                                                                   Monmouth County Republican Organization 4
                                                                                                Freehold Township 12
                                                                                                   Debra PRESTON
                                                                                                   Monmouth County Republican Organization
                                                                                                   Lester A. PRESTON, Jr.
                                                                                                                                           4
                                                                                                   Monmouth County Republican Organization 4
                                                                                                                                                          e
                                                                                                                                                    No Petition Filed
                                                                                                                                                 Freehold Township 20
                                                                                                                                                        l
                                                                                                                                                    No Petition Filed
                                                                                                                                                    No Petition Filed
                                                                                                                                                 Freehold Township 21
Clerk’s office. If you mark your ballot                                                                                                             No Petition Filed
in such a way that your intent is                 Patrick COBURN                            4   Freehold Township 13
                                                  Monmouth County Republican Organization                                                           No Petition Filed
unclear, or if you vote for more than
the number to be elected to an office,
your vote for that office will not be
counted.
TO PROTECT YOUR VOTE: It is against the
law for anyone except you, the voter,
to mark or inspect this ballot.
                                                  No Petition Filed
                                                Freehold Township 5
                                                  Anthony J. AMMIANO
                                                  Monmouth County Republican Organization 4
                                                  Robert F. MUNOZ
                                                  Monmouth County Republican Organization 4
                                                                                                   Amanda M. AGUILOS
                                                                                                   Monmouth County Republican Organization
                                                                                                   Thomas L. COOK

                                                                                                Freehold Township 14
                                                                                                   Maureen FASANO
                                                                                                   Monmouth County Republican Organization
                                                                                                                                           4
                                                                                                   Monmouth County Republican Organization 4



                                                                                                                                           4
                                                                                                                                                      p
                                                                                                                                                 Freehold Township 22
                                                                                                                                                    No Petition Filed
                                                                                                                                                    No Petition Filed
                                                                                                                                                 Freehold Township 23
                                                                                                                                                    Constance A. ROEDER
However, a family member may assist             Freehold Township 6                                                                                 Monmouth County Republican Organization 4
                                                                                                   Eric FASANO
you in doing so. If you are an                                                                     Monmouth County Republican Organization 4        Michael CELANO
incapacitated voter, a person other               Steven LEONE                                                                                      Monmouth County Republican Organization 4
than a family member may also assist
you in doing so.
202005291714
                                                  Kelly A. LEONE

                                                Freehold Township 7
                                                  No Petition Filed
                                                  No Petition Filed
                                                                                      a m
                                                  Monmouth County Republican Organization 4
                                                  Monmouth County Republican Organization 4
                                                                                                Freehold Township 15
                                                                                                   No Petition Filed
                                                                                                   No Petition Filed
                                                                                                Freehold Township 16
                                                                                                   James S. TAYLOR
                                                                                                   Monmouth County Republican Organization   4
                                                                                                                                                 Freehold Township 24
                                                                                                                                                    No Petition Filed
                                                                                                                                                    No Petition Filed
                                                                                                                                                 Freehold Township 25
                                                                                                                                                    No Petition Filed
                                                Freehold Township 8                                No Petition Filed                                No Petition Filed
                                                  No Petition Filed
                                                  No Petition Filed

                                                                                                                           Vote Both Sides Ö
                                                  S
                                                                                                                                                                                                                                                       Case 3:20-cv-08267-ZNQ-TJB Document 33-1 Filed 01/25/21 Page 44 of 67 PageID: 445
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                        MORRIS
                        COUNTY
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                                                                                                                                              OFFICE TITLE
                                                                                                                                                                                                    DEMOCRATIC
                                                                                                                                                                                                       COLUMN                          1       DEMOCRATIC
                                                                                                                                                                                                                                                  COLUMN                          2      DEMOCRATIC
                                                                                                                                                                                                                                                                                            COLUMN                        3   DEMOCRATIC
                                                                                                                                                                                                                                                                                                                                 COLUMN                       4       WRITE-IN
                                                                                                                                                                                                                                                                                                                                                                      COLUMN
                                                                                                                                   CHOICE FOR PRESIDENT
                                                                                                                                            For 4 Years           (Vote for 1)
                                                                                                                                                                                                                                            Bernie SANDERS                            Joseph R. BIDEN                              UNCOMMITTED
                                                                                                                                                                                                                                                                                                                                                                                  WRITE-IN
                                                                                                                                                                                                                                                                                      e
                                                                                              ANN F. GROSSI, ESQ.                                                                                                                                    BERNIE 2020. NOT ME. US.
                                                                                                 County Clerk
                                                                                                                                              DISTRICT DELEGATES                                                                             BERNIE 2020. NOT ME. US.                   BIDEN FOR PRESIDENT                    UNCOMMITTED
                                                                                                                                                                                                                                                       pl
                                                                                                                                              (12TH DELEGATE DISTRICT)
      To Protect Your Vote:                                                                                                                A VOTE FOR CHOICE FOR PRESIDENT IS AN
      IT IS AGAINST THE LAW FOR ANYONE EXCEPT YOU THE                                                                              AUTOMATIC VOTE FOR AFFILIATED MALE AND FEMALE DISTRICT
                                                                                                                                                                                                                                                              JUSTIN GOLDSMAN                             RICHARD CODEY                           DAVID NIU
      VOTER TO MARK OR INSPECT THIS BALLOT.                                                                                                      DELEGATES AND ALTERNATE                                                                                   CINDY MATUTE-BROWN                        JOSEPH SIGNORELLO                       PATRICIA PRIAL
      However, a family member may assist you in doing so.                                                                                         DISTRICT DELEGATES                                                                                         HETTY ROSENSTEIN                          SHANNON CUTTLE                         DONALD SISK
                                                                                                                                          TO THE DEMOCRATIC NATIONAL CONVENTION
                                                                                                                                                                                                                                                                    MATT SKEETE                   ERICA VARGAS-GARRISON                       RITU PANCHOLY
                                                                                                                                                                                                                                                                   JUSTIN O’HEA                        THOMAS BARRETT                           JUDY KELLY
                                                                        DEMOCRATIC MAIL-IN BALLOT                                                 ALTERNATE
                                                                                      OFFICIAL PRIMARY ELECTION                               DISTRICT DELEGATES
                                                                                    JULY 7, 2020 • COUNTY OF MORRIS
                                                                                         BOROUGH OF CHATHAM                                        MEMBER OF THE
                                                                                                                                      UNITED STATES SENATE                                            Cory BOOKER                           Lawrence HAMM
                                                                                      11TH CONGRESSIONAL DISTRICT                              For 6 Years     (Vote for 1)                 MORRIS COUNTY DEMOCRATIC COMMITTEE, INC.                              NOT ME. US.                                                                                                     WRITE-IN
                                                                                         12TH DELEGATE DISTRICT
                                                                                                                                                                                                                          m
                                                                                                                                                                                                Mikie SHERRILL
                                                                                         IMPORTANT INSTRUCTIONS                                                                             MORRIS COUNTY DEMOCRATIC COMMITTEE, INC.                                                                                                                                              WRITE-IN
                                                                                               TO VOTERS                                           MEMBER OF THE
                                                                                                                                   HOUSE OF REPRESENTATIVES
                                                                                        Please read the following before                   (11TH CONGRESSIONAL DISTRICT)
                                                                                                                                               For 2 Years     (Vote for 1)
                                                                                       marking your ballot:
                                                                                                                                                                         Sa
                                                                                       1. Use ONLY a pencil or ink pen (black
                                                                                          or blue) to mark your ballot.
                                                                                          Do not use red ink.
                                                                                       2. Completely fill in oval to the right                      MEMBER OF THE
                                                                                          of each of your selections.              BOARD OF CHOSEN FREEHOLDERS                                         Cary AMARO                          Charles BARANSKI
                                                                                                                                               For 3 Years     (Vote for 1)                 MORRIS COUNTY DEMOCRATIC COMMITTEE, INC.                              NOT ME. US.                                                                                                     WRITE-IN
                                                                                        MARK BALLOT LIKE THIS:
                                                                                                                 JOHN DOE
                                                                                       3. To vote for any person whose                             MEMBER OF THE
                                                                                                                                                                                                  Leonard RESTO
                                                                                                                                                                                            MORRIS COUNTY DEMOCRATIC COMMITTEE, INC.                                                                                                                                              WRITE-IN
                                                                                          name is not printed on this ballot,             BOROUGH COUNCIL
                                                                                                                                              For 3 Years      (Vote For 2)
                                                                                          go to the Personal Choice Column
                                                                                          and darken the oval by the words                                                                  NO PETITION FILED
                                                                                          “write-in” for the office in which you                                                                                                                                                                                                                                                  WRITE-IN
                                                                                          want to write-in. Write the name of
                                                                                          the person for which you wish to
                                                                                          vote on the blank line.
                                                                                       4. If you tear, deface or incorrectly
                                                                                          mark this ballot, return it to the
                                                                                          Morris County Clerk’s Election
                                                                                          Office and obtain a new ballot.
                                                                                                                                                                                                                                                                                                                                             © 2014 Dominion Voting Systems. All Rights Reserved
                                                                                                                                                                                                                                                                                                                                                                                                   15
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                                                                                                            IMPORTANT INSTRUCTIONS TO VOTERS
                                                                                         Please read the following before marking your ballot:
                           ANN F. GROSSI, ESQ.
                              County Clerk                                             1. Use ONLY a pencil or ink pen (black or blue) to mark your ballot. Do not
                                                                                          use red ink.
              To Protect Your Vote:
              IT IS AGAINST THE LAW FOR ANYONE EXCEPT YOU THE
              VOTER TO MARK OR INSPECT THIS BALLOT.                                    2. Completely fill in oval to the right of each of your selections.
              However, a family member may assist you in doing so.
                                                                                                                 MARK BALLOT LIKE THIS:
                                                                                                                                 John DOE

                                                                                       3. To vote for any person whose name is not printed on this ballot, go to
         REPUBLICAN MAIL-IN BALLOT                                                        the Write-In Column and darken the oval by the words “write-in” for
            OFFICIAL PRIMARY ELECTION                                                     the office in which you want to write-in. Write the name of the person
          JULY 7, 2020 • COUNTY OF MORRIS                                                 for which you wish to vote on the blank line.
                TOWNSHIP OF CHATHAM                                                    4. If you tear, deface or incorrectly mark this ballot, return it to the Morris
            11th CONGRESSIONAL DISTRICT                                                   County Clerk’s Election Office and obtain a new ballot.




              OFFICE TITLE                                        REPUBLICAN COLUMN                                                      1   WRITE-IN COLUMN

         CHOICE FOR PRESIDENT
             For 4 Years         (Vote for 1)
                                                                                      Donald J. TRUMP                                                    WRITE-IN
                                                                                                   REGULAR REPUBLICAN ORGANIZATION

                 DELEGATES TO THE                                       REGULAR REPUBLICAN ORGANIZATION
               NATIONAL CONVENTION
                 (VOTE FOR ONE SLATE)                     CHRISTOPHER J. CHRISTIE      EDWARD BRUCE DIDONATO          JOANNE GILMORE
                                                                MICHAEL L. TESTA               HENRY Y. KUHL             MUNR KAZMIR
                  DELEGATES-AT-LARGE                         JOSEPH PENNACCHIO             EDWARD S. WALSH
                                                                KRISTIN CORRADO                AFZAL BARLAS

                                                                  JOHN V. AZZARITI              MICHAEL LAVERY         DOROTHY BURGER




                                                                                                           e
                                                          STAVROS G. CHRISTOUDIAS      ALEXANDER C. MARKOWITS       THERESA A. WINEGAR
            ALTERNATE DELEGATES-AT-LARGE                         SUSAN L. ENDERLY           DARLENE SHOTMEYER
                                                                  JANICE M. FIELDS         THOMAS P. RAGUKONIS

                  DISTRICT DELEGATES                                    LAURA ALI              PETER MURPHY                 CHRISTINE
                                                                                                                    SERRANO-GLASSNER
            ALTERNATE DISTRICT DELEGATES
                                                                         pl
                                                               BETTYLOU DECROCE              GERARD SCANLAN


                                                                              Eugene T. ANAGNOS
                                                                                Rikin “Rik” MEHTA
                                                                                                                        JOANIE WALSH



                                                                                                                    PREVENT CA EAST




                                                                                                   REGULAR REPUBLICAN ORGANIZATION
                                                                                                                                                         WRITE-IN
                                           m
                    MEMBER OF THE
          UNITED STATES SENATE
               For 6 Years     (Vote for 1)                                    Patricia FLANAGAN
                                                                                                          AMERICA FIRST REPUBLICANS


                                                                           Natalie Lynn RIVERA
                                                                                                                     WE THE PEOPLE
         Sa

                                                                                                     Hirsh SINGH
                                                                                     KEEP AMERICA GREAT NEW JERSEY CONSERVATIVES


                                                                                     Rosemary BECCHI                                                     WRITE-IN
                                                                                                   REGULAR REPUBLICAN ORGANIZATION



                    MEMBER OF THE
        HOUSE OF REPRESENTATIVES
             (11TH CONGRESSIONAL DISTRICT)
               For 2 Years     (Vote for 1)




                                                                                                 Tayfun SELEN
                     MEMBER OF THE
        BOARD OF CHOSEN FREEHOLDERS
               For 3 Years     (Vote for 1)                                                        REGULAR REPUBLICAN ORGANIZATION                       WRITE-IN


                                                                                       Michael J. KELLY                                                  WRITE-IN
                                                                                                  MIKE KELLY FOR CHATHAM TOWNSHIP
                    MEMBER OF THE
          TOWNSHIP COMMITTEE
               For 3 Years     (Vote For 2)
                                                                                               Ashley FELICE                                             WRITE-IN
                                                                                                RESPRESENTING YOUR INTERESTS FIRST


                                                                                     Mark F. HAMILTON
                                                                                                RESPRESENTING YOUR INTERESTS FIRST
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                         OCEAN
                        COUNTY
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                                                                                                                                                                                                                                                                                                                                                                        Jennifer Witham, Municipal Clerk
                     COUNTY                                                                                                    THIS OFFICIAL PRIMARY SAMPLE BALLOT IS AN EXACT COPY OF THE OFFICIAL PRIMARY BALLOT TO BE USED ON PRIMARY ELECTION DAY. THIS BALLOT CANNOT BE VOTED.
                                                                                                                                    OFFICIAL PRIMARY ELECTION COUNTY OF OCEAN JULY 7, 2020
                                                                                                                                                                                                                                                                                                                                                                                  Township of Plumsted
                       OF
                     OCEAN                                                                  SCOTT M. COLABELLA, County Clerk
                                                                                                                                                                          POLLS OPEN BETWEEN 6:00 A.M. AND 8:00 P.M.
                                                                                    IMPORTANT INSTRUCTIONS                                                                                      OFFICIAL REPUBLICAN PARTY PRIMARY BALLOT
                                                                                          TO VOTERS                                OFFICE TITLE
                                                                                                                                                                        REPUBLICAN
                                                                                                                                                                           COLUMN               A                REPUBLICAN
                                                                                                                                                                                                                    COLUMN                           B        REPUBLICAN
                                                                                                                                                                                                                                                                 COLUMN                       C        REPUBLICAN
                                                                                                                                                                                                                                                                                                          COLUMN                     D      REPUBLICAN
                                                                                                                                                                                                                                                                                                                                               COLUMN               E        PERSONAL
                                                                                                                                                                                                                                                                                                                                                                              CHOICE
                                       Please read the following before                                                        CHOICE FOR PRESIDENT                                                          Donald J. TRUMP
                                                                                                                                                                                                                              REGULAR REPUBLICAN
                                      marking your ballot:                                                                           FOUR YEAR TERM
                                                                                                                                     (VOTE FOR ONE)                                                                 ORGANIZATION OF OCEAN COUNTY
                                                                                                                                                                                                                                                                                                                                                                                         WRITE-IN
                                                                                                                                     DELEGATES TO THE
                                      1. Use ONLY a pencil or ink pen (black                                                       NATIONAL CONVENTION                                                       REGULAR REPUBLICAN
                                                                                                                                    (VOTE FOR ONE SLATE)                                                 ORGANIZATION OF OCEAN COUNTY
                                         or blue) to mark your ballot.                                                             AT-LARGE-DELEGATES
                                                                                                                                                                                                    CHRISTOPHER J. CHRISTIE         HENRY Y. KUHL
                                                                                                                                   A VOTE FOR A DELEGATE SLATE ON
                                         Do not use red ink.                                                                         COLUMN B, IS AN AUTOMATIC                                            MICHAEL L. TESTA       EDWARD S. WALSH
                                                                                                                                       VOTE FOR ALL AFFILIATED                                         JOSEPH PENNACCHIO            AFZAL BARLAS
                                                                                                                                         DELEGATES AT LARGE,
                                      2. Completely fill in oval to the right                                                      ALTERNATE AT LARGE DELEGATES,                                          KRISTIN CORRADO         JOANNE GILMORE
                                                                                                                                       DISTRICT DELEGATES AND                                       EDWARD BRUCE DIDONATO            MUNR KAZMIR
                                         of each of your selections.                                                                ALTERNATE DISTRICT DELEGATES
                                                                                                                                                                                                           JOHN V. AZZARITI ALEXANDER C. MARKOWITS
                                                                        MARK BALLOT LIKE THIS:                                                                                                      STAVROS G. CHRISTOUDIAS DARLENE SHOTMEYER
                                                                                                          John DOE                      ALTERNATE                                                        SUSAN L. ENDERLY THOMAS P. RAGUKONIS
                                                                                                                                   AT-LARGE-DELEGATES                                                     JANICE M. FIELDS        DOROTHY BURGER
                                                                                                                                                                                                           MICHAEL LAVERY THERESA A. WINEGAR
                                      3. To vote for any person whose
                                                                                                                                                                                                    CHRISTINE GIORDANO HANLON     MICHAEL THULEN
                                         name is not printed on this ballot,                                                       DISTRICT DELEGATES
                                                                                                                                    (4TH CONGRESSIONAL DISTRICT)                                               LISA RICHFORD
                                         go to the Personal Choice Column                                                              ALTERNATE                                                            THOMAS ARNONE          JEFFREY POLIZZI
                                         and darken the oval by the words                                                          DISTRICT DELEGATES
                                                                                                                                    (4TH CONGRESSIONAL DISTRICT)                                             SHAUN GOLDEN
                                         “write-in” for the office in which you                                                         MEMBER OF THE
                                                                                                                                 UNITED STATES SENATE               Natalie Lynn RIVERA                                   Hirsh SINGH                      Rikin “Rik” MEHTA                        Patricia FLANAGAN                    Eugene T. ANAGNOS
                                         want to write-in. Write the name of                                                            SIX YEAR TERM                           WE THE PEOPLE                                 REGULAR REPUBLICAN                         MAGA REPUBLICANS                AMERICA FIRST REPUBLICANS                PREVENT CA EAST
                                                                                                                                                                                                                                                                                                                                                                                         WRITE-IN
                                                                                                                                                                                                                    ORGANIZATION OF OCEAN COUNTY
                                         the person for which you wish to
                                                                                                                                        (VOTE FOR ONE)
                                                                                                                                        MEMBER OF THE
                                         vote on the blank line.                                                               HOUSE OF REPRESENTATIVES
                                                                                                                                  (4TH CONGRESSIONAL DISTRICT)
                                                                                                                                                                                                    Christopher H. SMITH                                 Alter Eliezer RICHTER
                                                                                                                                                                                                                              REGULAR REPUBLICAN              STAND FOR G-D WITH TRUE PRIDE
                                                                                                                                        TWO YEAR TERM                                                                                                                                                                                                                                    WRITE-IN
                                      4. If you tear, deface or incorrectly                                                             (VOTE FOR ONE)                                                              ORGANIZATION OF OCEAN COUNTY
                                         mark this ballot, return it and obtain                                                    COUNTY CLERK                                                      Scott M. COLABELLA
                                         a new ballot.                                                                                FIVE YEAR TERM
                                                                                                                                      (VOTE FOR ONE)
                                                                                                                                                                                                                              REGULAR REPUBLICAN
                                                                                                                                                                                                                                                                                                                                                                                         WRITE-IN
                                                                                                                                                                                                                    ORGANIZATION OF OCEAN COUNTY
                                                                                                                                        MEMBER OF THE
                                                                                                                                    BOARD OF
                                                                                                                               CHOSEN FREEHOLDERS
                                                                                                                                                                                                                            Joe VICARI
                                                                                                                                                                                                                              REGULAR REPUBLICAN
                                                                                                                                    THREE YEAR TERM                                                                                                                                                                                                                                      WRITE-IN
                                                     This is a PRIMARY ELECTION. Therefore you                                       (VOTE FOR ONE)                                                                 ORGANIZATION OF OCEAN COUNTY
                                                     are confined legally to a choice of candidates                                     MEMBER OF THE
                                                                                                                                                                                                    Leonard A. GRILLETTO
                                                                                                                                TOWNSHIP COMMITTEE
                                                     for nomination within your own Political                                       THREE YEAR TERM                                                                           REGULAR REPUBLICAN
                                                                                                                                                                                                                                                                                                                                                                                         WRITE-IN
                                                                                                                                     (VOTE FOR ONE)                                                                 ORGANIZATION OF OCEAN COUNTY
                                                     Party. To comply with the law, you are not
                                                     permitted to vote for more than ONE Political
                                                     Party in the Primary.
                                                                                                                                                                                                                                              Additional voter information will be available in all polling locations or visit:
                                                                                    IMPORTANT! ATTENTION VOTERS!                                                                                                                                                                                    www.elections.nj.gov
                                                                            Familiarize yourself with this ballot and instructions. It will assist you in                                                                                                                                         www.oceancountyclerk.com
                                                                            voting, and save time on Election Day. All voters who can, should vote                                                                                                                                     www.facebook.com/oceancountyclerk
                                                                            early in the day and thus avoid the possibility of congestion and
                                                                            inconvenience to themselves and others near the close of the polls.                                                                             OFFICIAL DEMOCRATIC PARTY PRIMARY BALLOT APPEARS ON THE OTHER SIDE
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                                                                                                                                                                                            OFFICIAL DEMOCRATIC PARTY PRIMARY BALLOT
                                                                                           OFFICE TITLE
                                                                                                                                    DEMOCRATIC
                                                                                                                                       COLUMN                     F     DEMOCRATIC
                                                                                                                                                                           COLUMN                      G     DEMOCRATIC
                                                                                                                                                                                                                COLUMN                         H     DEMOCRATIC
                                                                                                                                                                                                                                                        COLUMN                   I   DEMOCRATIC
                                                                                                                                                                                                                                                                                        COLUMN      J     DEMOCRATIC
                                                                                                                                                                                                                                                                                                             COLUMN     K     DEMOCRATIC
                                                                                                                                                                                                                                                                                                                                 COLUMN      L      PERSONAL
                                                                                                                                                                                                                                                                                                                                                     CHOICE
                                                                                      CHOICE FOR PRESIDENT                       Joseph R. BIDEN                      Bernie SANDERS                                 UNCOMMITTED
                                                                                              FOUR YEAR TERM                                  OFFICIAL REGULAR              BERNIE 2020. NOT ME. US.
                                                                                                                                                                                                                                                                                                                                                           WRITE-IN
                                                                                              (VOTE FOR ONE)                            DEMOCRATIC ORGANIZATION
                                                                                             DELEGATES TO THE                       OFFICIAL REGULAR                  BERNIE 2020. NOT ME. US.                   UNCOMMITTED
                                                                                           NATIONAL CONVENTION                   DEMOCRATIC ORGANIZATION
                                                                                         DISTRICT DELEGATES                                MALINI GUHA                            TARA ASTOR                           ISRAEL DEL RIO
                                                                                               (5TH DELEGATE DISTRICT)
                                                                                                                                          BRETT CANNON                        ANNA GOTT-GRAF
                                                                                       A VOTE FOR CHOICE FOR PRESIDENT IS AN        MARY CAMPBELL CRUZ                           NICK SODANO
                                                                                         AUTOMATIC VOTE FOR ALL AFFILIATED
                                                                                       MALE AND FEMALE DISTRICT DELEGATES.
                                                                                                MEMBER OF THE
                                                                                        UNITED STATES SENATE                          Cory BOOKER                     Lawrence HAMM
                                                                                                                                              OFFICIAL REGULAR                          NOT ME. US.
                                                                                                 SIX YEAR TERM
                                                                                                                                                                                                                                                                                                                                                           WRITE-IN
                                                                                                 (VOTE FOR ONE)                         DEMOCRATIC ORGANIZATION
                                                                                                MEMBER OF THE
                                                                                     HOUSE OF REPRESENTATIVES
                                                                                          (4TH CONGRESSIONAL DISTRICT)
                                                                                                                                 Stephanie SCHMID                                                          David APPLEFIELD                        Christine CONFORTI
                                                                                                                                              OFFICIAL REGULAR                                              FAIRNESS IN HEALTHCARE, SCHOOLS,            OCEAN COUNTY DEMOCRATS
                                                                                                TWO YEAR TERM                                                                                                                                                                                                                                              WRITE-IN
                                                                                                (VOTE FOR ONE)                          DEMOCRATIC ORGANIZATION                                                            LOCAL BUSINESSES.                    FOR THE PEOPLE
                                                                                            COUNTY CLERK                         Kathy M. RUSSELL
                                                                                              FIVE YEAR TERM                                  OFFICIAL REGULAR
                                                                                              (VOTE FOR ONE)                                                                                                                                                                                                                                               WRITE-IN
                                                                                                                                        DEMOCRATIC ORGANIZATION
                                                                                                 MEMBER OF THE
                                                                                           BOARD OF
                                                                                      CHOSEN FREEHOLDERS
                                                                                                                                 Helen DELA CRUZ
                                                                                                                                              OFFICIAL REGULAR
                                                                                             THREE YEAR TERM                                                                                                                                                                                                                                               WRITE-IN
                                                                                              (VOTE FOR ONE)                            DEMOCRATIC ORGANIZATION
                                                                                                 MEMBER OF THE
                                                                                      TOWNSHIP COMMITTEE
                                                                                             THREE YEAR TERM
                                                                                                                                 NO PETITION FILED
                                                                                              (VOTE FOR ONE)
                                                                                                                                                                                                                                                                                                                                                           WRITE-IN
                                                                                                                             This is a PRIMARY ELECTION. Therefore you                                                                                               IMPORTANT INSTRUCTIONS TO VOTERS 3. To vote for any person whose name is not
                                                                                                                             are confined legally to a choice of candidates                                                                                                                                     printed on this ballot, go to the Personal
                                                                                                                                                                                                                                                                       Please read the following before marking Choice Column and darken the oval by
                                                                                                                             for nomination within your own Political Party.                                                                                         your ballot:                               the words “write-in” for the office in which
                                                                                                                             To comply with the law, you are not permitted
                                                                                                                                                                                                                                                                                                                you want to write-in. Write the name of
                                                                                                                                                                                                                                                                     1. Use ONLY a pencil or ink pen (black or blue)
                                                                                                                             to vote for more than ONE Political Party in the                                                                                                                                   the person for which you wish to vote on
                                                                                                                                                                                                                                                                         to mark your ballot. Do not use red ink.
                                                                                                                             Primary.                                                                                                                                                                           the blank line.
                                                                                                                                                                                                                                                                     2. Completely fill in oval to the right of each
                                                                                                                                                                                                                                                                        of your selections.                             4. If you tear, deface or incorrectly
                                                                                                                                                                                                                                                                                                                           mark this ballot, return it and obtain
                                                                                           IMPORTANT! ATTENTION VOTERS!                                                                                                                                              MARK BALLOT LIKE THIS: John DOE                       a new ballot.
                                                                                        Familiarize yourself with this ballot and instructions. It will assist you in
                                                                                        voting, and save time on Election Day. All voters who can, should vote                                                                                                                   Additional voter information will be available in all polling locations or visit:
                                                                                        early in the day and thus avoid the possibility of congestion and                                                                                                                                                     www.elections.nj.gov
                                                                                        inconvenience to themselves and others near the close of the polls.
                                                                                                                                                                                                                                                                                                            www.oceancountyclerk.com
                                                                                    OFFICIAL REPUBLICAN PARTY PRIMARY BALLOT APPEARS ON THE OTHER SIDE                                                                                                                                                  www.facebook.com/oceancountyclerk
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                        PASSAIC
                        COUNTY
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                                               DEMOCRATIC PROVISIONAL BALLOT/OFFICIAL PRIMARY ELECTION

                                                                                 Bloomingdale
                                                                             Passaic County, New Jersey
                                                                       11th Congressional District - July 7, 2020


                                                                             Choice for President                                  Member of the
                                                                                        Vote for one                            United States Senate
                        DANIELLE IRELAND-IMHOF                                                                                              Vote for one
                             Passaic County Clerk
                                                                                         JOSEPH R. BIDEN 1A
                                                                                 PASSAIC COUNTY DEMOCRATIC ORGANIZATION, INC.
                                                                                         BERNIE SANDERS 1C                                   CORY BOOKER 3A
                                                                                                  BERNIE 2020. NOT ME. US.        PASSAIC COUNTY DEMOCRATIC ORGANIZATION, INC.
                 ATTENTION UNDECLARED VOTERS:
                      You may only vote for                                                                                                LAWRENCE HAMM 3B
                                                                                                                WRITE-IN VOTE                                     NOT ME. US.
                     candidates of one party.
                                                                                                                                                                  WRITE-IN VOTE




                                                                        20th District Delegates to Democratic
                                                                                 National Convention                            Member of the House
            To Protect Your Vote:
            IT IS AGAINST THE LAW FOR ANYONE EXCEPT YOU
                                                                                                                                 of Representatives
            THE VOTER TO MARK OR INSPECT THIS BALLOT.                                                                                       Vote for one
            However, a family member may assist you in doing so.
            If you are an incapacitated voter, a person other than a       A VOTE FOR PRESIDENT ABOVE
            family member may also assist you in doing so.               ALSO IS A VOTE FOR THEIR PLEDGED
                                                                                 DELEGATES BELOW                                            MIKIE SHERRILL 4A
                                                                                                                                  PASSAIC COUNTY DEMOCRATIC ORGANIZATION, INC.
                                                                                  JOSEPH R. BIDEN
                                                                       Passaic County Democratic Organization, Inc.                                               WRITE-IN VOTE

                                                                                         DELEGATES
                                                                        Iris DEIXLER               Adam SILVERSTEIN
                 IMPORTANT INSTRUCTIONS                                 Keith KAZMARK              Isaac GRAVES
                                                                        Molly SOKOTA
                       TO VOTERS
            Please read the following before marking                                ALTERNATE DELEGATES
            your ballot:                                                 Susan SAHAI
            1.   To vote for any candidate whose name is
                 printed on this ballot, fill in the oval to the           A VOTE FOR PRESIDENT ABOVE                           Members of the Board
                 right of the candidate’s name (from this                ALSO IS A VOTE FOR THEIR PLEDGED                       of Chosen Freeholders
                        , to this   ). Do not vote for more
                                                                                 DELEGATES BELOW                                            Vote for two
                 than the number of candidates to be
                 elected to each office.                                         BERNIE SANDERS
                                                                               Bernie 2020. Not Me. Us.
            2.   Use ONLY a pencil or ink pen (black or blue)
                 to mark your ballot. Do not use red ink.                                DELEGATES                                             BRUCE JAMES 5A
                                                                                                                                  PASSAIC COUNTY DEMOCRATIC ORGANIZATION, INC.
                                                                       Dianne DOUTHAT              Richard McFARLANE
            3.   To vote for a person who is not printed on            Lauren HERMAN               Theodore SANZO                THEODORE TJ BEST, JR. 6A
                                                                                                                                  PASSAIC COUNTY DEMOCRATIC ORGANIZATION, INC.
                 this ballot, write the person’s name on the           Danny MARKHAM
                 blank line(s) (marked “write in”) below the
                                                                                                                                                                WRITE-IN VOTE
                 proper title of office and fill in the oval to                    ALTERNATE DELEGATES
                 the right of the name from this          , to
                 this      ).                                           Andrea GORING                                                                           WRITE-IN VOTE



            4.   Do not mark this ballot in any manner other                       UNCOMMITTED
                 than provided for and do not erase.
                                                                                    DELEGATES                         1D
            5.   Your vote will not be counted if you do not                            DELEGATES
                 comply with these instructions.
                                                                        Kenneth HORWITZ                                             Members of
            AFTER MARKING THE BALLOT, FOLD IT INSERT
                                                                                                                                  Borough Council
            IT IN THE WHITE ENVELOPE AND SEAL IT.                                                                                           Vote for two



                                                                          NO WRITE-IN FOR DELEGATES                                     JOHN J. D’AMATO 7A
                                                                                                                                  PASSAIC COUNTY DEMOCRATIC ORGANIZATION, INC.
                                                                                                                                   PAYMAN “RAY” YAZDI 8A
                                                                                                                                  PASSAIC COUNTY DEMOCRATIC ORGANIZATION, INC.

                                                                                                                                                                WRITE-IN VOTE


                                                                                                                                                                WRITE-IN VOTE




           Bloomingdale - Form 1
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                                               REPUBLICAN PROVISIONAL BALLOT/OFFICIAL PRIMARY ELECTION

                                                                                       Bloomingdale
                                                                             Passaic County, New Jersey
                                                                       11th Congressional District - July 7, 2020



                                                                                                                                                 Member of the House
                                                                              Choice for President                                                of Representatives
                        DANIELLE IRELAND-IMHOF                                                 Vote for one
                                                                                                                                                                 Vote for one
                             Passaic County Clerk


                                                                                          DONALD J. TRUMP 1G                                               ROSEMARY BECCHI 4G
                                                                              PASSAIC COUNTY REGULAR REPUBLICAN ORGANIZATION, INC.           PASSAIC COUNTY REGULAR REPUBLICAN ORGANIZATION, INC.
                 ATTENTION UNDECLARED VOTERS:
                      You may only vote for                                                                                 WRITE-IN VOTE                                               WRITE-IN VOTE
                     candidates of one party.
                                                                           Delegates-at-Large to Republican
                                                                                 National Convention
                                                                                           Vote for one slate

            To Protect Your Vote:
                                                                               A VOTE HERE IS A VOTE
            IT IS AGAINST THE LAW FOR ANYONE EXCEPT YOU
            THE VOTER TO MARK OR INSPECT THIS BALLOT.
                                                                        FOR ALL DELEGATES AND ALTERNATES
                                                                                                                                     2G
            However, a family member may assist you in doing so.
            If you are an incapacitated voter, a person other than a
                                                                                                                                               Members of the Board
            family member may also assist you in doing so.                              DONALD J. TRUMP                                        of Chosen Freeholders
                                                                       Passaic County Regular Republican Organization, Inc.                                      Vote for two
                                                                                        DELEGATES-AT-LARGE
                                                                       Christopher J. CHRISTIE              Henry Y. KUHL
                                                                       Michael L. TESTA                     Edward S. WALSH                            WILLIAM E. MARSALA 5G
                                                                       Joseph PENNACCHIO                    Afzal BARLAS                     PASSAIC COUNTY REGULAR REPUBLICAN ORGANIZATION, INC.

                 IMPORTANT INSTRUCTIONS
                                                                       Kristin CORRADO
                                                                       Edward Bruce DiDONATO
                                                                                                            Joanne GILMORE
                                                                                                            Munr KAZMIR
                                                                                                                                                       MATTHEW P. CONLON 6G
                                                                                                                                             PASSAIC COUNTY REGULAR REPUBLICAN ORGANIZATION, INC.
                       TO VOTERS                                                                                                                                                      WRITE-IN VOTE
                                                                               ALTERNATE DELEGATES-AT-LARGE
            Please read the following before marking
            your ballot:                                               John V. AZZARITI                     Alexander C. MARKOWITS                                                    WRITE-IN VOTE
                                                                       Stavros G. CHRISTOUDIAS              Darlene SHOTMEYER
            1.   To vote for any candidate whose name is               Susan L. ENDERLY                     Thomas P. RAGUKONIS
                 printed on this ballot, fill in the oval to the       Janice M. FIELDS                     Dorothy BURGER
                 right of the candidate’s name (from this              Michael LAVERY                       Theresa A. WINEGAR
                        , to this   ). Do not vote for more
                 than the number of candidates to be                       11TH CONGRESSIONAL DISTRICT DELEGATES
                 elected to each office.                               Laura ALI                           Christine SERRANO-                            Members of
                                                                       Peter MURPHY                         GLASSNER                                   Borough Council
            2.   Use ONLY a pencil or ink pen (black or blue)
                                                                                                                                                                 Vote for two
                 to mark your ballot. Do not use red ink.              11TH CONGRESSIONAL ALTERNATE DISTRICT DELEGATES
            3.   To vote for a person who is not printed on            BettyLou DECROCE                    Joanie WALSH
                 this ballot, write the person’s name on the
                 blank line(s) (marked “write in”) below the
                                                                       Gerard SCANLAN                                                                      MICHAEL J. PIROT 7G
                                                                                                                                             PASSAIC COUNTY REGULAR REPUBLICAN ORGANIZATION, INC.
                 proper title of office and fill in the oval to
                 the right of the name from this          , to                                                                               PASSAIC   C
                                                                                                                                                         DANIEL
                                                                                                                                                           R
                                                                                                                                                                J.R HAWKINS
                                                                                                                                                                       O
                                                                                                                                                                            8G
                                                                                                                                                                            ,I .
                                                                            NO WRITE-IN FOR DELEGATES
                                                                                                                                                       OUNTY   EGULAR   EPUBLICAN   RGANIZATION   NC
                 this      ).
                                                                                                                                                                                      WRITE-IN VOTE
            4.   Do not mark this ballot in any manner other
                 than provided for and do not erase.                                                                                                                                  WRITE-IN VOTE


            5.   Your vote will not be counted if you do not
                 comply with these instructions.
                                                                                 Member of the
            AFTER MARKING THE BALLOT, FOLD IT INSERT                          United States Senate
            IT IN THE WHITE ENVELOPE AND SEAL IT.                                              Vote for one



                                                                                         PATRICIA FLANAGAN 3F
                                                                                                   A   F R MERICA    IRST       EPUBLICANS

                                                                                         RIKIN “RIK” MEHTA 3G
                                                                             PASSAIC   C   R
                                                                                       OUNTY     R
                                                                                                EGULAR O        ,I .
                                                                                                         EPUBLICAN   RGANIZATION       NC

                                                                                                 HIRSH SINGH 3H
                                                                                               K A     G
                                                                                                     EEP    N J
                                                                                                           MERICA    REAT       EW ERSEY

                                                                                         NATALIE LYNN RIVERA
                                                                                                          W T P
                                                                                                                  3I        E   HE   EOPLE

                                                                                         EUGENE T. ANAGNOS
                                                                                                        P
                                                                                                                 3J
                                                                                                              CA E    REVENT           AST


                                                                                                                        WRITE-IN VOTE




           Bloomingdale - Form 1
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                         SALEM
                        COUNTY
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                                                          DEMOCRATIC MAIL-IN BALLOT OFFICIAL PRIMARY ELECTION
                                                     Boleta de Voto por Correo Demócrata Oficial de las Elecciones Primarias
                                                                                   Alloway Township
                                                                                         Salem County, New Jersey
                                                                                              July 7th, 2020


                                                                                    President of the                                      Salem County Surrogate
                                                                                     United States                                                   5 Year Term - Vote for One
                                                                                       4 Year Term - Vote for One                                 Juez del Tribunal
                                                                                   Presidente de los                                             Testamentario del
                               DALE A. CROSS                                        Estados Unidos
                  Salem County Clerk / Secretario del Condado
                                                                                                                                                 Condado de Salem
                                                                                  Término de 4 Años - Votar por Uno                              Término de 5 Años - Votar por Uno

                                                                                              BERNIEB SANDERS
                                                                                                       2020. N M . U .
                                                                                                                                                             NR ICKID A. BURKE
            To Protect Your Vote:
                                                                                                         ERNIE           OT    E   S                           EGULAR     O
                                                                                                                                                                         EMOCRATIC   RGANIZATION

            IT IS AGAINST THE LAW FOR ANYONE EXCEPT YOU
            THE VOTER TO MARK OR INSPECT THIS BALLOT.
                                                                                              JOSEPH
                                                                                                R    D
                                                                                                       R. BIDEN
                                                                                                   EGULAR    O
                                                                                                            EMOCRATIC    RGANIZATION                           WRITE-IN VOTE / POR ESCRITO
            However, a family member may assist you in doing so.
            If you are an incapacitated voter, a person other than a
                                                                                                WRITE-IN VOTE / POR ESCRITO
            family member may also assist you in doing so.


            Para proteger su voto:
                                                                                                                                                   Board of
            ES ILEGAL QUE OTRA PERSONA EXCEPTO USTED EL                      1st District Delegates                                           Chosen Freeholders
            ELECTOR MARQUE O INSPECCIONE ESTA BOLETA.                                                                                                3 Year Term - Vote for One
            Sin embargo, un familiar puede ayudarle a hacerlo. Si                to Democratic                                                      Junta de
            usted es un elector incapacitado, una persona que no
            es un familiar también puede ayudarle a hacerlo.                 National Convention                                               Freeholders Elegidos
                                                                            Delegados del Distrito 1o                                            Término de 3 Años - Votar por Uno
                                                                              Para la Convención
                 IMPORTANT INSTRUCTIONS                                       Nacional Demócrata                                                    CHARLES
                                                                                                                                                         R
                                                                                                                                                            V.D HASSLER
                                                                                                                                                                   O
                                                                                                                                                               EGULAR    EMOCRATIC   RGANIZATION
                       TO VOTERS
                                                                                                                                                               WRITE-IN VOTE / POR ESCRITO
                                                                            A vote above is a vote for all delegates
            Please read the following before marking your                  Un voto encima es un voto por todos los
            ballot:                                                                 Delegados del distrito
                                                                                   BERNIE SANDERS
            1. Use ONLY a pencil or ink pen (black or blue) to                      BERNIE 2020. NOT ME. US.                                       Alloway
               mark your ballot. Do not use red ink.                        District Delegates / Delegados del Distrito                       Township Committee
                                                                                                                                                     3 Year Term - Vote for One
                                                                       AMIE BABISCHKIN
            2. Completely fill in the oval to the right of each        CRYSTAL HARRIS                                                          Comité Municipal de
               of your selections.                                     JEREMIAH SCHENERMAN                                                          Alloway
               MARK BALLOT LIKE THIS.                                                                                                            Término de 3 Años - Votar por Uno

                         JOHN DOE                                                                                                                   WARREN MORGAN  III
                                                                            A vote above is a vote for all delegates                                       R  D   P     EGULAR   EMOCRATIC ARTY
            3. To vote for any person whose name is not                    Un voto encima es un voto por todos los
               printed on this ballot, fill in the oval by the                      Delegados del distrito                                                     WRITE-IN VOTE / POR ESCRITO
               words “WRITE-IN VOTE” under that office.                            JOSEPH R. BIDEN
               Write the name of the person for which you                             BIDEN FOR PRESIDENT
               wish to vote on the blank line. You may not                  District Delegates / Delegados del Distrito
               write-in any name that is printed on the ballot.                                                                                 County Committee
                                                                       JOHN J. BURZICHELLI, Jr .
                                                                       LENORA KODYTEK                                                           Alloway District 1
            4. If you tear, deface or incorrectly mark this            GINA MARIE SANTORE                                                            2 Year Term - Vote for Two
               ballot, return it to the Salem County Clerk’s                                                                                   Comité del Condado
               Election Office and obtain a new ballot.                                                                                         Alloway Distrito 1
                                                                           NO WRITE-IN FOR DELEGATES                                             Término de 2 Años - Votar por Dos
              INSTRUCCIONES IMPORTANTES
                   A LOS ELECTORES                                         NO DELEGADOS POR ESCRITO                                               MATTHEW
                                                                                                                                                        R
                                                                                                                                                          B.D GREEVER
                                                                                                                                                                 O
                                                                                                                                                               EGULAR    EMOCRATIC   RGANIZATION

            Favor de leer lo siguiente antes de marcar la                                                                               NO PETITION FILED / NINGUNA PETICIÓN REGISTRADA
            boleta:
                                                                              United States Senate                                                             WRITE-IN VOTE / POR ESCRITO
            1. Use SOLAMENTE un lápiz o una pluma (de                                  6 Year Term - Vote for One
               tinta negra o azul) para marcar la boleta. No            Senado de los Estados Unidos                                                           WRITE-IN VOTE / POR ESCRITO
               use tinta roja.                                                    Término de 6 Años - Votar por Uno

            2. Llene completamente el óvalo a la derecha de
               cada selección.                                                                  R
                                                                                                  CORY
                                                                                                     D
                                                                                                       BOOKER
                                                                                                   EGULARO  EMOCRATIC    RGANIZATION
               MARQUE LA BOLETA ASÍ.                                                           LAWRENCE HAMM
                                                                                                         N M .U .        OT    E   S

                         JOHN DOE
                                                                                                WRITE-IN VOTE / POR ESCRITO
            3. Para votar por cualquier persona cuyo
               nombre no está impreso en la boleta, llene
               completamente el óvalo que se encuentra
               al lado de la palabra “Por Escrito” debajo                      United States
               del título del cargo. Escriba el nombre de la              House of Representatives
               persona por quien usted desea votar en la                               2 Year Term - Vote for One
               línea en blanco. No se puede escribir ningún               Cámara de Representantes
               nombre ya impreso en la boleta.                              de los Estados Unidos
                                                                                  Término de 2 Años - Votar por Uno
            4. Si usted rompe, pintarrajea o marca
               incorrectamente esta boleta, devuélvala a la                        WILL CUNNINGHAM
               Oficina Electoral del Secretario del Condado                                      T D               RUE     EMOCRATS

               de Salem para obtener una nueva boleta.                                   JOHN FRANCIS
                                                                                                 W      Y           ALKING FOR OU


                                                                                    S  C
                                                                                         AMY
                                                                                           D
                                                                                               KENNEDY
                                                                                                 C
                                                                                          ALEM OUNTY   2020
                                                                                                       EMOCRATIC OMMITTEE

                                                                            BRIGID CALLAHAN
                                                                                         R
                                                                                             HARRISON
                                                                                             D     O
                                                                                                   EGULAR   EMOCRATIC    RGANIZATION

                                                                                ROBERTS D.CTURKAVAGE
                                                                                              ’M     D
                                                                                                ALEM OUNTY S     ODERATE      EMOCRAT


                                                                                                WRITE-IN VOTE / POR ESCRITO




                                                                                                                                                      Alloway - Form 1 District 1
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                                                         REPUBLICAN MAIL-IN BALLOT OFFICIAL PRIMARY ELECTION
                                                   Boleta de Voto por Correo Republicana Oficial de las Elecciones Primarias
                                                                                   Alloway Township
                                                                                         Salem County, New Jersey
                                                                                              July 7th, 2020


                                                                                    President of the                               Salem County Surrogate
                                                                                     United States                                       5 Year Term - Vote for One
                                                                                       4 Year Term - Vote for One                      Juez del Tribunal
                                                                                    Presidente de los                                 Testamentario del
                               DALE A. CROSS                                         Estados Unidos
                  Salem County Clerk / Secretario del Condado
                                                                                                                                      Condado de Salem
                                                                                   Término de 4 Años - Votar por Uno                  Término de 5 Años - Votar por Uno

                                                                                            DONALD J.R TRUMP
                                                                                                         R
                                                                                                                                   BETH McCARTHY PATRICK
            To Protect Your Vote:
                                                                                                                EGULAR EPUBLICAN                 R  R         EGULAR EPUBLICAN

            IT IS AGAINST THE LAW FOR ANYONE EXCEPT YOU
            THE VOTER TO MARK OR INSPECT THIS BALLOT.                                          WRITE-IN VOTE / POR ESCRITO                         WRITE-IN VOTE / POR ESCRITO
            However, a family member may assist you in doing so.
            If you are an incapacitated voter, a person other than a
            family member may also assist you in doing so.

                                                                          Delegates to Republican                                         Board of
            Para proteger su voto:
            ES ILEGAL QUE OTRA PERSONA EXCEPTO USTED EL                     National Convention                                      Chosen Freeholders
            ELECTOR MARQUE O INSPECCIONE ESTA BOLETA.                   Delegados Para la Convención                                     3 Year Term - Vote for One
            Sin embargo, un familiar puede ayudarle a hacerlo. Si
            usted es un elector incapacitado, una persona que no            Nacional Republicano                                          Junta de
            es un familiar también puede ayudarle a hacerlo.                                                                         Freeholders Elegidos
                                                                                       A vote here is a vote                          Término de 3 Años - Votar por Uno
                                                                                 for all delegates and alternates
                 IMPORTANT INSTRUCTIONS                                  Un voto aquí es un voto por todos los delegados                  EDWARD A. RAMSAY
                                                                                                                                                    R  R      EGULAR EPUBLICAN
                       TO VOTERS                                                   y los delegados alternativos
                                                                                    DONALD TRUMP                                                   WRITE-IN VOTE / POR ESCRITO
                                                                                     REGULAR REPUBLICAN
            Please read the following before marking your
                                                                            Delegates-at-Large / Delegados Generales
            ballot:
                                                                       CHRISTOPHER J. CHRISTIE HENRY Y. KUHL
            1. Use ONLY a pencil or ink pen (black or blue) to         MICHAEL L. TESTA        EDWARD S. WALSH                           Alloway
               mark your ballot. Do not use red ink.                   JOSEPH PENNACCHIO AFZAL BARLAS                               Township Committee
                                                                       KRISTIN CORRADO         JOANNE GILMORE                            3 Year Term - Vote for One
                                                                       EDWARD BRUCE DiDONATO MUNR KAZMIR
            2. Completely fill in the oval to the right of each
                                                                                 Alternate Delegates-at-Large
                                                                                                                                     Comité Municipal de
               of your selections.                                                                                                        Alloway
               MARK BALLOT LIKE THIS.                                            Delegados Alternos Generales
                                                                                                                                      Término de 3 Años - Votar por Uno
                                                                       JOHN V. AZZARITI        ALEXANDER C. MARKOWITS
                         JOHN DOE                                      STAVROS G. CHRISTOUDIAS DARLENE SHOTMEYER                                     BRRIANRLEADY
                                                                       SUSAN L. ENDERLY        THOMAS P. RAGUKONIS                                             P
                                                                                                                                                        EGULAR EPUBLICAN ARTY
            3. To vote for any person whose name is not                JANICE M. FIELDS        DOROTHY BURGER
               printed on this ballot, fill in the oval by the         MICHAEL LAVERY          THERESA A. WINEGAR                                  WRITE-IN VOTE / POR ESCRITO
               words “WRITE-IN VOTE” under that office.                      2nd Congressional District Delegates
               Write the name of the person for which you                    Delegados del 2O Distrito Congresional
               wish to vote on the blank line. You may not
                                                                       LINDA DUBOIS                  TOM ROTONDI                     County Committee
               write-in any name that is printed on the ballot.
                                                                       LYNDA PAGLIUGHI
                                                                         2nd Congressional Alternate District Delegates
                                                                                                                                     Alloway District 1
            4. If you tear, deface or incorrectly mark this                                                                              2 Year Term - Vote for Two
                                                                         Delegados Alternos del 2O Distrito Congresional
               ballot, return it to the Salem County Clerk’s
                                                                       CYNTHIA BALLES                ROBERT PENZA
                                                                                                                                     Comité del Condado
               Election Office and obtain a new ballot.                                                                               Alloway Distrito 1
                                                                       KEITH DAVIS
                                                                                                                                      Término de 2 Años - Votar por Dos
              INSTRUCCIONES IMPORTANTES
                   A LOS ELECTORES                                          NO WRITE-IN FOR DELEGATES                                         CHUCK ANGELUS
                                                                                                                                                      R  P      EPUBLICAN ARTY

            Favor de leer lo siguiente antes de marcar la                   NO DELEGADOS POR ESCRITO                                         AUTUMN ANGELUS
                                                                                                                                                      R  P      EPUBLICAN ARTY
            boleta:
                                                                                                                                                   WRITE-IN VOTE / POR ESCRITO
            1. Use SOLAMENTE un lápiz o una pluma (de
               tinta negra o azul) para marcar la boleta. No                   United States Senate                                                WRITE-IN VOTE / POR ESCRITO
               use tinta roja.                                                         6 Year Term - Vote for One
                                                                        Senado de los Estados Unidos
            2. Llene completamente el óvalo a la derecha de                        Término de 6 Años - Votar por Uno
               cada selección.
               MARQUE LA BOLETA ASÍ.                                                    NATALIE LYNN RIVERA
                                                                                                        W T P       E HE EOPLE
                         JOHN DOE                                                       PATRICIA FLANAGAN
                                                                                                 A   F RMERICA IRST EPUBLICANS
            3. Para votar por cualquier persona cuyo
               nombre no está impreso en la boleta, llene                                RIKIN “RIK”R MEHTA
                                                                                                          R     EGULAR EPUBLICAN
               completamente el óvalo que se encuentra
               al lado de la palabra “Por Escrito” debajo                               EUGENE T. ANAGNOS
                                                                                                      P     CA E  REVENT     AST
               del título del cargo. Escriba el nombre de la
               persona por quien usted desea votar en la
                                                                                                HIRSHG SINGH
                                                                                              K A         N J
                                                                                                   EEP MERICA    REAT   EW ERSEY
               línea en blanco. No se puede escribir ningún
               nombre ya impreso en la boleta.                                                 WRITE-IN VOTE / POR ESCRITO


            4. Si usted rompe, pintarrajea o marca
               incorrectamente esta boleta, devuélvala a la
               Oficina Electoral del Secretario del Condado                     United States
               de Salem para obtener una nueva boleta.                     House of Representatives
                                                                                       2 Year Term - Vote for One
                                                                          Cámara de Representantes
                                                                            de los Estados Unidos
                                                                                   Término de 2 Años - Votar por Uno

                                                                                    ROBERT W. PATTERSON
                                                                                               A   F R  MERICA IRST EPUBLICANS

                                                                                           JEFF VAN
                                                                                                 R
                                                                                                    DREW
                                                                                                      R         EGULAR EPUBLICAN


                                                                                               WRITE-IN VOTE / POR ESCRITO




                                                                                                                                          Alloway - Form 1 District 1
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                    SOMERSET
                     COUNTY
               Case 3:20-cv-08267-ZNQ-TJB Document 33-1 Filed 01/25/21 Page 58 of 67 PageID: 459

                                                                                                                                                                                                                                   Township of Bedminster
                                           Steve Peter
                                       Somerset County Clerk
                                                                                                           Official Democratic Mail-In Ballot                                                                                           Democratic
                                 Secretario del Condado de Somerset                             Primary Election, Tuesday, July 7, 2020, Somerset County, New Jersey
                                      DEMOCRATIC                DEMOCRATIC                   DEMOCRATIC                    DEMOCRATIC
        Primary Election               Column 1                  Column 2                     Column 3                      Column 4                Personal Choice
        Elección Primaria            DEMOCRÁTICO               DEMOCRÁTICO                  DEMOCRÁTICO                   DEMOCRÁTICO              Selección Personal                              Instructions to the Voter:
                                       Columna 1                 Columna 2                    Columna 3                     Columna 4                                                1. To vote for any candidate whose name is printed on this ballot, fill
                                                                                                                                                                                     in the oval to the right of the candidate's name (from this 4, to this 5).
                                                                                  4                               4                          4                                   4




                                                                                                                                                        n
     Choice for President                                             Bernie                    Joseph R.                  Uncommitted                                               Do not vote for more than the number of candidates to be elected to
     and Delegates to the                                         SANDERS                        BIDEN                                                                               each office.
     Democratic National                                         Bernie 2020.              Biden for President                                                                       2. Use ONLY a pencil or ink pen (black or blue) to mark your ballot. Do
         Convention                                              Not Me. Us.
                                                                                                                                                                                     not use red ink.
      11th Delegate District                               Delegates: Patricia Campos   Delegates: Linda Telschow,    Delegates: Christine Chan,
    A vote for President is an                                                                                                                                                       3. To vote for a person whose name is not printed on this ballot, write
      automatic vote for all                               Medina, Mary Gerhold,        Thomas Regrut, Kendall        Janice J. Miller                                               the person's name on the blank line(s) (marked “write in”) beside the
     affiliated delegates and                              Aaron Hyndman                Lopez                                                                                        proper title of office and fill in the oval to the right of the name (from
             alternates.
            Vote for One                                                                                                                                                             this 4, to this 5).
        Selección para                                                                                                                                                               4. Do not mark this ballot in any manner other than provided for and
          Presidente                                                                                                                                                                 do not erase. If you spoil your ballot, request a new one from the
       y Delegados a la




                                                                                                                                                      e
                                                                                                                                                                                     County Clerk’s office. If you mark your ballot in such a way that your
     Convención Nacional                                                                                                                                                             intent is unclear, or if you vote for more than the number to be
         Democrática
          Distrito 11                                                                                                                                                                elected to an office, your vote for that office will not be counted.
 Un voto por Presidente es un                                                                                                                                                        TO PROTECT YOUR VOTE: It is against the law for anyone except you, the
  voto automático por todos                                                                                                                                                          voter, to mark or inspect this ballot. However, a family member may
 los delegados y alternativos
           afiliados.                                                                                                                                                                assist you in doing so. If you are an incapacitated voter, a person other
        Vote por Uno                                                                                                                                                                 than a family member may also assist you in doing so.
                                                                                                                                                   write in (and fill in oval)

    United States Senator
               Vote for One
                                      Lawrence         4                                        Cory
                                                                                             BOOKER               4                                                              4
      Senador de Los E.U.             HAMM
               Vote por Uno            Not Me. Us.
                                                                                        Somerset County Regular
                                                                                        Democratic Organization                                    write in (and fill in oval)            Papeleta Oficial de Voto por Correo
            House of
         Representatives                                                                        Tom
                                                                                                                  4                                                              4         Elección Primaria, Martes, el 7 de julio de 2020
                7th District
               Vote for One                                                              MALINOWSKI
                                                                                        Somerset County Regular
                                                                                                                                                                                                    Instrucciones al Votante




                                                                                                                                                     m
  Casa de Representantes
                 Distrito 7                                                             Democratic Organization                                                                      1. Para votar por cualquier candidato cuyo nombre está impreso en
               Vote por Uno                                                                                                                        write in (and fill in oval)       esta papeleta, rellene el óvalo a la derecha del nombre del candidato
                                                                                                                                                                                     (de este 4, a este 5). No vote por mas candidatos que el número a ser
               Surrogate
               Vote for One
                                                                                          Bernice "Tina"
                                                                                              JALLOH              4                                                              4   electo a ese cargo.
               Surrogado                                                                Somerset County Regular                                                                      2. Use SOLO lápiz o bolígrafo (negro o azul) para marcar su papeleta.




                                                                                                                                                   i
               Vote por Uno                                                             Democratic Organization                                    write in (and fill in oval)       3. Para votar por una persona cuyo nombre no está impreso en esta
                                                                                                                                                                                     papeleta, escriba el nombre de la persona en la(s) linea(s) en blanco a
                                                                                              Douglas
                                                                                         SINGLETERRY              4                                                              4   la derecha del título apropiado del cargo, marcado "write in” (escriba),
         Board of Chosen
                                                                                        Somerset County Regular                                                                      y rellene el óvalo a la derecha del nombre (de este 4, a este 5).
           Freeholders
               Vote for Two                                                             Democratic Organization                                    write in (and fill in oval)       4. No marque esta papeleta de ninguna otra manera que la provista y
                                                                                                                                                                                     no borre. Si daña su papeleta, pida una nueva de la oficina del
          Consejo de
      Propietarios Electos
               Vote por Dos
                                                                                                Paul
                                                                                              DRAKE               4                                                              4   Secretario del Condado. Si marca su papeleta de tal manera que su
                                                                                                                                                                                     intención no es clara, o si vota por mas del número de candidatos a
                                                                                        Somerset County Regular
                                                                                        Democratic Organization                                                                      ser electos a ese cargo, su voto para ese cargo no será contado.
                                                                                                                                                   write in (and fill in oval)
                                                                                                                                                                                     PARA PROTEGER SU VOTO: Es contra la ley para cualquier persona,
                                                                                                                  4                                                              4




                                                        c
     Township Committee                                                                        Jeffrey                                                                               excepto el votante, marcar o inspeccionar esta papeleta. Sin embargo,
               Vote for One                                                                   BEYER                                                                                  un miembro de su familia puede asistirle en el proceso de voto.
        Comité Municipal                                                                Somerset County Regular
               Vote por Uno                                                             Democratic Organization                                    write in (and fill in oval)


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                                                     pe
                        S
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                                                                                                                                                                                                                                                      Township of Bedminster
                                              Steve Peter                                                        Official Republican Mail-In Ballot                                                                                                            Republican
                                          Somerset County Clerk                                         Primary Election, Tuesday, July 7, 2020, Somerset County, New Jersey
                                    Secretario del Condado de Somerset
                                                           REPUBLICAN                   REPUBLICAN                     REPUBLICAN                             REPUBLICAN                 REPUBLICAN             REPUBLICAN
                    Primary Election                        Column 1                     Column 2                       Column 3                               Column 4                   Column 5               Column 6               Personal Choice
                    Elección Primaria                     REPUBLICANO                  REPUBLICANO                    REPUBLICANO                            REPUBLICANO                REPUBLICANO            REPUBLICANO             Selección Personal
                                                            Columna 1                    Columna 2                      Columna 3                              Columna 4                  Columna 5              Columna 6
                    Choice for President                                                                                   Donald J.             4                                                                                                                   4




                                                                                                                                                                              n
                    and Delegates to the                                                                                   TRUMP
                    Republican National                                                                         Somerset County Republican
                        Convention                                                                                    Organization
                            7th District                                                                        Delegates At-Large: Christopher J.
               A vote for President is an automatic                                                             Christie, Michael L. Testa, Joseph
                                                                                                                Pennacchio, Kristin Corrado,
               vote for all affiliated delegates and                                                            Edward Bruce Didonato, Henry Y.
                             alternates.                                                                        Kuhl, Edward S. Walsh, Afzal Barlas,
                           Vote for One                                                                         Joanne Gilmore, Munr Kazmir.
                                                                                                                Alternate Delegates At-Large: John
                 Selección para Presidente                                                                      V. Azzariti, Stavros G. Christoudias,
                      y Delegados a la                                                                          Susan L. Enderly, Janice M. Fields,
                                                                                                                Michael Lavery, Alexander C.
                   Convención Nacional                                                                          Markowits, Darlene Shotmeyer,




                                                                                                                                                                            e
                        Republicana                                                                             Thomas P. Ragukonis, Dorothy
                                                                                                                Burger, Theresa A. Winegar,
                            Distrito 7                                                                          District Delegates: Alfred Gaburo,
                Un voto por Presidente es un voto                                                               Jeffrey        Michaels,       John
               automático por todos los delegados                                                               Scheuerman. Alternate District
                                                                                                                Delegates: Guy Gregg, Glenn
                     y alternativos afiliados.                                                                  Mortimer, Susan Soloway
                          Vote por Uno                                                                                                                                                                                                 write in (and fill in oval)
                    United States Senator
                          Vote for One
                                                             Patricia              4   Natalie Lynn        4           Rikin "Rik"
                                                                                                                        MEHTA                    4               Hirsh
                                                                                                                                                                SINGH
                                                                                                                                                                                    4   Eugene T.         4                                                          4
                     Senador de Los E.U.                 FLANAGAN                        RIVERA                     Somerset County                       Somerset County Regular
                                                                                                                                                                                        ANAGNOS
                                                       America First Republicans        We The People                                                           Republican              Prevent CA East
                          Vote por Uno                                                                           Republican Organization                                                                                               write in (and fill in oval)

                 House of Representatives
                           7th District                                                                               Thomas H.
                                                                                                                                                 4               Raafat
                                                                                                                                                                                    4                                              4                                 4
                          Vote for One
                                                                                                                                                                                                                   Tom
                                                                                                                       KEAN, Jr.                            BARSOOM                                             PHILLIPS
                  Casa de Representantes                                                                            Somerset County                        Physician Not A Career                               America First
                            Distrito 7                                                                           Republican Organization                          Politician
                          Vote por Uno                                                                                                                                                                                                 write in (and fill in oval)




                                                                                                                                                                           m
                           Surrogate
                          Vote for One
                                                                                                                          Frank
                                                                                                                        BRUNO                    4                                                                                                                   4
                           Surrogado                                                                                Somerset County
                          Vote por Uno                                                                           Republican Organization                                                                                               write in (and fill in oval)

                                                                                                                                                 4                                                                                                                   4




                                                                                                                                                                         i
                                                                                                                           Brian
                Board of Chosen Freeholders                                                                              LEVINE
                                                                                                                    Somerset County
                          Vote for Two                                                                           Republican Organization                                                                                               write in (and fill in oval)
                         Consejo de
                     Propietarios Electos
                          Vote por Dos
                                                                                                                           Brian
                                                                                                                    GALLAGHER                    4                                                                                                                   4
                                                                                                                    Somerset County
                                                                                                                 Republican Organization                                                                                               write in (and fill in oval)
                    Township Committee
                          Vote for One
                                                                                                                         R. Colin
                                                                                                                        HICKEY                   4                                                                                                                   4
                      Comité Municipal                                                                              Somerset County




                                                           c
                          Vote por Uno                                                                           Republican Organization                                                                                               write in (and fill in oval)



                                                               Instructions on back I                                                                         Instrucciones al reverso I
202005252110




                                                         e
                                                                                                                                                                                                                                                    Township of Bedminster



                                                                                                    Official Republican Mail-In Ballot
                                                                                                               Primary Election, Tuesday, July 7, 2020




                                                        p
                                                                                                                   Somerset County, New Jersey




                     S
                                                                     Instructions to the Voter:                                                               Papeleta Oficial de Voto por Correo
                                                  1. To vote for any candidate whose name is printed on this ballot, fill                                       Elección Primaria, Martes, el 7 de julio de 2020
                                                  in the oval to the right of the candidate's name (from this 4, to this ).
                                                  Do not vote for more than the number of candidates to be elected to
                                                  each office.                                                                                                               Instrucciones al Votante
                                                  2. Use ONLY a pencil or ink pen (black or blue) to mark your ballot. Do                               1. Para votar por cualquier candidato cuyo nombre está impreso en
                                                  not use red ink.                                                                                      esta papeleta, rellene el óvalo a la derecha del nombre del candidato
                                                  3. To vote for a person whose name is not printed on this ballot, write                               (de este 4, a este ). No vote por mas candidatos que el número a ser
                                                  the person's name on the blank line(s) (marked “write in”) beside the                                 electo a ese cargo.
                                                  proper title of office and fill in the oval to the right of the name (from                            2. Use SOLO lápiz o bolígrafo (negro o azul) para marcar su papeleta.
                                                  this 4, to this ).                                                                                    3. Para votar por una persona cuyo nombre no está impreso en esta
                                                  4. Do not mark this ballot in any manner other than provided for and                                  papeleta, escriba el nombre de la persona en la(s) linea(s) en blanco a
                                                  do not erase. If you spoil your ballot, request a new one from the                                    la derecha del título apropiado del cargo, marcado "write in” (escriba),
                                                  County Clerk’s office. If you mark your ballot in such a way that your                                y rellene el óvalo a la derecha del nombre (de este 4, a este ).
                                                  intent is unclear, or if you vote for more than the number to be                                      4. No marque esta papeleta de ninguna otra manera que la provista y
                                                  elected to an office, your vote for that office will not be counted.                                  no borre. Si daña su papeleta, pida una nueva de la oficina del
                                                  TO PROTECT YOUR VOTE: It is against the law for anyone except you, the                                Secretario del Condado. Si marca su papeleta de tal manera que su
                                                  voter, to mark or inspect this ballot. However, a family member may                                   intención no es clara, o si vota por mas del número de candidatos a
                                                  assist you in doing so. If you are an incapacitated voter, a person other                             ser electos a ese cargo, su voto para ese cargo no será contado.
                                                  than a family member may also assist you in doing so.                                                 PARA PROTEGER SU VOTO: Es contra la ley para cualquier persona,
                                                                                                                                                        excepto el votante, marcar o inspeccionar esta papeleta. Sin embargo,
                                                                                                                                                        un miembro de su familia puede asistirle en el proceso de voto.
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                        SUSSEX
                        COUNTY
Case 3:20-cv-08267-ZNQ-TJB Document 33-1 Filed 01/25/21 Page 61 of 67 PageID: 462
                         OFFICIAL DEMOCRATIC PRIMARY ELECTION
            A                        SUSSEX COUNTY                               B                  NEW JERSEY                      C                           JULY 7, 2020

                              INSTRUCTIONS TO THE VOTER:
            1. To vote for any candidate whose name is printed on this
       11   ballot, fill in the oval to the left of the candidate's name (from
            this Q, to this R). Do not vote for more than the number of
                                                                                               COUNTY
            candidates to be elected to each office.
                     2. USE ONLY BLACK OR BLUE BALLPOINT
                                   PEN OR A #2 PENCIL
                                 TO MARK YOUR BALLOT.                                        FREEHOLDER
            3. To vote for a person whose name is NOT printed on this                 Three-Year Term (Vote for One)
            ballot, write the person's name on the blank line(s) below the
            proper title of office (marked "WRITE IN") AND fill in the oval to
            the left of the name (from this Q, to this R).
            NOTE: Failure to fill in the oval after writing in a name will                No Petition Filed
            void this vote.
            4. Do not mark this ballot in any manner other than provided
            for and do not erase. If you spoil your ballot, return it to the
            County Clerk, who will provide you with a fresh ballot. If you
            mark your ballot in such a way that your intent is unclear, or if                           Write In
            you vote for more than the number to be elected to an office,
       21   your vote for that office WILL NOT BE COUNTED.

            TO PROTECT YOUR VOTE: IT IS AGAINST THE LAW FOR
            ANYONE EXCEPT YOU, THE VOTER, TO MARK OR
            INSPECT THIS BALLOT. However, a family member may                                 MUNICIPAL
            assist you in doing so. If you are an incapacitated absentee
            voter, a person other than a family member may also assist
            you in doing so.
                                                                                            FAULKNER ACT
                                    FEDERAL

                                                                                     No Municipal Offices Voted This
                        PRESIDENT/DELEGATES                                                Primary Election
                                   (Vote for One)


                            Bernie Sanders
                            Bernie 2020. Not Me. Us.
                              11th District Delegates:
                              Patricia Campos Medina, Mary Gerhold, Aaron
                              Hyndman

                            Joseph R. Biden
                            Sussex County Democratic Organization
                              11th District Delegates:
       40                     Linda Telschow, Thomas Regrut, Kendall
                              Lopez

       41                   11th District Delegates:
                              Christine Chan, Janice J. Miller




                                                  Write In
       44




                                  U.S. SENATE
                        Six-Year Term (Vote for One)


                            Lawrence Hamm
                            Not Me. Us.

                            Cory Booker
                            Sussex County Democratic Committee Organization

       49
                                                  Write In




       52
                  HOUSE OF REPRESENTATIVES
                 11th CONGRESSIONAL DISTRICT
                       Two-Year Term (Vote for One)

                            Mikie Sherrill
                            Sussex County Democratic Committee Organization



                                                  Write In




            A                                                                    B              SPARTA TOWNSHIP 1                   C

                                                                                                                   7.4.2.0 / 012503-14 © Election Systems & Software, Inc. 1981, 2002
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                         OFFICIAL REPUBLICAN PRIMARY ELECTION
            A                        SUSSEX COUNTY                               B                      NEW JERSEY                        C                           JULY 7, 2020

                              INSTRUCTIONS TO THE VOTER:
            1. To vote for any candidate whose name is printed on this
       11   ballot, fill in the oval to the left of the candidate's name (from
            this Q, to this R). Do not vote for more than the number of
                                                                                                 FEDERAL
            candidates to be elected to each office.
       12
                     2. USE ONLY BLACK OR BLUE BALLPOINT
                                   PEN OR A #2 PENCIL                                 HOUSE OF REPRESENTATIVES
                                 TO MARK YOUR BALLOT.
            3. To vote for a person whose name is NOT printed on this                11th CONGRESSIONAL DISTRICT
            ballot, write the person's name on the blank line(s) below the             Two-Year Term (Vote for One)
            proper title of office (marked "WRITE IN") AND fill in the oval to
            the left of the name (from this Q, to this R).
            NOTE: Failure to fill in the oval after writing in a name will                Rosemary Becchi
            void this vote.                                                               Conservative Republicans of Sussex County
            4. Do not mark this ballot in any manner other than provided
            for and do not erase. If you spoil your ballot, return it to the
            County Clerk, who will provide you with a fresh ballot. If you
            mark your ballot in such a way that your intent is unclear, or if                                 Write In
            you vote for more than the number to be elected to an office,
       21   your vote for that office WILL NOT BE COUNTED.

            TO PROTECT YOUR VOTE: IT IS AGAINST THE LAW FOR
            ANYONE EXCEPT YOU, THE VOTER, TO MARK OR
            INSPECT THIS BALLOT. However, a family member may                                     COUNTY
            assist you in doing so. If you are an incapacitated absentee
            voter, a person other than a family member may also assist
            you in doing so.
                                                                                              FREEHOLDER
                                                                                       Three-Year Term (Vote for One)
                                    FEDERAL

                                                                                          Herbert J. Yardley
                        PRESIDENT/DELEGATES                                               Conservative Republicans of Sussex County
                                   (Vote for One)
                                                                                                              Write In
                            Donald J. Trump
                            Conservative Republicans of Sussex County

                              Delegates-At-Large:
                              Christopher J. Christie, Michael L. Testa,                        MUNICIPAL
                              Joseph Pennacchio, Kristin Corrado, Edward
                              Bruce DiDonato, Henry Y. Kuhl, Edward S.
                              Walsh, Afzal Barlas, Joanne Gilmore, Munr
                              Kazmir
                              Alternate Delegates-At-Large:
                                                                                             FAULKNER ACT
       40
                              John V. Azzariti, Stavros G. Christoudias,
                              Susan L. Enderly, Janice M. Fields, Michael
                              Lavery, Alexander C. Markowits, Darlene
                              Shotmeyer, Thomas P. Ragukonis, Dorothy
       41                     Burger, Theresa A. Winegar                             No Municipal Offices Voted This
                              District Delegates (11th Cong District):                     Primary Election
                              Laura Ali, Peter Murphy, Christine
                              Serrano-Glassner
                              Alternate District Delegates (11th Cong
                              District):
                              Bettylou DeCroce, Gerard Scanlan, Joanie
                              Walsh


       44
                                                  Write In




                                  U.S. SENATE
                        Six-Year Term (Vote for One)


                            Rikin "Rik" Mehta
                            Conservative Republicans of Sussex County

       49                   Eugene T. Anagnos
                            Prevent CA East

                            Patricia Flanagan
                            America First Republicans

       52                   Hirsh Singh
                            Keep America Great New Jersey

                            Natalie Lynn Rivera
                            We The People



                                                  Write In




       61




            A                                                                    B                 SPARTA TOWNSHIP 1                      C

                                                                                                                         7.4.2.0 / 012503-14 © Election Systems & Software, Inc. 1981, 2002
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                         UNION
                        COUNTY
                                                                                                                                                                                                    OFFICIAL PRIMARY ELECTION SAMPLE BALLOT
                                                                                                                                                                                             BOLETA DE MUESTRA OFICIAL DE LAS ELECCIONES PRIMARIAS
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 MAIL-IN BALLOT INSTRUCTIONS
                    Case 3:20-cv-08267-ZNQ-TJB Document 33-1 Filed 01/25/21 Page 64 of 67 PageID: 465




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              INSTRUCCIONES DE VOTO POR CORREO
                                                                                                                              JOANNE RAJOPPI
                                                                                                                                                                                                                                               Borough of Roselle                                                                                                                                                                                                                                                                          IMPORTANT INSTRUCTIONS                                                 IMPORTANTE INSTRUCCIONES
                                                                                                        Union County Clerk / Secretaria del Condado                                                                            Union County, New Jersey - July 7, 2020                                                                                                                                                                                                                                                                                                                                                PARA EL VOTANTE
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 TO VOTERS
                                                                                                                                                                                                                     10th Congressional District - 10o Distrito Congresional                                                                                                                                                                                                                                                                                                                                            POR FAVOR LEA LO PROXIMO
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     PLEASE READ THE FOLLOWING BEFORE
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           MARKING YOUR BALLOT                                                         ANTES DE MARCAR SU BOLETA
                                                                                                         FORM 28 RO W1 B
                                                                                                         10th Congressional District
                                                                                                         10° Distrito Congresional
                                                                                                                                                                            OFFICIAL DEMOCRATIC
                                                                                                                                                                                OFFICIAL          PRIMARY
                                                                                                                                                                                         DEMOCRATIC       ELECTION
                                                                                                                                                                                                     PRIMARY       MAIL-IN
                                                                                                                                                                                                              ELECTION     BALLOT
                                                                                                                                                                                                                       BALLOT                                                                                                                                                                                                                                                                                                        1. Use ONLY a black or blue ink pen to mark your ballot.                  1. Use SOLAMENTE lapicera con tinta negra o azul para marcar su
                                                                                                         Borough of Roselle
                                                                                                         Municipio de Roselle
                                                                                                                                                                           BOLETA
                                                                                                                                                                  BOLETA OFICIAL   OFICIAL DEMÓCRATA
                                                                                                                                                                                 DEMÓCRATA            DE CORREO
                                                                                                                                                                                             DE VOTO POR LAS ELECCIONES  PRIMARIASPRIMARIAS
                                                                                                                                                                                                                DE LAS ELECCIONES                                                                                                                                                                                                                                          Joanne Rajoppi                                            2. Completely fill in oval to the right of each of your selections.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               boleta.
                                                                                                         Ward / Barrio 1                                                                                                                       Union
                                                                                                                                                                                                                                                UnionCounty,
                                                                                                                                                                                                                                                      County, New Jersey- -July
                                                                                                                                                                                                                                                              New Jersey    July7,7,2020
                                                                                                                                                                                                                                                                                     2020                                                                                                                                                                   Union County Clerk / Secretaria del Condado
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        MARK BALLOT LIKE THIS:                                                 2. Llene el óvalo completamente a la derecha para cada selección.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  FORMA CORRECTA DE
                                                                                                                                                                                                                  Column / Columna                        Column / Columna                        Column / Columna                           Column / Columna                          Column / Columna                           Column / Columna                        PERSONAL CHOICE                                                                                                                         MARCAR LA BOLETA:
                                                                                                                                                   OFFICE TITLE
                                                                                                                                                  TÍTULO OFICIAL                                                       A
                                                                                                                                                                                                            Democratic / Demócrata
                                                                                                                                                                                                                                                                     B
                                                                                                                                                                                                                                                      Democratic / Demócrata
                                                                                                                                                                                                                                                                                                            C
                                                                                                                                                                                                                                                                                               Democratic / Demócrata
                                                                                                                                                                                                                                                                                                                                                       D
                                                                                                                                                                                                                                                                                                                                          Democratic / Demócrata
                                                                                                                                                                                                                                                                                                                                                                                                    E
                                                                                                                                                                                                                                                                                                                                                                                  Democratic / Demócrata
                                                                                                                                                                                                                                                                                                                                                                                                                                            F
                                                                                                                                                                                                                                                                                                                                                                                                                               Democratic / Demócrata

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  Write in and fill in oval
                                                                                                                                                                                                                                                                                                                                                                                                                                                                     SELECCIÓN PERSONAL
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  Escriba y llene el óvalo

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     3. To vote for candidates on this ballot, completely fill in the oval
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     to the right of the name for each selection. Do not vote for more         3. Para votar por candidatos en esta boleta, llene el óvalo a la
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     candidates than are to be elected to any office.                          derecha del nombre para cada selección. No vote por mas
                                                                                                                      Choice for President                        Escoger para Presidente                                                                                 Joseph R.                                                                             Bernie      A VOTE HERE IS A VOTE FOR ALL
                                                                                                                                                                                                                                                                          BIDEN           1B                                                          SANDERS 1D
                                                                                                                                                                                                                                                                                                                                                                            UNCOMMITTED DELEGATES BELOW
                                                                                                                                                                                                                                                                                                                                                                            UN VOTO AQUÍ ES UN VOTO POR TODOS LOS         1E                                                                                                     1                                                                             candidatos que los que seran elegidos para cualquier oficina.
                                                                                                                               Vote for One                                   Vote por Uno                                                      Regular Democratic Org. of Union County                                                          Bernie 2020. Not Me. Us.   DELEGADOS NO COMPROMETIDOS ABAJO                                                         Write in and fill in oval / Escriba y llene el óvalo            4. Write-in candidate (PERSONAL CHOICE) is for anyone wishing
                                                                                                                                                                                                                                                         A VOTE ABOVE IS A VOTE
                                                                                                                                                                                                                                                           FOR ALL DELEGATES
                                                                                                                                                                                                                                                                                                                                             A VOTE ABOVE IS A VOTE
                                                                                                                                                                                                                                                                                                                                               FOR ALL DELEGATES
                                                                                                                                                                                                                                                                                                                                                                                      A VOTE ABOVE IS A VOTE
                                                                                                                                                                                                                                                                                                                                                                                        FOR ALL DELEGATES                                                                       NO PERSONAL CHOICE                                   to vote for any person whose name is not printed on the ballot. Go        4. La columna inscrita (SELECCIÓN PERSONAL) es para
                                                                                                                                                                                                                                                      UN VOTO POR ENCIMA ES UN VOTO                                                       UN VOTO POR ENCIMA ES UN VOTO            UN VOTO POR ENCIMA ES UN VOTO                                                                  FOR DELEGATES                                      to the Personal Choice column across from the office you wish to          cualquiera que desea votar para una persona cuyo nombre no esta
                                                                                                                                                                                                                                                        POR TODOS LOS DELEGADOS                                                             POR TODOS LOS DELEGADOS                  POR TODOS LOS DELEGADOS
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     write-in. Write the name of the person you wish to vote for in the        impreso en la boleta. Dirígese a la columna de Selección Personal
                                                                                                                13th District Delegates to                      Delegados del Distrito 13°                                                                   Biden for President                                                            Bernie 2020. Not Me. Us.                        UNCOMMITTED                                                                  NO HAY SELECCIÓN PERSONAL                                   blank write-in area to the left and fill in the oval to the right.        que indica el cargo para el que quiere escribir su voto. Escriba el
                                                                                                              Democratic National Convention              a la Convención Nacional Demócrata                                                      Chris BOLLWAGE                                                                       Lucia DELAROCA                           Andrea HYATT                                                                                  PARA DELEGADOS                                                                                                                   nombre de la persona que desee votar en el espacio blanco
                                                                                                                                                                                                                                                    Adrian MAPP                                                                          Peter JACOB
                                                                                                                                                                                                                                                 Patricia GONZALEZ                                                                     Brett M. PUGACH                                                                                                                                                                               Do NOT use pre-printed stickers. IF NOT DONE PROPERLY YOUR                (escriba) a la izquierda y llene el óvalo a la derecha.
                                                                                                                                                                                                                                                   June FISCHER                                                                         Patricia SMITH
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     WRITE-IN VOTE WILL BE VOID AND NOT COUNTED. PLEASE ASK
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     IF YOU HAVE QUESTIONS.                                                    No use estiquetas impresas. SI UD. NO COMPLETA LA LINEA
                                                                                                                   United States Senator                       Senador de los Estados Unidos                               Lawrence                                             Cory
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               INSCRITA PARA VOTAR APROPRIADAMENTE, SU VOTO SERA
                                                                                                                      6 Year Term - Vote for One                 Término de 6 Años - Vote por Uno                          HAMM           2A                          BOOKER              2B                                                                                                                                                                                                                                     2
                                                                                                                                                                                                                            Not Me. Us.         Regular Democratic Org. of Union County                                                                                                                                                                              Write in and fill in oval / Escriba y llene el óvalo            5. If you tear, soil, deface or incorrectly mark this ballot, return it   INVALIDO Y NO CONTADO. POR FAVOR PREGUNTE SI UD. TIENE
                                                                                                          Member of House of Representatives Miembro de la Cámara de Representantes                                                  .
                                                                                                                                                                                                                                                                          Donald M.
                                                                                                                                                                                                                                                                                                                             .                                         .
                                                                                                                                                                                                                                                                                                                                                                                                        Eugene D.                                  John J.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     to Joanne Rajoppi, Union County Clerk, and obtain another ballot.         DUDAS.
                                                                                                                      2 Year Term - Vote for One                 Término de 2 Años - Vote por Uno                                                               PAYNE, JR.                3B                                                                                                             MAZO             3E                   FLORA            3F                                                               3
                                                                                                                                                                                                                                                Regular Democratic Org. of Union County                                                                                     Progressive Democratic Org. of Union County                  United By Our Future        Write in and fill in oval / Escriba y llene el óvalo
                                                                                                                                 Sheriff                                       Alguacil                                          Jack                                           Peter
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     6. In a Primary Election you are confined to a choice of                  5. Si Ud. rompe, ensucia, destruye o completa incorrectamente
                                                                                                                      3 Year Term - Vote for One                 Término de 3 Años - Vote por Uno                   MOLENAAR              4A                       CORVELLI               4B                                                                                                                                                                                                                                     4
                                                                                                                                                                                                                            Not Me. Us.         Regular Democratic Org. of Union County                                                                                                                                                                              Write in and fill in oval / Escriba y llene el óvalo            candidates within your political party. If you have received both a       esta boleta, devuelvala a Joanne Rajoppi, Union County Clerk, y
                                                                                                                             County Clerk                          Secretaria del Condado                                    Sean M.                                         Joanne
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     Democratic and Republican ballot you can only vote the party of           obtenga otra boleta.
                                                                                                                      5 Year Term - Vote for One                 Término de 5 Años - Vote por Uno                          SMITH          5A                         RAJOPPI              5B                                                                                                                                                                                                                                     5
                                                                                                                                                                                                                            Not Me. Us.         Regular Democratic Org. of Union County                                                                                                                                                                              Write in and fill in oval / Escriba y llene el óvalo            your choice. Destroy the other ballot.
                                                                                                                                                                                                                      Aissa Catherine                                  Christopher                                  Brianna                                                                                                                                                                                                                                                                                    6. En una Elección Primaria Ud. esta limitado a elegir
                                                                                                                                                                                                                           HEATH          6A                            HUDAK             6B            ARMSTEAD                  6C                                                                                                                                                                                             6
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               candidatos del partido politico de su elección. Si Ud. ha recibido
                                                                                                               Members of Board of Chosen                    Miembros de la Junta Directiva
                                                                                                                                                                                                                            Not Me. Us.         Regular Democratic Org. of Union County          Democrats United For Progress                                                                                                                                       Write in and fill in oval / Escriba y llene el óvalo            To protect your vote: IT IS AGAINST THE LAW FOR
                                                                                                                                                                                                                          Justin Paul                                     Angela R.                                   Daniel
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     ANYONE EXCEPT YOU THE VOTER TO MARK OR                                    boletas Democraticas y Republicanas Ud. puede solamente votar
                                                                                                                     Freeholders                                    (Freeholders)                                           O'HEA         7A                  GARRETSON                   7B         YAMAKAITIS                   7C                                                                                                                                                                                             7
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               por el partido de su elección. Destruya la otra boleta.
                                                                                                                   3 Year Term - Vote for Three                 Término de 3 Años - Vote por Tres                           Not Me. Us.
                                                                                                                                                                                                                              Hector
                                                                                                                                                                                                                                                Regular Democratic Org. of Union County
                                                                                                                                                                                                                                                                            Lourdes
                                                                                                                                                                                                                                                                                                 Democrats United For Progress                                                                                                                                       Write in and fill in oval / Escriba y llene el óvalo
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     INSPECT THIS BALLOT. However, a family member
                                                                                                                                                                                                                  MENESES, JR.
                                                                                                                                                                                                                            Not Me. Us.
                                                                                                                                                                                                                                          8A                                LEON
                                                                                                                                                                                                                                                Regular Democratic Org. of Union County
                                                                                                                                                                                                                                                                                          8B
                                                                                                                                                                                                                                                                                                                                                                                                                                                                     Write in and fill in oval / Escriba y llene el óvalo
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 8   may assist you in doing so.                                               Para proteger su voto: ES EN CONTRA DE LA LEY PARA
                                                                                                                1st Ward Council Member                         Miembro del Consejo Barrio 1                                   Isabel                                       Richard
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               CUALQUIER PERSONA EXCEPTO PARA EL VOTANTE
                                                                                                                      3 Year Term - Vote for One                 Término de 3 Años - Vote por Uno                         SOUSA           9A                          VILLEDA             9B                                                                                                                                                                                                                                     9
                                                                                                                                                                                                                            Not Me. Us.         Regular Democratic Org. of Union County                                                                                                                                                                              Write in and fill in oval / Escriba y llene el óvalo
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               MARCAR O EXAMINAR ESTA BOLETA. De todas
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               maneras, un familiar puede asistirlo en hacerlo.
ROSELLE - FORM 28




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            INSTRUCTIONS FOR VOTING BY PROVISIONAL BALLOT
                                                                                                                                                                                    IMPORTANT: SEE INSTRUCTIONS FOR VOTING ON THE OTHER SIDE                                                                                                                                                                                                                                                                                                               AT POLLING PLACE
                                                                                                         FORM 28 RO W1 B
                                                                                                         10th Congressional District
                                                                                                                                                                   IMPORTANTE: VEA LAS INSTRUCCIONES PARA VOTAR ENBALLOT
                                                                                                                                                                            OFFICIAL  REPUBLICAN
                                                                                                                                                                                OFFICIAL         PRIMARY
                                                                                                                                                                                         REPUBLICAN      ELECTION
                                                                                                                                                                                                    PRIMARY       MAIL-IN
                                                                                                                                                                                                             ELECTION BALLOTEL OTRO LADO                                                                                                                                                                                                                                                                                                  INSTRUCCIONES PARA VOTAR CON BOLETA PROVISIONAL
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       EN EL LUGAR DE VOTACIÓN
                                                                                                         10° Distrito Congresional
                                                                                                                                                                          BOLETA  OFICIAL REPUBLICANO DECORREO
                                                                                                                                                                                                         LAS ELECCIONES  PRIMARIASPRIMARIAS
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                                                                                                         Borough of Roselle
                                                                                                         Municipio de Roselle
                                                                                                                                                                 BOLETA OFICIAL REPUBLICANO  DE VOTO POR        DE LAS ELECCIONES                                                                                                                                                                                                                                          Joanne Rajoppi
                                                                                                         Ward / Barrio 1                                                                                                                       Union
                                                                                                                                                                                                                                                UnionCounty,
                                                                                                                                                                                                                                                      County,New Jersey- -July
                                                                                                                                                                                                                                                             New Jersey    July7,7,2020
                                                                                                                                                                                                                                                                                    2020                                                                                                                                                                    Union County Clerk / Secretaria del Condado
                                                                                                                                                                                                                  Column / Columna                        Column / Columna                        Column / Columna                           Column / Columna                          Column / Columna                           Column / Columna                        PERSONAL CHOICE                                                            INSTRUCTIONS
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           IMPORTANT INSTRU C TIONS                                               IMPORTANTE INSTRUCCIONES
                                                                                                                                                   OFFICE TITLE
                                                                                                                                                  TÍTULO OFICIAL                                                       A                                             B                                      C                                          D                                            E                                       F                                     Write in and fill in oval
                                                                                                                                                                                                                                                                                                                                                                                                                                                                     SELECCIÓN PERSONAL                                                          TO VOTERS                                                            PARA EL VOTANTE
                                                                                                                                                                                                                                                                                                                                            IMPORTANT:
                                                                                                                      Choice for President                         Escoger para Presidente
                                                                                                                                                                                                            Republican / Republicano                 Republican / Republicano
                                                                                                                                                                                                                                                                          Donald J.
                                                                                                                                                                                                                                                                                               Republican / Republicano                  Republican / Republicano                Republican / Republicano                      Republican / Republicano                           Escriba y llene el óvalo
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     PLEASE READ THE FOLLOWING BEFORE                                                   POR FAVOR LEA LO PROXIMO
                                                                                                                               Vote for One                                   Vote por Uno                                                                              TRUMP
                                                                                                                                                                                                                                                Regular Org. Republican of Union County
                                                                                                                                                                                                                                                                                          1B
                                                                                                                                                                                                                                                                                                                                                                                                                                                                     Write in and fill in oval / Escriba y llene el óvalo
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 1
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           MARKING YOUR BALLOT                                                         ANTES DE MARCAR SU BOLETA
                                                                                                                                                                                                                                                      A VOTE HERE IS A VOTE FOR ALL
                                                                                                                                                                                                                                                      DELEGATES & ALTERNATES
                                                                                                                                                                                                                                                                                          2B                                                                                                                                                                                    NO PERSONAL CHOICE
                                                                                                                                                                                                                                                      UN VOTO AQUI ES PARA TODOS LOS
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  FOR DELEGATES                                      1. Use ONLY a black or blue ink pen to mark your ballot.                  1. Use SOLAMENTE lapicera con tinta negra o azul para marcar su
                                                                                                                                                                                                                                                                                                                                          VOTE OTHER SIDE
                                                                                                                                                                                                                                                      DELEGADOS Y ALTERNOS
                                                                                                                  Delegates-at-Large to                        Delegados Generales a la                                                         Regular Org. Republican of Union County                                                                                                                                                                                                                                                                                                                        boleta.
                                                                                                                                                                                                                                                Christopher J. CHRISTIE      Henry Y. KUHL
                                                                                                              Republican National Convention                Convención Nacional Republicana                                                        Michael L. TESTA         Edward S. WALSH                                                                                                                                                                              NO HAY SELECCIÓN PERSONAL                                   2. Completely fill in oval to the right of each of your selections.
                                                                                                                             Vote for One Slate                          Vote por un grupo                                                       Joseph PENNACCHIO            Afzal BARLAS                                                                                                                                                                                    PARA DELEGADOS                                            MARK BALLOT LIKE THIS:                                                 2. Llene el óvalo completamente a la derecha para cada selección.
                                                                                                                                                                                                                                                                                                                                            IMPORTANT:
                                                                                                                                                                                                                                                   Kristin CORRADO          Joanne GILMORE
                                                                                                                                                                                                                                                Edward Bruce DIDONATO         Munr KAZMIR                                                                                                                                                                                                                                                                                                                         FORMA CORRECTA DE
                                                                                                                                                                                                                                                   John V. AZZARITI Alexander C. MARKOWITS
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  MARCAR LA BOLETA:
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     3. To vote for candidates on this ballot, completely fill in the oval
                                                                                                              Alternate Delegates-at-Large to              Delegados Alternos Generales a la                                                    Stavros G. CHRISTOUDIAS Darlene SHOTMEYER
                                                                                                              Republican National Convention               Convención Nacional Republicana
                                                                                                                                                                                                                                                  Susan L. ENDERLY Thomas P. RAGUKONIS
                                                                                                                                                                                                                                                   Janice M. FIELDS      Dorothy BURGER
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     to the right of the name for each selection. Do not vote for more         3. Para votar por candidatos en esta boleta, llene el óvalo a la
                                                                                                                                                                                                                                                    Michael LAVERY      Theresa A. WINEGAR                                                                                                                                                                                                                                           candidates than are to be elected to any office.                          derecha del nombre para cada selección. No vote por mas
                                                                                                                                                                                                                                                                                                                                          VOTE OTHER SIDE
                                                                                                          10th Congressional District Delegates Delegados del 10° Distrito Congresional                                                         Mary Devon O'BRIEN            Kamei HARRIS
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               candidatos que los que seran elegidos para cualquier oficina.
                                                                                                           to Republican National Convention              a la Convención Nacional Republicana                                                   Douglas FREEMAN                                                                                                                                                                                                                                                                     4. Write-in candidate (PERSONAL CHOICE) is for anyone wishing
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     to vote for any person whose name is not printed on the ballot. Go        4. La columna inscrita (SELECCIÓN PERSONAL) es para
                                                                                                                                                                                                                                                                                                                                           IMPORTANTE:
                                                                                                         10th Congressional Alternate District Delegates Delegados Alternos del 10° Distrito Congresional                                        Daniel BECKELMAN          Lawrence DIMAURO
                                                                                                               to Republican National Convention             a la Convención Nacional Republicana                                                  Shane BERGER                                                                                                                                                                                                                                                                      to the Personal Choice column across from the office you wish to          cualquiera que desea votar para una persona cuyo nombre no esta
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     write-in. Write the name of the person you wish to vote for in the        impreso en la boleta. Dirígese a la columna de Selección Personal
                                                                                                                   United States Senator                       Senador de los Estados Unidos                             Natalie Lynn                                     Rikin "Rik"                               Patricia                                      Hirsh                                 Eugene T.
                                                                                                                      6 Year Term - Vote for One                 Término de 6 Años - Vote por Uno                         RIVERA          3A                            MEHTA             3B            FLANAGAN                  3C                        SINGH 3D                             ANAGNOS                  3E                                                                                                     3   blank write-in area to the left and fill in the oval to the right.        que indica el cargo para el que quiere escribir su voto. Escriba el
                                                                                                                                                                                                                          We The People         Regular Org. Republican of Union County               America First Republicans             Keep America Great New Jersey                             Prevent CA East                                                Write in and fill in oval / Escriba y llene el óvalo
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               nombre de la persona que desee votar en el espacio blanco
                                                                                                          Member of House of Representatives Miembro de la Cámara de Representantes                                                  .                No Petition Filed                                                      .                                         .                                             .
                                                                                                                                                                                                                                                                                                                                                                                                                                                  Jennifer
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     Do NOT use pre-printed stickers. IF NOT DONE PROPERLY YOUR                (escriba) a la izquierda y llene el óvalo a la derecha.
                                                                                                                      2 Year Term - Vote for One                 Término de 2 Años - Vote por Uno                                                                                                                                                                                                                                             ZINONE            4F                                                               4
                                                                                                                                                                                                                                                                                                                                         VOTE EL OTRO LADO
                                                                                                                                                                                                                                                                            Dorothy
                                                                                                                                                                                                                                                                                                                                                                                                                                  Republicans Of Union County        Write in and fill in oval / Escriba y llene el óvalo
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     WRITE-IN VOTE WILL BE VOID AND NOT COUNTED. PLEASE ASK
                                                                                                                                 Sheriff                                       Alguacil                                                                                                                                                                                                                                                                                                                                              IF YOU HAVE QUESTIONS.                                                    No use estiquetas impresas. SI UD. NO COMPLETA LA LINEA
                                                                                                                      3 Year Term - Vote for One                 Término de 3 Años - Vote por Uno                                                                     BURGER              5B                                                                                                                                                                                                                                     5
                                                                                                                                                                                                                                                Regular Org. Republican of Union County                                                                                                                                                                              Write in and fill in oval / Escriba y llene el óvalo
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               INSCRITA PARA VOTAR APROPRIADAMENTE, SU VOTO SERA
                                                                                                                             County Clerk                           Secretaria del Condado                                                                                  Peter B.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     5. Place your completed ballot in the certificate envelope provided,      INVALIDO Y NO CONTADO. POR FAVOR PREGUNTE SI UD. TIENE
                                                                                                                      5 Year Term - Vote for One                 Término de 5 Años - Vote por Uno                                                                           LIJOI 6B                                                                                                                                                                                                                                             6
                                                                                                                                                                                                                                                Regular Org. Republican of Union County                                                                                                                                                                              Write in and fill in oval / Escriba y llene el óvalo            seal it and give to board worker.                                         DUDAS.
                                                                                                                                                                                                                                                                          Joseph R.
                                                                                                                                                                                                                                                                   SARNO III              7B                                                                                                                                                                                                                                     7
                                                                                                               Members of Board of Chosen                    Miembros de la Junta Directiva
                                                                                                                                                                                                                                                Regular Org. Republican of Union County                                                                                                                                                                              Write in and fill in oval / Escriba y llene el óvalo
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Printed on Recycled Paper.                                            5. Coloque su boleta llena en la sobre certificado incluido, sellelo y
                                                                                                                                                                                                                                                                                Mark
                                                                                                                     Freeholders                                    (Freeholders)                                                                                        SHORE            8B                                                                                                                                                                                                                                     8                                                                             entreguela al trabajador de elecciones.
                                                                                                                   3 Year Term - Vote for Three                 Término de 3 Años - Vote por Tres                                               Regular Org. Republican of Union County                                                                                                                                                                              Write in and fill in oval / Escriba y llene el óvalo
                                                                                                                                                                                                                                                                             Paul M.
                                                                                                                                                                                                                                                                    VERZOSA               9B                                                                                                                                                                                                                                     9
                                                                                                                                                                                                                                                Regular Org. Republican of Union County                                                                                                                                                                              Write in and fill in oval / Escriba y llene el óvalo
                                                                                                                1st Ward Council Member                         Miembro del Consejo Barrio 1                                                          No Petition Filed                                                                                                                                                                                                                                                      10
                                                                                                                      3 Year Term - Vote for One                 Término de 3 Años - Vote por Uno                                                                                                                                                                                                                                                                    Write in and fill in oval / Escriba y llene el óvalo
                                                                                                                                                                                                      IMPORTANT: SEE INSTRUCTIONS FOR VOTING ON THE OTHER SIDE
                                                                                                                                                                                                    IMPORTANTE: VEA LAS INSTRUCCIONES PARA VOTAR EN EL OTRO LADO
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                       WARREN
                       COUNTY
Case 3:20-cv-08267-ZNQ-TJB Document 33-1 Filed 01/25/21 Page 66 of 67 PageID: 467
Case 3:20-cv-08267-ZNQ-TJB Document 33-1 Filed 01/25/21 Page 67 of 67 PageID: 468
